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                 EXHIBIT 29
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 1                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 2                                  IN SEATTLE
 3      ----------------------------------------------------------
 4      UNITED STATES OF AMERICA,             )
                                              )
 5                     Petitioner,            )   No. CV15-102RSM
                                              )   No. CV15-103RSM
 6         v.                                 )
                                              )
 7      MICROSOFT CORPORATION,                )
        et al.,                               )
 8                                            )
                       Respondents.           )
 9

10      ----------------------------------------------------------
11                               EVIDENTIARY HEARING
12      ----------------------------------------------------------
13
                                   August 25, 2015
14

15                  BEFORE THE HONORABLE RICARDO S. MARTINEZ
                       UNITED STATES DISTRICT COURT JUDGE
16

17
        APPEARANCES:
18
        For the Petitioner:              James Weaver
19                                       Jeremy Hendon
                                         Amy Matchison
20                                       U.S. DEPARTMENT OF JUSTICE
21      For the Respondent:              Philip Beck
                                         Brian Prestes
22                                       Robert Tannenbaum
                                         Sean Gallagher
23                                       BARTLIT BECK HERMAN PALENCHAR &
                                         SCOTT
24                                       Patricia Eakes
                                         Andrea Ostrovsky
25                                       CALFO HARIGAN LEYH & EAKES


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09:33:49AM   1                THE CLERK:      We are here for an evidentiary hearing

09:33:51AM   2      in the matter of the United States versus Microsoft

09:33:54AM   3      Corporation, Case No. C15-102, assigned to this court, and

09:33:59AM   4      United States versus Craig J. Mundie, et al., Case

09:34:05AM   5      No. C15-103, assigned to this court.

09:34:07AM   6          Counsel, please rise and make your appearance for the

09:34:10AM   7      record.

09:34:10AM   8                MR. WEAVER:      James Weaver on behalf of the United

09:34:12AM   9      States.    With me are Jeremy Hendon and Amy Matchison.

09:34:17AM 10                 THE COURT:      Good morning.

09:34:19AM 11                 MR. BECK:      Philip Beck on behalf of Microsoft.

09:34:21AM 12                 MS. EAKES:      Patty Eakes on behalf of Microsoft.

09:34:24AM 13                 MS. OSTROVSKY:       Andrea Ostrovsky on behalf of

09:34:28AM 14       Microsoft, your Honor.

09:34:28AM 15                 MR. PRESTES:      Brian Prestes on behalf of

09:34:30AM 16       Microsoft.

09:34:32AM 17                 MR. GALLAGHER:       Sean Gallagher on behalf of

09:34:34AM 18       Microsoft.

09:34:35AM 19                 MR. TANNENBAUM:       Robert Tannenbaum on behalf of

09:34:37AM 20       Microsoft.

09:34:38AM 21                 THE COURT:      Good morning to all of you.             Thank

09:34:40AM 22       you.

09:34:44AM 23           Counsel, we have basically a day for our evidentiary

09:34:50AM 24       hearing that we have scheduled.            The court has other

09:34:52AM 25       matters tomorrow, so we need to be able to get it



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09:34:55AM   1      concluded today.

09:34:56AM   2          Let me indicate for purposes of a lot of people that

09:35:00AM   3      are in the courtroom, that may not know exactly what the

09:35:03AM   4      purpose of what is going on in this particular hearing, it

09:35:06AM   5      is actually a quite narrow issue.            In this matter -- this

09:35:14AM   6      is an enforcement matter brought by the IRS against

09:35:17AM   7      Microsoft.     Whenever a taxpayer objects or neglects to

09:35:25AM   8      obey a designated summons, the IRS may bring an

09:35:28AM   9      enforcement action in United States District Court.               That

09:35:32AM 10       is what has happened here.

09:35:33AM 11           In order to obtain the court's enforcement, the IRS

09:35:36AM 12       then has the burden of making the initial showing of its

09:35:39AM 13       good faith by establishing that the investigation that it

09:35:43AM 14       is doing, or has done, will be conducted pursuant to a

09:35:47AM 15       legitimate purpose, that the inquiry may be relevant to

09:35:50AM 16       that purpose, that the information sought is not already

09:35:53AM 17       within the possession of the IRS, and that the

09:35:56AM 18       administrative steps required by the Internal Revenue Code

09:35:59AM 19       have been followed.        In this case the court has already

09:36:02AM 20       made the finding that the IRS has made that prima facie

09:36:06AM 21       showing.

09:36:07AM 22           Once that occurs, once the IRS makes its initial

09:36:10AM 23       showing, then the burden shifts to the taxpayer, in this

09:36:13AM 24       case Microsoft, to demonstrate that enforcement of that

09:36:16AM 25       summons would result in an abuse of the court's process.



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09:36:21AM   1          This adversarial enforcement proceeding exists to

09:36:25AM   2      protect against abuse of the power vested in tax

09:36:28AM   3      collectors.      At the same time, enforcement proceedings are

09:36:31AM   4      to be summary in nature; the court is to avoid any broader

09:36:37AM   5      role than simply determining whether or not the IRS issued

09:36:40AM   6      a contested summons in good faith and without an improper

09:36:44AM   7      purpose.

09:36:45AM   8          The Supreme Court has held that a taxpayer is entitled

09:36:48AM   9      to a pre-enforcement evidentiary hearing upon making a

09:36:52AM 10       sufficient threshold showing of a defense or possible

09:36:55AM 11       defense for enforcement.         This showing requires the

09:36:58AM 12       taxpayer to point to specific facts or circumstances

09:37:02AM 13       plausibly raising an inference of bad faith or of another

09:37:06AM 14       appropriate ground in order to quash the summons.                 Naked

09:37:11AM 15       allegations of improper purpose are simply not enough.

09:37:14AM 16       The taxpayer must offer some credible evidence supporting

09:37:19AM 17       their charge.

09:37:20AM 18           Use of circumstantial evidence is sufficient to make a

09:37:23AM 19       threshold showing.        Discovery is then warranted if the

09:37:27AM 20       taxpayer, through the hearing, can make a substantial

09:37:30AM 21       preliminary showing of abuse, of wrongdoing.                That's the

09:37:35AM 22       purpose of what we are here to do today.

09:37:38AM 23           My understanding, from looking at the materials

09:37:39AM 24       submitted by both sides, is that there is one live witness

09:37:44AM 25       apparently that will be called.            There may be other



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09:37:46AM   1      witnesses, depending on what happens.              But I also

09:37:50AM   2      understand that Microsoft is relying on the declarations

09:37:55AM   3      of several other witnesses.          The court understands that.

09:37:59AM   4          Are we ready?       Since the burden is on Microsoft, I am

09:38:04AM   5      not sure who is going to be starting.              Ms. Eakes.

09:38:07AM   6                 MR. WEAVER:     Your Honor, could I raise one

09:38:08AM   7      preliminary matter?

09:38:09AM   8                 THE COURT:     Mr. Weaver.

09:38:14AM   9                 MR. WEAVER:     Microsoft has identified as potential

09:38:17AM 10       witnesses two attorneys, Daniel Rosen and James O'Brien.

09:38:20AM 11       If they are going to possibly call them in rebuttal to our

09:38:22AM 12       witness, Mr. Hoory, we would ask that the court exclude

09:38:27AM 13       and sequester those witnesses.

09:38:34AM 14                  MR. BECK:     We are not going to be calling them,

09:38:37AM 15       your Honor, especially given our need to finish today.

09:38:40AM 16                  THE COURT:     All right.      Ms. Eakes.

09:38:41AM 17                  MS. EAKES:     Thank you.      Good morning, your Honor.

09:38:44AM 18       As the court has just stated, Microsoft is here today to

09:38:46AM 19       ask the court to order discovery so that there will be a

09:38:49AM 20       complete factual record before the court ultimately

09:38:51AM 21       decides whether enforcing the designated subpoenas or

09:38:54AM 22       summonses would result in an abuse of this court's

09:38:57AM 23       process.

09:38:57AM 24           Now, as the court knows, this case is unusual in that

09:39:01AM 25       it raises a couple of important issues to larger issues of



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09:39:04AM   1      tax administration.        It raises issues about whether or not

09:39:08AM   2      the IRS can or cannot use outside lawyers to perform audit

09:39:12AM   3      tasks, to take summon testimony, and to examine taxpayer

09:39:17AM   4      books and records, which are tasks that have historically

09:39:19AM   5      been reserved to the province of government officers and

09:39:24AM   6      employees.     And it raises issues about whether the

09:39:26AM   7      temporary regulation that the IRS enacted weeks after

09:39:29AM   8      retaining Quinn Emanuel, and that purport to allow

09:39:32AM   9      government lawyers -- the non-government lawyers to take

09:39:35AM 10       summon testimony is valid.          Those are the questions that

09:39:38AM 11       the court must ultimately reach.

09:39:40AM 12           But as the court just pointed out, that is not the

09:39:42AM 13       issue today.      The issue today is simply whether or not

09:39:45AM 14       Microsoft has made a substantial preliminary showing the

09:39:49AM 15       enforcement of the subpoenas -- or the summonses would

09:39:51AM 16       abuse this court's process.          We think we are going to make

09:39:54AM 17       that showing today, and as a result we are going to ask

09:39:56AM 18       the court to order some very limited and targeted

09:39:59AM 19       discovery, with the goal being to create a full record.

09:40:03AM 20           Microsoft is expecting today that we are going to

09:40:06AM 21       present evidence on four different issues:               First of all,

09:40:09AM 22       the role that Quinn Emanuel has played in the audit to

09:40:12AM 23       date, the role that Quinn Emanuel will be playing going

09:40:16AM 24       forward in the audit.         We are going to present evidence

09:40:19AM 25       that the procedures used by the IRS to enact the temporary



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09:40:23AM   1      regulation are inconsistent with recent decision-making

09:40:27AM   2      and the other requirements of the APA.              We are going to

09:40:31AM   3      present evidence that raises questions and concerns about

09:40:33AM   4      the administrative record that has been put forward by the

09:40:36AM   5      IRS in this case, and that go to its completeness and its

09:40:41AM   6      accuracy.     We think it will require there be additional

09:40:44AM   7      discovery in order to determine what exactly the

09:40:48AM   8      administrative record should be.

09:40:49AM   9          As the court pointed out, we have already made the

09:40:52AM 10       preliminary showing.        I am not going to cover what we have

09:40:56AM 11       already presented to the court, because it sounds like the

09:40:58AM 12       court has reviewed that and is aware of where we already

09:41:02AM 13       stand today.      So let me talk about what we are going to

09:41:04AM 14       put on today or what we expect to put on today.

09:41:06AM 15           First of all, I want to start with the timeline so the

09:41:12AM 16       court kind of understands the key events.               And I do have

09:41:15AM 17       copies of this PowerPoint for the court if you would like

09:41:18AM 18       to have one, a hard copy, or I can provide it to the court

09:41:21AM 19       after we are done.

09:41:23AM 20           First of all, the audit in this case began back in

09:41:27AM 21       January of 2007.       It is an audit of the 2004/2006 tax

09:41:31AM 22       years.    Now, Microsoft was engaging with the IRS from 2007

09:41:36AM 23       all the way forward into 2014.

09:41:39AM 24           And it appeared that the audit was winding down

09:41:43AM 25       towards the end of 2013.         In fact, you will hear that in



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09:41:48AM   1   January of 2014 the IRS met with Microsoft and they

09:41:52AM   2   presented their position on the Americas cost-sharing

09:41:55AM   3   arrangement.     Now, that date is not on the timeline, but

09:41:58AM   4   you will hear testimony about that.

09:42:00AM   5       Ordinarily after that meeting it would have been the

09:42:03AM   6   end of the audit.       And that's what Microsoft anticipated,

09:42:07AM   7   was that the audit was winding up after they received the

09:42:11AM   8   presentation from the IRS.          But what Microsoft didn't know

09:42:14AM   9   is that the IRS had an entirely different plan that they

09:42:20AM 10    didn't disclose to Microsoft.

09:42:21AM 11        In fact, we know from the government's timeline that

09:42:24AM 12    starting back in November of 2013 the IRS had engaged with

09:42:30AM 13    Quinn Emanuel, a private outside law firm, with a plan to

09:42:34AM 14    involve them in the audit, and eventually to take the

09:42:37AM 15    underlying tax case to trial.

09:42:39AM 16        They didn't disclose that fact to Microsoft, and in

09:42:42AM 17    fact, through the first half of 2014, the IRS continued to

09:42:47AM 18    engage with Microsoft about the audit, all the while they

09:42:51AM 19    were meeting with Quinn Emanuel.            They were having

09:42:53AM 20    settlement talks with Microsoft, but not advising them

09:42:57AM 21    about Quinn Emanuel being in the wings.              And they entered

09:43:00AM 22    into a contract with Quinn Emanuel.             Again, Microsoft

09:43:03AM 23    didn't know anything about it.

09:43:05AM 24        The IRS also did not disclose that to Microsoft at the

09:43:09AM 25    time in February of 2014, when they asked Microsoft to



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09:43:15AM   1   extend the statute of limitations for the audit, which at

09:43:18AM   2   that time was set to expire in June of 2014.                So Microsoft

09:43:21AM   3   agreed to that extension, having no knowledge of the fact

09:43:25AM   4   that Quinn Emanuel was being engaged, or had already been,

09:43:29AM   5   or was on the verge of being hired.

09:43:31AM   6         Microsoft also later learned that simultaneously --

09:43:35AM   7   and, again, they didn't know any of this was happening --

09:43:38AM   8   that the IRS was putting together and enacting a temporary

09:43:41AM   9   regulation that they planned to point to to say that Quinn

09:43:45AM 10    Emanuel could examine Microsoft's books and records and

09:43:48AM 11    take summon testimony pursuant to the designated

09:43:51AM 12    summonses.

09:43:52AM 13          It wasn't until late August, and specifically

09:43:57AM 14    August 28th, 2014, that the IRS finally disclosed the fact

09:44:01AM 15    that they had hired Quinn Emanuel, and that they intended

09:44:04AM 16    to have them present at the upcoming interviews of

09:44:07AM 17    Microsoft employees that were scheduled for September of

09:44:09AM 18    that same year.

09:44:11AM 19          Now, even after that disclosure, the IRS continued to

09:44:16AM 20    hide the ball from Microsoft about what exactly was going

09:44:19AM 21    on.    When Microsoft got notice about Quinn Emanuel they

09:44:22AM 22    asked the IRS, "Hey, give us a copy of your engagement

09:44:26AM 23    letter."     The testimony is going to show that Mr. Hoory

09:44:30AM 24    said, "We don't have an engagement letter with Quinn

09:44:33AM 25    Emanuel."     So Microsoft went, did their own research,



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09:44:37AM   1   found that in fact on a government database there was a

09:44:40AM   2   contract between Quinn Emanuel and the IRS.                So they wrote

09:44:42AM   3   to the IRS and said, "Give us a copy of the contract, if

09:44:45AM   4   you don't call it an engagement letter."               The IRS said,

09:44:48AM   5   "Well, okay, there is a contract, and here we are sending

09:44:51AM   6   you the full contract."

09:44:52AM   7       The court is going to hear that in fact the IRS only

09:44:55AM   8   sent a portion of that contract to Microsoft.                The portion

09:45:00AM   9   they chose to withhold from Microsoft was the part that

09:45:03AM 10    showed that in fact they had engaged Quinn Emanuel for the

09:45:06AM 11    purpose of eventually litigating the tax case, among other

09:45:10AM 12    things.

09:45:10AM 13        Let me just talk for a moment about the hiring of

09:45:17AM 14    Quinn Emanuel.      The court is going to hear that the IRS

09:45:23AM 15    engaged Quinn Emanuel as contractors, not as government

09:45:27AM 16    employees.     As contractors, Quinn Emanuel was not bound by

09:45:32AM 17    the conflict and ethics rules that are applicable to

09:45:35AM 18    Treasury Department lawyers.           This is a significant issue,

09:45:38AM 19    and it is not one that just Microsoft was concerned about.

09:45:42AM 20        When the Senate Finance Committee realized that the

09:45:46AM 21    IRS had outsourced an audit to private lawyers, Senator

09:45:51AM 22    Orrin Hatch wrote a letter to the IRS.              This is a copy of

09:45:54AM 23    the letter on PowerPoint now.           He pointed out, "Unlike

09:45:58AM 24    private contractors, Treasury Department officials are

09:46:00AM 25    required to swear an oath to the Constitution and are



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09:46:03AM   1   subject to rules of conduct and federal law regulating

09:46:05AM   2   their interactions with taxpayers."             He went on to say,

09:46:08AM   3   "This is one of the core reasons Congress has sought to

09:46:10AM   4   limit certain examination actions to these officials, who

09:46:14AM   5   are accountable to the public, and for whom there is a

09:46:17AM   6   clear chain of command."         And he expressed concern about

09:46:21AM   7   "turning over inherently governmental functions, such as

09:46:24AM   8   conducting an examination, to private contractors, because

09:46:28AM   9   it doesn't protect the rights of taxpayers."

09:46:33AM 10        Now, the concerns about Quinn Emanuel and using a

09:46:36AM 11    private law firm like Quinn Emanuel in this case, in the

09:46:39AM 12    Microsoft audit, were very real.            As the court is going to

09:46:42AM 13    hear, there are a number of conflicts that Quinn Emanuel

09:46:44AM 14    had and that existed at the time the IRS chose to disclose

09:46:48AM 15    confidential taxpayer -- Microsoft's confidential taxpayer

09:46:52AM 16    information to Quinn Emanuel without ever giving Microsoft

09:46:56AM 17    any advance notice to have an opportunity to protect their

09:46:59AM 18    rights.

09:46:59AM 19        The court is going to hear testimony that Quinn

09:47:02AM 20    Emanuel is the primary outside counsel to Google, and that

09:47:05AM 21    Google is one of Microsoft's largest competitors.                 In

09:47:09AM 22    fact, at the time -- after Microsoft was aware of the

09:47:16AM 23    hiring of Quinn Emanuel they provided to the IRS a list of

09:47:21AM 24    cases that they had actively against Microsoft at that

09:47:25AM 25    time.     And there were 34 cases that Quinn Emanuel was



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09:47:29AM   1   handling that were directly adverse to Microsoft.                 And

09:47:34AM   2   they knew that at the time -- or they had these cases at

09:47:37AM   3   the time the IRS was disclosing behind Microsoft's back

09:47:40AM   4   the confidential taxpayer information.

09:47:42AM   5       Now, let me just shift for a minute and tell the court

09:47:48AM   6   what we expect the evidence is going to show with respect

09:47:51AM   7   to Quinn Emanuel and their role that they had been playing

09:47:54AM   8   in this audit.      The evidence is going to show that Quinn

09:47:58AM   9   Emanuel told the IRS what records it wanted, and the IRS

09:48:01AM 10    asked Microsoft to produce them.            Quinn told the IRS who

09:48:07AM 11    they wanted to question and on what topics, and the IRS

09:48:09AM 12    asked Microsoft to make those employees available.                 Quinn

09:48:13AM 13    identified who they wanted to have questioned under oath

09:48:15AM 14    pursuant to the designated summonses, and the IRS issued

09:48:18AM 15    those summonses.       Quinn was also involved and participated

09:48:24AM 16    in deciding the content of the designated summonses that

09:48:26AM 17    are before this court.         We also know that the IRS has said

09:48:32AM 18    definitively that if the court enforces these summonses,

09:48:35AM 19    it intends to have Quinn Emanuel do some of the

09:48:38AM 20    questioning of the Microsoft witnesses.

09:48:41AM 21        And even though the IRS has told this court, "Well,

09:48:46AM 22    Quinn Emanuel isn't engaging in any inherently

09:48:49AM 23    governmental functions," in fact, the contract shows that

09:48:54AM 24    in fact the performance of the work involves exactly what

09:48:58AM 25    the temporary regulation says is an inherently



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09:49:03AM   1   governmental functions.

09:49:05AM   2       So the Federal Register -- the provision provides that

09:49:09AM   3   one of the things that is inherently governmental function

09:49:12AM   4   is identifying what information must be produced.                   And the

09:49:15AM   5   Quinn Emanuel contract shows that is exactly what the IRS

09:49:19AM   6   has asked Quinn Emanuel to do.

09:49:21AM   7       Talking about the temporary regulation now.                   Microsoft

09:49:30AM   8   expects that the evidence is going to show that the IRS

09:49:33AM   9   enacted the temporary regulation, at least in part,

09:49:36AM 10    because of the Microsoft audit.            The Microsoft audit is

09:49:40AM 11    being overseen by what is called the LB&I section of the

09:49:45AM 12    IRS, which is the large business and international group.

09:49:47AM 13    The court is going to see evidence that in fact it was the

09:49:51AM 14    LB&I that was the impetus and who initiated the temporary

09:49:55AM 15    regulation.

09:49:58AM 16        You are also going to hear that Mr. Hoory, who is

09:50:01AM 17    going to testify today, is directly overseeing the

09:50:03AM 18    Microsoft audit, and he was aware of the temporary

09:50:06AM 19    regulation, and he weighed in on the wording of the

09:50:10AM 20    temporary regulation and other issues prior to its

09:50:13AM 21    enactment.

09:50:18AM 22        Also, the IRS, in explaining why they needed this to

09:50:22AM 23    be an emergency publication, cited that it was the running

09:50:24AM 24    of the statute of limitations that was the reason they had

09:50:27AM 25    to push this through without the ordinary notice, and



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09:50:30AM   1   comment, and time for publication, which only makes sense

09:50:33AM   2   in the context of a particular case or cases, because the

09:50:36AM   3   statute of limitations are expiring all the time on

09:50:40AM   4   audits.

09:50:40AM   5       And the court will hear testimony that in fact the

09:50:44AM   6   Microsoft statute of limitations, the audit, was set --

09:50:47AM   7   the statute of limitations was set to expire within six

09:50:49AM   8   months of the enactment of this temporary regulation.

09:50:54AM   9       We are also going to present evidence that the

09:50:56AM 10    temporary regulation -- the big push by the IRS to get

09:51:00AM 11    this temporary regulation out began on the exact day that

09:51:05AM 12    Microsoft told the IRS that they were no longer going to

09:51:08AM 13    engage in settlement negotiations.             So you can see here --

09:51:13AM 14    this is the declaration of Mr. Bernard, who says that on

09:51:16AM 15    March 27th they advised the IRS they were ceasing all

09:51:19AM 16    settlement discussions.         On the same day the people at the

09:51:23AM 17    IRS said we have to get this temporary regulation out by

09:51:26AM 18    June 1.

09:51:27AM 19        You are also going to hear evidence from the

09:51:34AM 20    administrative file, and I believe from Mr. Hoory, that

09:51:36AM 21    the IRS anticipated all along that this temporary

09:51:39AM 22    regulation is going to be used by outside lawyers to

09:51:43AM 23    perform the questioning and to examine books and records.

09:51:48AM 24    As you can see, these are just some examples of the

09:51:53AM 25    documents that are in the administrative file, which the



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09:51:56AM   1   court will have, which show that the intent all along was

09:51:59AM   2   to involve private lawyers.

09:52:01AM   3       The court will also hear that the Microsoft audit was

09:52:04AM   4   the only case in which private lawyers had been engaged.

09:52:09AM   5   So you see in the temporary -- you see in the

09:52:12AM   6   administrative file that the IRS is fully anticipating

09:52:14AM   7   having lawyers involved, even though the regulation

09:52:16AM   8   doesn't say that.       And yet Microsoft is the only case

09:52:19AM   9   where we are going to have private lawyers involved in an

09:52:21AM 10    audit.

09:52:23AM 11        There is also going to be evidence that we will

09:52:29AM 12    present today to show that the IRS wasn't transparent with

09:52:32AM 13    the internal stakeholders at the IRS, the Department of

09:52:37AM 14    Treasury, and OMB, about how they intended for this

09:52:40AM 15    temporary regulation to be used.

09:52:42AM 16        The administrative record is full of examples about

09:52:45AM 17    how the IRS drafters of this regulation appeared to be

09:52:50AM 18    trying to hide the ball from those people within the

09:52:53AM 19    agency about exactly what they intended, and that they

09:52:55AM 20    intended to bring private lawyers into the Microsoft

09:52:59AM 21    audit.    I will only show you two examples of those things

09:53:01AM 22    today, but the file consists of more.

09:53:04AM 23        So the internal communications at the IRS about this

09:53:08AM 24    temporary regulation -- again, it was fully intended to

09:53:12AM 25    have lawyers be involved -- told people within the IRS



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09:53:15AM   1   that they were implementing the regulation so that people

09:53:18AM   2   such as outside economists, engineers, or consultants

09:53:22AM   3   could participate in the summons interview.                There is not

09:53:26AM   4   one word in the internal documents within the IRS that

09:53:29AM   5   says -- tells people within the agency that they intend to

09:53:33AM   6   use this to have lawyers do the questioning -- outside

09:53:37AM   7   lawyers do the questioning in an audit.

09:53:39AM   8       You are also going to hear that despite the fact that

09:53:43AM   9   there were clear policies within the IRS and the IRM

09:53:47AM 10    manual that require early circulation to internal

09:53:51AM 11    stakeholders of the regulation to give them time for

09:53:54AM 12    consideration of it and to provide feedback, that the

09:53:57AM 13    people behind this regulation only gave five days for

09:54:01AM 14    feedback from the internal people before rushing it into

09:54:05AM 15    publication.     That is on top of the fact that they weren't

09:54:08AM 16    explicitly telling people within the IRS that this

09:54:11AM 17    regulation is intended to be used by lawyers, that we

09:54:14AM 18    intend to have lawyers involved in audits.

09:54:17AM 19        The court is also going to hear testimony that the IRS

09:54:21AM 20    wasn't transparent with the public about the true purpose

09:54:24AM 21    of the regulation.       Now, the IRS, as the court knows,

09:54:29AM 22    issued this as a temporary regulation, which meant that it

09:54:32AM 23    went into effect immediately, and didn't allow for any

09:54:34AM 24    sort of notice and comment period by the public.

09:54:38AM 25        The IRS has typically let the public know about the



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09:54:41AM   1   fact that they intend to pass guidance by putting out what

09:54:44AM   2   is called the business plan.           The business plan is a

09:54:46AM   3   public document that says here is everything that we are

09:54:49AM   4   expecting to issue guidance on in the upcoming future.

09:54:54AM   5       This regulation, the 7602 regulation, wasn't on the

09:54:58AM   6   business plan.      And in fact, it only appeared on the

09:55:00AM   7   business plan after the court granted this hearing, and

09:55:03AM   8   after Microsoft disclosed in its exhibits, when we thought

09:55:07AM   9   the hearing was happening in July, that there were

09:55:09AM 10    business plans where this regulation was absent.                  After

09:55:13AM 11    all of that happened, suddenly this regulation that the

09:55:16AM 12    IRS had been considering working on since sometime in 2013

09:55:21AM 13    appeared on the business plan.

09:55:22AM 14        And, finally, the other way that the IRS concealed

09:55:27AM 15    from the public what the true purpose of this regulation

09:55:29AM 16    was, was in the wording itself of the regulation.                  So what

09:55:34AM 17    was published in the Federal Register, which included the

09:55:37AM 18    published explanation of the regulation itself, refers

09:55:41AM 19    only to contractors throughout the regulation, and never

09:55:46AM 20    once says anything about lawyers, even though that was

09:55:50AM 21    clearly the purpose that the IRS had in mind in passing

09:55:53AM 22    this regulation.

09:55:56AM 23        Now, I want to talk for just a moment about the

09:56:01AM 24    administrative record and the concerns that Microsoft has

09:56:03AM 25    about the administrative record.            I just want to briefly



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09:56:05AM   1   kind of recap why we are talking about the administrative

09:56:08AM   2   record here today.       When the court granted the evidentiary

09:56:11AM   3   hearing, you found that there were factual questions that

09:56:15AM   4   went to the validity of the temporary regulation.                 And the

09:56:17AM   5   IRS initially said they were going to bring one or even

09:56:21AM   6   more than one witness to testify about why the temporary

09:56:24AM   7   regulation was enacted.

09:56:26AM   8       As you will recall, at that time Microsoft asked the

09:56:29AM   9   court for -- to have the IRS produce Heather Maloy, who

09:56:33AM 10    authorized the temporary regulation, so she could testify

09:56:36AM 11    on the issues that the court had identified.                And the

09:56:39AM 12    court deferred that request from Microsoft on the

09:56:41AM 13    representation that the IRS intended to call a witness who

09:56:44AM 14    had knowledge about the temporary regulation and its

09:56:48AM 15    enactment.

09:56:48AM 16        So then following that telephonic hearing the IRS

09:56:52AM 17    disclosed that they intended to call somebody by the name

09:56:55AM 18    of Tom Vidano.      The IRS then said they wouldn't call

09:57:00AM 19    Mr. Vidano unless Microsoft would agree up front there

09:57:03AM 20    would be no waiver of any known privileges before we ever

09:57:07AM 21    heard anything about his testimony.             And Microsoft simply

09:57:10AM 22    couldn't agree to that.         And so the IRS withdrew

09:57:14AM 23    Mr. Vidano.

09:57:16AM 24        Even though Mr. Hoory has some knowledge about this

09:57:18AM 25    temporary regulation, the IRS is now taking the position



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09:57:21AM   1   that the court should only look at what they claim to be

09:57:24AM   2   the administrative record in deciding if the regulation

09:57:26AM   3   was valid.

09:57:27AM   4       And even assuming that is correct for the sake of this

09:57:30AM   5   argument, there are a number of things about the

09:57:34AM   6   administrative record that has been put forward by the IRS

09:57:36AM   7   that causes concern about whether it is complete, and how

09:57:40AM   8   it was put together, and whether or not the court should

09:57:42AM   9   give it the presumption of regularity that would

09:57:45AM 10    ordinarily apply.

09:57:46AM 11        So I am just going to cover those quickly, what the

09:57:50AM 12    issues are in the administrative record.               First of all,

09:57:52AM 13    the case law is clear that the administrative record is

09:57:55AM 14    supposed to contain only what was considered at the time

09:57:58AM 15    prior to the enactment of the temporary regulation, what

09:58:03AM 16    the agency considered.

09:58:07AM 17        Here, the file contains a number of different

09:58:09AM 18    documents that were clearly printed out sometime after the

09:58:13AM 19    regulation went into effect.           So these are just a sample

09:58:18AM 20    of the documents that show -- this was back in July

09:58:22AM 21    of 2015 -- this file was filled with things that were

09:58:23AM 22    printed out at that time.

09:58:27AM 23        Now, initially the IRS, when they first disclosed the

09:58:30AM 24    administrative record, didn't say anything about it.               They

09:58:32AM 25    subsequently offered a declaration amending it, and



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09:58:35AM   1   saying, "Well, these might have a print date of July 2015,

09:58:38AM   2   but they were considered at the time."

09:58:39AM   3       But the IRS hasn't offered any sort of explanation to

09:58:42AM   4   the court -- there is nothing in the file to show that

09:58:44AM   5   these things were in fact considered by the agency at the

09:58:47AM   6   time.   There is simply no way for the court to evaluate

09:58:50AM   7   whether or not that representation is accurate.

09:58:52AM   8       Another concern with the administrative record is that

09:58:56AM   9   it has changed.      Initially the administrative record was

09:59:00AM 10    disclosed to Microsoft on July 13th.             And in the first

09:59:04AM 11    administrative record that we received it included this

09:59:07AM 12    document, Microsoft Exhibit 135.            And this was what

09:59:12AM 13    appeared to be a one-page email related to statistics that

09:59:17AM 14    LB&I was providing to support why the temporary regulation

09:59:20AM 15    was necessary.      But then on July 17th, four days later,

09:59:26AM 16    DOJ -- IRS provided an updated administrative record, and

09:59:31AM 17    all of a sudden this one-page document was four pages.

09:59:35AM 18    And there was no explanation.

09:59:36AM 19        And it is concerning, because there was no reason to

09:59:42AM 20    believe that the one-page document was anything more than

09:59:44AM 21    a one-page document.        There wasn't a privilege log.         There

09:59:46AM 22    weren't any redactions.         There was simply no explanation

09:59:50AM 23    other than to think it was a one-page document, that four

09:59:53AM 24    days later morphs into a four-page document, without any

09:59:56AM 25    sort of explanation.        I think it raises concerns about



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09:59:58AM   1   whether or not there are things that are missing from the

10:00:01AM   2   administrative record when it is produced in that fashion.

10:00:04AM   3       And we do know that there are missing records from the

10:00:08AM   4   administrative record that the IRS put forward.                   As the

10:00:11AM   5   court may recall, Microsoft has made FOIA requests to the

10:00:16AM   6   IRS related to the temporary regulation.               And one of the

10:00:18AM   7   things that we asked for were all documents related to the

10:00:22AM   8   regulatory history of the temporary regulation.                   Microsoft

10:00:27AM   9   expected that would yield basically the records that would

10:00:29AM 10    later become the administrative record, that were part of

10:00:32AM 11    the administrative record.

10:00:34AM 12        Well, in the FOIA case, in response to that request,

10:00:37AM 13    Microsoft received over 1,400 pages of documents in

10:00:42AM 14    response to that request.          But the administrative record

10:00:46AM 15    that was produced by the IRS is only 630 pages.                   There is

10:00:51AM 16    just no explanation for that discrepancy.

10:00:54AM 17        We can also see from looking at the file itself that

10:00:58AM 18    there are things that are missing.             This email, which is

10:01:03AM 19    part of the administrative record that they submitted to

10:01:06AM 20    the court, refers to the fact that there is a

10:01:08AM 21    representative contract that is being considered by the

10:01:10AM 22    drafters of this regulation.           Clearly it is something that

10:01:15AM 23    was considered by the agency, and yet the attachment isn't

10:01:19AM 24    in the administrative record.

10:01:21AM 25        Well, we know that it exists, because in the FOIA



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10:01:24AM   1   action this is what we received, which is the same email,

10:01:28AM   2   with redactions, and an attachment that is fully redacted

10:01:32AM   3   out.   So, again, something missing from the administrative

10:01:35AM   4   record that was clearly considered by the agency.

10:01:38AM   5       But even more importantly, last Friday the IRS

10:01:43AM   6   disclosed this document, which now tells the court that

10:01:48AM   7   the IRS -- the drafters of the regulation considered

10:01:52AM   8   precisely the issue that is before this court, and that is

10:01:56AM   9   whether or not contractors can be treated as IRS employees

10:01:59AM 10    for purposes of 7602.

10:02:02AM 11        Now, we received only this email.             We didn't receive

10:02:07AM 12    the memo.     But what is concerning, and what should concern

10:02:10AM 13    the court, is that neither this email, nor the memo, are

10:02:14AM 14    part of what has been submitted to you as the purported

10:02:17AM 15    administrative record.         So there are a lot of questions

10:02:20AM 16    about what is or isn't in the administrative record, and

10:02:23AM 17    why there is the disconnect between that and the FOIA.

10:02:28AM 18        There is also redaction issues that we think should

10:02:31AM 19    concern the court.       I am just giving you one example of

10:02:35AM 20    that here.     In the summons enforcement case we received

10:02:39AM 21    this document.      That's the executive summary for the

10:02:41AM 22    summons interview regulation.           And yet in the FOIA case,

10:02:45AM 23    we received it completely redacted on the claim of

10:02:50AM 24    deliberative process.

10:02:54AM 25        Again, this just raises an issue, we think, about



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10:02:55AM   1   whether there have been improper redactions for those

10:02:57AM   2   things that are actually in the administrative record, and

10:03:00AM   3   whether or not there are wholesale redactions that have

10:03:04AM   4   been done by the IRS, which is information of --

10:03:08AM   5   information that isn't properly privileged or should be

10:03:10AM   6   considered by this court.

10:03:11AM   7       So that's kind of a quick recap of what we expect the

10:03:17AM   8   evidence is going to show today.            I want to take a minute,

10:03:21AM   9   though, and talk about what is not at issue in this

10:03:23AM 10    hearing today.      Microsoft fully expects that the IRS is

10:03:28AM 11    going to try to use this evidentiary hearing to try to

10:03:31AM 12    embarrass Microsoft, to portray the company as a tax

10:03:36AM 13    evader, and to improperly disclose our confidential

10:03:40AM 14    taxpayer information, information that would be

10:03:43AM 15    confidential in an audit, and, but for this hearing, would

10:03:46AM 16    not be disclosable to the public.

10:03:48AM 17        Now, the reason we are concerned is not only because

10:03:51AM 18    of the exhibits that have been identified by the IRS for

10:03:53AM 19    this hearing, which go to the underlying financials and

10:03:57AM 20    the issues that are within the audit, but the IRS has also

10:04:03AM 21    publicly stated they plan to basically punish taxpayers

10:04:06AM 22    who fight summons enforcement proceedings.

10:04:10AM 23        You will see in an article to the press -- this is in

10:04:14AM 24    January of 2015, so after Microsoft had let it be known

10:04:18AM 25    that the company intended to fight the summons enforcement



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10:04:21AM   1   proceedings, a senior IRS lawyer told the press, "The

10:04:26AM   2   taxpayers and practitioners should be cautious when asking

10:04:29AM   3   for an evidentiary hearing to prove that a summons was

10:04:31AM   4   issued for an improper purpose."            They warned that, "An

10:04:36AM   5   evidentiary hearing is a two-way street.               It is not simply

10:04:38AM   6   the taxpayer's opportunity to question the agent."                    And,

10:04:43AM   7   "The taxpayer should think about whether they want to have

10:04:45AM   8   their officials being examined by the IRS in a public

10:04:48AM   9   courtroom, and whether they want to have a DOJ lawyer

10:04:51AM 10    talking about the underlying tax transactions that the IRS

10:04:54AM 11    is looking at."

10:04:56AM 12        That threat is exactly what Microsoft is concerned is

10:05:01AM 13    going to be attempted to be carried out today.                    We believe

10:05:04AM 14    the IRS is trying to punish Microsoft for successfully

10:05:07AM 15    getting this hearing by disclosing our confidential

10:05:11AM 16    taxpayer information, and sending a message to other

10:05:13AM 17    taxpayers not to do what Microsoft has done and gotten in

10:05:17AM 18    this case.     I would urge the court not to permit the IRS

10:05:20AM 19    to do that.     The financial information underlying the

10:05:22AM 20    audit, the positions that the parties have taken is simply

10:05:27AM 21    not relevant to any of the issues before the court today.

10:05:30AM 22        It is fundamentally unfair for the IRS to throw out

10:05:35AM 23    numbers, particularly when they are maintaining they

10:05:38AM 24    haven't actually made a conclusion as to what tax is due,

10:05:42AM 25    in a context where Microsoft can't call experts or dispute



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10:05:46AM   1   or explain the numbers that are being thrown out and can

10:05:49AM   2   be misconstrued by people.

10:05:51AM   3       In short, we urge the court not to let the IRS misuse

10:05:55AM   4   this hearing, which is supposed to be about the IRS's

10:05:58AM   5   conduct, to publicize Microsoft's confidential

10:06:02AM   6   information.

10:06:05AM   7       In conclusion, Microsoft believes at the end of today

10:06:09AM   8   that we will show the court that there are troubling

10:06:11AM   9   questions here about the IRS's hiring of Quinn Emanuel and

10:06:15AM 10    their involvement in the Microsoft audit.

10:06:19AM 11        Microsoft, of course, has concerns about what the IRS

10:06:22AM 12    has done, but their concerns are also shared by Congress.

10:06:27AM 13    Both the House Ways and Means Committee, as well as the

10:06:31AM 14    Senate Finance Committee, share the concerns that

10:06:33AM 15    Microsoft has.      We believe at the end of the presentation

10:06:35AM 16    today the court, too, will have even more questions and

10:06:39AM 17    concerns about what the IRS has done.              At that time we

10:06:43AM 18    will ask the court to order some limited discovery so a

10:06:46AM 19    full record can be created before the court decides

10:06:50AM 20    whether or not to enforcement the summonses.                Thank you.

10:06:54AM 21               THE COURT:     Ms. Eakes, thank you very much.

10:06:57AM 22        Mr. Weaver, I don't know if you, the IRS, would like

10:07:00AM 23    to make any preliminary statements before we call the

10:07:02AM 24    first witness, or should we just get into the first

10:07:06AM 25    witness?



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10:07:07AM   1             MR. WEAVER:      Yes, your Honor, if we could.

10:07:27AM   2       Your Honor, the story of how Microsoft -- excuse me,

10:07:31AM   3   the story of how the IRS came to retain Quinn Emanuel

10:07:34AM   4   begins in 2011.      In June of that year Microsoft submitted

10:07:38AM   5   to the IRS a document called a protest.              In that protest

10:07:43AM   6   Microsoft took issue with certain adjustments that the IRS

10:07:46AM   7   had proposed making to Microsoft's tax returns for the

10:07:52AM   8   2004 through 2006 years, adjustments that would increase

10:07:55AM   9   Microsoft's taxable income by billions of dollars.

10:07:58AM 10        Now, those adjustments arise from two complex

10:08:01AM 11    international arrangements that we will call today the

10:08:05AM 12    Americas transaction and the Asia Pacific transaction.

10:08:09AM 13        In its protest Microsoft claimed that the analysis

10:08:13AM 14    underlying the IRS's notice of proposed adjustments was,

10:08:17AM 15    quote, arbitrary and capricious.            And Microsoft argued

10:08:21AM 16    that the valuation method used by the IRS to figure out

10:08:25AM 17    and measure the income from these transactions was

10:08:28AM 18    improper.     They complained that the IRS should have used a

10:08:32AM 19    different method, and taken a more granular look at the

10:08:36AM 20    transactions.

10:08:38AM 21        In support of its protest Microsoft relied heavily on

10:08:42AM 22    a tax court case called Veritas v. Commissioner, a 2009

10:08:47AM 23    case that did not turn out well for the IRS.                In Veritas

10:08:51AM 24    the tax court found that expert testimony offered by the

10:08:54AM 25    IRS was unsupported and unreliable.             The tax court



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10:09:00AM   1   determined that the IRS notice of deficiency, the document

10:09:03AM   2   issued at the conclusion of an audit, was, quote,

10:09:07AM   3   arbitrary and capricious, because the analysis presented

10:09:10AM   4   at trial in Veritas was different than the analysis in the

10:09:16AM   5   exam phase of the case.

10:09:17AM   6       Now, Microsoft's protest is a long document.                  You will

10:09:21AM   7   see parts of that document today.            The protest even

10:09:24AM   8   faulted the IRS for relying on, among other things, notes

10:09:28AM   9   of earlier interviews, interviews not under oath, and not

10:09:32AM 10    transcribed.     Microsoft characterized such evidence as,

10:09:36AM 11    quote, of questionable utility.

10:09:39AM 12        Now, starting in late 2011, a relatively new component

10:09:43AM 13    of the IRS called Transfer Pricing Operations, or TPO for

10:09:48AM 14    short, began to coordinate aspects of the Microsoft audit

10:09:53AM 15    that we care about here today.

10:09:55AM 16        And there were several goals in mind for the audit:

10:09:59AM 17    One was to develop facts better; two was to resolve or

10:10:04AM 18    narrow differences, where possible; and three was to make

10:10:07AM 19    greater use of experts of various kinds.

10:10:10AM 20        Now, TPO withdrew the IRS notice of proposed

10:10:14AM 21    adjustment that had generated the protest; and TPO decided

10:10:19AM 22    to take a closer look at the transactions; and of

10:10:24AM 23    particular interest here, the method that Microsoft and

10:10:27AM 24    its advisor KPMG had used to value components of the

10:10:33AM 25    Americas transaction.



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10:10:34AM   1       Mr. Hoory, who is here today, a senior advisor with

10:10:38AM   2   TPO, will testify about his understanding that as of July

10:10:42AM   3   2005, Microsoft effectively transferred certain rights and

10:10:46AM   4   software code, such as Windows, to an offshore affiliate

10:10:51AM   5   in Puerto Rico with respect to retail sales in America.

10:10:54AM   6   But Microsoft did not transfer other things, like the

10:10:58AM   7   right to use Microsoft's name, things that you need to

10:11:01AM   8   actually sell product, to the Puerto Rico affiliate.              And

10:11:07AM   9   Microsoft's U.S. affiliates would still be doing the

10:11:10AM 10    selling.

10:11:11AM 11        Now, to better understand the KPMG valuation that

10:11:16AM 12    Microsoft was relying on and the assumptions, TPO engaged

10:11:21AM 13    experts in 2012, in software code, brand and marketing

10:11:27AM 14    valuation, as well as financial and industry experts.              To

10:11:30AM 15    help pull these disparate areas together, and to develop a

10:11:35AM 16    persuasive and coherent framework, TPO decided to try

10:11:39AM 17    something new, obtaining the services of a commercial

10:11:42AM 18    litigator.

10:11:44AM 19        Mr. Hoory, and his boss, Mr. Maruca, reasoned that the

10:11:49AM 20    ultimate goals of the audit, getting to the right numbers

10:11:52AM 21    and supporting those numbers with solid factual and legal

10:11:54AM 22    support, would be well advanced by obtaining the advice

10:11:59AM 23    and assistance of someone with experience in developing

10:12:02AM 24    and evaluating large complex cases.             And TPO reasoned that

10:12:07AM 25    a commercial litigator would also serve as a sounding



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10:12:10AM   1   board to provide an independent analysis of the strengths

10:12:14AM   2   and the weaknesses of the audit.

10:12:18AM   3       And make no mistake, Microsoft's audit that we are

10:12:21AM   4   here today about is one of the largest and most

10:12:24AM   5   complicated audits ever undertaken by the IRS.

10:12:28AM   6       To be clear, if the case did not resolve at the exam

10:12:35AM   7   stage, and it went beyond that, then these attorneys might

10:12:38AM   8   also bring experience to the table were a trial to ensue.

10:12:44AM   9       Now, you will learn today that during the second half

10:12:48AM 10    of 2012, TPO first reached out to another law firm, the

10:12:52AM 11    law firm of Boies Schiller.          Mr. Hoory hoped to obtain an

10:12:59AM 12    evaluation of the audit, of the strengths and weaknesses,

10:13:03AM 13    from the law firm before making a presentation to

10:13:05AM 14    Microsoft to try and resolve and narrow their differences.

10:13:10AM 15    Unfortunately, nothing was ever done on that contract

10:13:15AM 16    because of conflicts of interest.

10:13:18AM 17        Mr. Hoory first contacted a representative from Quinn

10:13:25AM 18    Emanuel in late 2013.

10:13:28AM 19        Now, to address one of the concerns in your Honor's

10:13:30AM 20    order, Mr. Hoory made no mention of Microsoft before a

10:13:36AM 21    proper nondisclosure agreement was in place.

10:13:39AM 22        The first meeting with Quinn Emanuel took place in

10:13:42AM 23    late February 2014.        And the purpose of that meeting was

10:13:45AM 24    to ascertain if the firm would be a good fit for the

10:13:48AM 25    anticipated tasks at hand, the provision of legal advice



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10:13:54AM   1   regarding the strengths and weaknesses of the case, and

10:13:57AM   2   assistance in developing facts and legal theories during

10:14:00AM   3   the remainder of the exam.

10:14:03AM   4       After that initial meeting in February, the next

10:14:07AM   5   substantive communications between Mr. Hoory and Quinn

10:14:10AM   6   Emanuel did not occur until July 15, 2014.

10:14:16AM   7       Now, during the intervening months between February

10:14:19AM   8   and July, for reasons having nothing to do at all with

10:14:23AM   9   Quinn Emanuel, resolution discussions with Microsoft,

10:14:27AM 10    discussions that Mr. Hoory had tried to get started

10:14:30AM 11    through a presentation in January of 2014, came to a halt.

10:14:36AM 12        Contrary to allegations, Mr. Hoory will confirm that

10:14:39AM 13    he received no input whatsoever from Quinn Emanuel

10:14:43AM 14    regarding the information document requests, the IDRs,

10:14:48AM 15    served on Microsoft in July of 2014.

10:14:53AM 16        And you will learn from Mr. Hoory, far from

10:14:55AM 17    outsourcing the audit, as has been suggested by Microsoft,

10:14:58AM 18    the direction of the audit, the subject matter of the

10:15:02AM 19    IDRs, the subject matters of the interviews that occurred

10:15:05AM 20    in the fall of 2014, and even the necessary follow-up in

10:15:09AM 21    the summonses that are pending here, these lines of

10:15:13AM 22    inquiry and the subject matters addressed were largely

10:15:17AM 23    determined before Quinn Emanuel read a single audit

10:15:21AM 24    document and provided any advice.

10:15:23AM 25        Now, what has become increasingly clear to Mr. Hoory



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10:15:27AM   1   is that some of the assumptions underlying the KPMG

10:15:33AM   2   valuation study relied on by Microsoft are highly

10:15:35AM   3   questionable.      And I will get to that in a minute.

10:15:38AM   4       But what about allegations that Quinn Emanuel

10:15:40AM   5   attorneys performed inherently governmental functions?

10:15:45AM   6   Not so, your Honor.        We will look today at Quinn Emanuel's

10:15:47AM   7   contract, and we will look at the prohibition in that

10:15:49AM   8   contract against performing inherently governmental

10:15:53AM   9   functions.     That section of the contract refers to an OPM

10:15:56AM 10    policy letter that sets out what is and what is not

10:16:00AM 11    inherently governmental.         Fact gathering is not inherently

10:16:04AM 12    governmental.      Providing legal advice is not inherently --

10:16:10AM 13    an inherently governmental function.

10:16:13AM 14        Now, appearing before a tribunal is an inherently

10:16:17AM 15    governmental function, but Quinn Emanuel did not do that.

10:16:21AM 16        Well, what about inspecting books and records or

10:16:24AM 17    asking questions, two concerns raised in your Honor's

10:16:28AM 18    order?    If we could put up the one slide I want to use

10:16:34AM 19    here, which is this slide here.            I have put up Section A

10:16:37AM 20    of the summons statute, your Honor, 7602.               And what you

10:16:42AM 21    will see --     I have highlighted -- the highlights are

10:16:45AM 22    mine, the words "authority to summon."              And then down

10:16:49AM 23    below you will see "secretary is authorized."

10:16:51AM 24        Now, what this statute is doing, your Honor, is

10:16:54AM 25    cloaking the secretary with authority to do the things



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10:16:57AM   1   listed below, to examine books and records, to summon

10:17:02AM   2   someone to appear before the IRS, to take testimony.              The

10:17:09AM   3   secretary can demand that that occur.              But no one -- no

10:17:11AM   4   one except Microsoft, in its briefing, construes Part

10:17:14AM   5   (a)(1) of this statute here as prohibiting an outside

10:17:20AM   6   expert, properly retained under 6103(n), from assisting

10:17:25AM   7   the IRS in review of books and records.              In fact, it is

10:17:28AM   8   the necessary practice of the IRS to ask outside experts,

10:17:32AM   9   be they financial, economic, scientific, technical, or

10:17:36AM 10    even sometimes legal experts, to review taxpayer books and

10:17:41AM 11    records.

10:17:42AM 12        Were you to bar experts, under contract properly, from

10:17:49AM 13    looking at books and records obtained through summonses,

10:17:51AM 14    you would effectively shut down virtually all complex

10:17:55AM 15    audits in the IRS.       That certainly can't be the proper way

10:17:58AM 16    to interpret the statute.

10:17:59AM 17        Now, your Honor, if the phrase "examine books and

10:18:03AM 18    records" is about who is cloaked with the authority to

10:18:06AM 19    invoke these three things, but is silent on the procedure,

10:18:10AM 20    so too then the phrase in Part 3, "to take such

10:18:14AM 21    testimony," is about who has the authority to require the

10:18:18AM 22    interview, not the procedures of where, or how, or who may

10:18:23AM 23    attend, or even who may speak.

10:18:26AM 24        What about the regulation?           You will hear today that

10:18:32AM 25    the regulation -- the temporary regulation allowing



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10:18:35AM   1   contractors to fully participate in interviews, which

10:18:40AM   2   Microsoft claims was rushed through hastily for the Quinn

10:18:45AM   3   Emanuel contract, actually arose out of earlier concerns

10:18:48AM   4   in 2013 related to another audit.

10:18:52AM   5       Now, once in the pipeline, of course TPO wanted to get

10:18:56AM   6   the regulation up and running as soon as possible.                     TPO

10:19:00AM   7   had been using experts to attend interviews and advise the

10:19:04AM   8   IRS, and, where appropriate, interpose questions.                  But

10:19:08AM   9   there is no improper motive for this regulation.                  It

10:19:11AM 10    didn't even start with Microsoft.

10:19:15AM 11        What about the summonses?           The summonses -- the

10:19:20AM 12    summons requests here flow from Microsoft's failure to

10:19:23AM 13    adequately respond to earlier IRS requests.                Only in late

10:19:29AM 14    2014 and 2015, after the summonses were issued, has the

10:19:36AM 15    IRS received details from Microsoft about certain

10:19:39AM 16    financial projections that it has been asking for for some

10:19:42AM 17    time, some of which Microsoft's tax department had

10:19:45AM 18    previously stated either didn't exist or couldn't be

10:19:47AM 19    found.

10:19:48AM 20        It is only after the summonses were issued, your

10:19:51AM 21    Honor, in 2014, that it has become increasingly clear just

10:19:56AM 22    how involved KPMG was, not in just valuing the Americas

10:20:02AM 23    transaction, but in helping Microsoft engineer a

10:20:06AM 24    tax-driven result.       Mr. Hoory now has concerns about the

10:20:09AM 25    independence of KPMG's analysis.



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10:20:13AM   1       You will see, we will present evidence today, where

10:20:15AM   2   internal KPMG documents call into question the very

10:20:19AM   3   assumptions they are using in the KPMG valuation of the

10:20:23AM   4   Americas transaction.        In fact, you will see some meeting

10:20:26AM   5   notes where KPMG is concerned that the affiliate in

10:20:29AM   6   Puerto Rico I referred to earlier would not be operational

10:20:32AM   7   for 18 months after this transaction went into effect.

10:20:35AM   8   Someone writes, quote, "What can we do to make this thing

10:20:38AM   9   real?"

10:20:40AM 10        Now, your Honor, that is important, because if the IRS

10:20:45AM 11    has the legitimate purpose and has issued the summonses at

10:20:49AM 12    issue in good faith, then, unless Microsoft can show --

10:20:54AM 13    make a substantial showing of bad faith or wrongdoing with

10:20:58AM 14    respect to the summonses -- not with respect to some

10:21:01AM 15    flawed policy, but with respect to the summonses, then

10:21:04AM 16    Microsoft is simply not entitled to discovery in this

10:21:07AM 17    summons proceeding.

10:21:10AM 18        And, moreover, questions about the role of Quinn

10:21:13AM 19    Emanuel and the timing and the validity of the regulation

10:21:16AM 20    shrink and become secondary.           And why is that?           Because

10:21:20AM 21    they only become relevant about who your Honor may allow

10:21:23AM 22    to attend or to speak at an interview.              But they don't go

10:21:28AM 23    to whether the interviews should themselves go forward.

10:21:32AM 24        Now, your Honor, let me just address quickly a couple

10:21:35AM 25    of points that Ms. Eakes made.           It is true that we had



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10:21:38AM   1   hoped in our telephone motions hearing, on the telephone a

10:21:42AM   2   few weeks ago, to produce a live witness to talk about the

10:21:47AM   3   interaction between the Microsoft audit and the

10:21:50AM   4   administrative record, essentially the temporary

10:21:53AM   5   regulation.

10:21:54AM   6       We had someone on our witness list, Mr. Vidano, but he

10:21:59AM   7   is an attorney.      So we said, "Okay, we will produce him,

10:22:02AM   8   but he is an attorney -- an LB&I attorney.               We want you to

10:22:06AM   9   agree, Microsoft, that we will not have a subject matter

10:22:09AM 10    waiver."     That was the proposal.         And Microsoft turned

10:22:12AM 11    that down.

10:22:13AM 12        So what we have done is, we have submitted the

10:22:16AM 13    administrative record here today, which is clearly put

10:22:20AM 14    together as best we can.         I will address and point the

10:22:23AM 15    court to various parts of that self-authenticating record

10:22:28AM 16    later today.

10:22:31AM 17        Might I add, it is not typical to have a privilege log

10:22:33AM 18    with the submission of an administrative record.

10:22:36AM 19        And what is missing from the administrative record,

10:22:38AM 20    your Honor?     Deliberative communications.            Deliberative

10:22:44AM 21    communications are not supposed to be part of the

10:22:46AM 22    administrative record.

10:22:47AM 23        Ms. Eakes referred to a memo from A.M. Gulas, one of

10:22:53AM 24    the drafters of the regulation.            That is a deliberative

10:22:56AM 25    and privileged document.         So, of course, it is not in an



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10:22:59AM    1   administrative record.

10:23:03AM    2       Your Honor, by the end of today we are confident that

10:23:06AM    3   your concerns, the ones expressed in your order, will be

10:23:09AM    4   alleviated, and it will be clear why the IRS legitimately

10:23:13AM    5   needs the additional information it seeks to complete this

10:23:16AM    6   audit.     Thank you.

10:23:20AM    7              THE COURT:     Thank you, Mr. Weaver.          Are we ready

10:23:24AM    8   for our first witness then?

10:23:28AM    9              MR. BECK:    Yes, your Honor.

10:23:29AM 10                THE COURT:     Mr. Beck, you may call your first

10:23:31AM 11     witness.

10:23:32AM 12                MR. BECK:    Microsoft calls Mr. Hoory.

10:23:36AM 13                THE COURT:     Mr. Hoory, good morning.          If I could

10:23:39AM 14     have you make your way around counsel table, come up in

10:23:43AM 15     front of the clerk, raise your right hand and be sworn

10:23:50AM 16     prior to taking the stand.

             17                                   ELI HOORY

10:24:20AM 18         Having been sworn under oath, testified as follows:

10:24:20AM 19                THE CLERK:     Could you please state your name for

10:24:22AM 20     the record and spell your last name?

10:24:23AM 21                THE WITNESS:     Eli Hoory.      The last name is spelled

10:24:27AM 22     H-O-O-R-Y.

10:24:29AM 23                THE COURT:     Mr. Hoory, what I need from you is to

10:24:31AM 24     answer the questions in a voice loud enough so everybody

10:24:33AM 25     can hear you.      That microphone in front of you amplifies



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10:24:38AM   1   only a little bit, but there is a cone, and if you get too

10:24:42AM   2   close, you will get feedback.           Keep your voice up.       If you

10:24:45AM   3   don't understand the question, simply say so, and we will

10:24:47AM   4   get counsel to rephrase it for you.             All right?

10:24:50AM   5             THE WITNESS:      Um-hum.

10:24:51AM   6             THE COURT:      You may inquire.

10:24:54AM   7             MR. BECK:     Thank you, your Honor.

10:24:55AM   8                            DIRECT EXAMINATION

10:24:56AM   9   By Mr. Beck:

10:24:57AM 10    Q.   Mr. Hoory, I would like to start with a discussion

10:24:59AM 11    about the underlying dispute concerning Microsoft's tax

10:25:03AM 12    liability for the years 2004 through 2006.               And I hope we

10:25:08AM 13    can keep it at a fairly general level, simply so the court

10:25:13AM 14    can understand the context in which today's dispute

10:25:17AM 15    arises.

10:25:17AM 16           Does the question that you and Microsoft have been

10:25:27AM 17    struggling over in the underlying audit concern how to

10:25:34AM 18    value intangibles that have been transferred by a U.S.

10:25:39AM 19    company to a foreign affiliate?

10:25:43AM 20    A.   That is part of it.         It is how to do that, as well as

10:25:46AM 21    how to measure relative values between buckets of

10:25:50AM 22    intangibles.     So for that purpose we are actually using

10:25:54AM 23    the same valuation methodology.

10:25:56AM 24    Q.   I am not asking you yet about the methodology.               One

10:25:59AM 25    of the core issues is, as we have heard from Mr. Weaver,



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10:26:03AM   1   there was intangible property, intellectual property, for

10:26:12AM   2   example, that was transferred from U.S. Microsoft to a

10:26:16AM   3   foreign subsidiary or affiliate.            And one of the questions

10:26:21AM   4   at least is how to put a proper value on the property that

10:26:25AM   5   was transferred, correct?

10:26:27AM   6   A.   That's one.      There is also one other geography, the

10:26:31AM   7   Asia Pacific.      They are similar issues.

10:26:33AM   8   Q.   Now, you agree, don't you, that there is nothing

10:26:38AM   9   inherently improper in a U.S. company transferring

10:26:44AM 10    intangibles or intellectual property to a foreign

10:26:47AM 11    affiliate?

10:26:48AM 12    A.   As long as they pay the arm's length price, that is,

10:26:51AM 13    the price that we pay in the market, then it is allowed.

10:26:54AM 14    Q.   So the question is, have they paid -- did the foreign

10:26:58AM 15    affiliate pay an arm's length transaction-type price for

10:27:02AM 16    the property that was transferred, right?

10:27:05AM 17    A.   That is part of it.         Remember, in this case you have

10:27:08AM 18    the foreign affiliate doing a roundtrip.               They buy the

10:27:11AM 19    intangible property from the United States, and they

10:27:14AM 20    immediately sell it right back to the U.S. affiliates,

10:27:16AM 21    which then have third-party relationships.               So you have

10:27:19AM 22    two prices here, one going out, and then a roundtrip

10:27:22AM 23    coming back into the U.S.

10:27:23AM 24    Q.   And neither of the transfers is inherently improper,

10:27:27AM 25    it is just a question of how to place the proper value on



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10:27:30AM   1   the thing that was transferred, right?

10:27:32AM   2   A.   That is true, unless we look beyond at economic

10:27:34AM   3   substance.     So there are provisions that would let us

10:27:37AM   4   disregard the transaction.          In this structure, though,

10:27:39AM   5   thus far, we have been focusing on what is the right price

10:27:42AM   6   if we actually respect the transaction as is.

10:27:44AM   7   Q.   You say you respect the transaction.              And you have

10:27:47AM   8   made no claim whatsoever at any time that this was some

10:27:51AM   9   sort of sham transaction that should be disregarded,

10:27:54AM 10    correct?

10:27:56AM 11               MR. WEAVER:     Objection.      Mischaracterizes his

10:27:58AM 12    testimony.

10:28:02AM 13               THE COURT:     Overruled.      Do you understand the

10:28:04AM 14    question?

10:28:06AM 15               THE WITNESS:     If counsel could repeat it, I would

10:28:09AM 16    appreciate it.

10:28:10AM 17               THE COURT:     Could I have you rephrase, counsel?

10:28:14AM 18               MR. BECK:     Sure.

10:28:14AM 19    By Mr. Beck:

10:28:15AM 20    Q.   I think you said thus far you respected the

10:28:17AM 21    transaction, right?

10:28:18AM 22    A.   I said thus far in our valuation we have tried to

10:28:22AM 23    value it as if the transaction was respected.                So you can

10:28:25AM 24    have alternative positions, as you might know.                    We have

10:28:28AM 25    said, "Okay, what if this is a real deal?               What if there



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10:28:31AM   1   is actually substance here?          What would the value be

10:28:33AM   2   between arm's length parties if you respected it?"                And we

10:28:37AM   3   basically started with that premise to try to engage in

10:28:39AM   4   productive resolution discussions with the company.

10:28:41AM   5   Q.   Now, this audit has been going on since 2007, right?

10:28:46AM   6   A.   I believe so.

10:28:46AM   7   Q.   We are now in 2015.         My question, sir, before you

10:28:53AM   8   volunteered this on the stand this morning, had anybody

10:28:58AM   9   from the IRS ever communicated to Microsoft any concern at

10:29:03AM 10    all that these transactions were anything other than

10:29:07AM 11    legitimate, and that the question is simply one of valuing

10:29:11AM 12    the thing that was transferred?

10:29:13AM 13    A.   Well, if you look at my January 14 presentation I

10:29:15AM 14    gave the company, there is a number of simplifying

10:29:18AM 15    assumptions in there.        One of those assumptions is, not

10:29:21AM 16    withstanding what we saw as a very little risk in the

10:29:24AM 17    Puerto Rican affiliate, we were going to treat it for

10:29:28AM 18    purposes of the resolution assumptions in that preliminary

10:29:30AM 19    analysis as if they actually were the owner of all, I

10:29:35AM 20    guess, features or rights inherent in the technology that

10:29:38AM 21    they purchased.      So that was a simplifying assumption when

10:29:41AM 22    we presented to the company.

10:29:42AM 23    Q.   Well, what you call now a simplifying assumption, is

10:29:46AM 24    you say, "We are proceeding on the basis that these are

10:29:50AM 25    legitimate transactions, and the only question is how to



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10:29:52AM   1   value the thing that was transferred," right?

10:29:54AM   2             MR. WEAVER:      Objection.      Mischaracterizes his last

10:29:57AM   3   answer.

10:29:57AM   4             MR. BECK:     He just was saying yes, your Honor.

10:30:00AM   5             THE COURT:      Overruled.

10:30:02AM   6             THE WITNESS:      Should I answer?

10:30:04AM   7             THE COURT:      Yes.

10:30:05AM   8             THE WITNESS:      Thank you, your Honor.          I was

10:30:06AM   9   pointing out that it actually refers to simplifying

10:30:09AM 10    assumptions in the January 14th meeting.               This is not the

10:30:14AM 11    first time I referred to them.

10:30:15AM 12    Mr. Beck:

10:30:15AM 13    Q.   What you call the simplifying assumptions was, "We

10:30:19AM 14    are treating these transactions as perfectly legit, it is

10:30:24AM 15    how we put a value on the thing transferred," right?

10:30:26AM 16    A.   We were treating them as qualified cost-sharing

10:30:29AM 17    arrangements for purposes of trying to value them.                  If we

10:30:32AM 18    had not treated them or looked beyond them at the

10:30:34AM 19    substance of the transaction and treated them as not

10:30:37AM 20    qualified cost-sharing arrangements, on that particular

10:30:39AM 21    point, if we have that premise, I was pointing out the way

10:30:42AM 22    the regs work is we don't have to respect the transfer of

10:30:47AM 23    the intangibles.       You asked me if we had to respect it,

10:30:50AM 24    and that that was the only possible issue.               I was just

10:30:51AM 25    pointing out that it was a simplifying assumption in our



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             1   presentation that we were respecting the transaction as

10:31:10AM   2   is, notwithstanding --         I was pointing out that it was a

10:31:12AM   3   simplifying assumption in our January 14th meeting.                I

10:31:15AM   4   understood your earlier question to ask me if this was

10:31:19AM   5   permitted.     The answer is, that is offshore transfers of

10:31:25AM   6   intangibles.     That's what I understood you to ask.             I was

10:31:29AM   7   pointing out it is permitted.           We allow it under qualified

10:31:33AM   8   cost-sharing arrangements.          And as a simplifying

10:31:35AM   9   assumption, when we did our valuation, our preliminary

10:31:38AM 10    assessment, which was not complete, it was not final, it

10:31:41AM 11    was supposed to be the starting point of resolution

10:31:44AM 12    discussions with the company, we made a simplifying

10:31:45AM 13    assumption that we were going to respect it as a qualified

10:31:49AM 14    cost-sharing arrangement.

10:31:49AM 15    Q.   Well, lots of big U.S. companies have foreign

10:31:55AM 16    affiliates, right?

10:31:56AM 17    A.   They do.

10:31:57AM 18    Q.   And lots of big U.S. companies transfer intangibles

10:32:00AM 19    to foreign affiliates, correct?

10:32:02AM 20    A.   They do.     But in this case it is unusual, because you

10:32:05AM 21    have the roundtrip motion, where they are transferring it

10:32:07AM 22    out of the United States and then immediately transferring

10:32:09AM 23    it back in.

10:32:10AM 24    Q.   And the transfers of intangibles to foreign

10:32:14AM 25    affiliates is so common in our economy that the IRS has an



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10:32:22AM   1   entire group devoted solely to looking at these

10:32:26AM   2   transactions, right?

10:32:27AM   3   A.   Yeah, Transfer Pricing Operations was stood up to

10:32:31AM   4   make sure that when multinationals were making these

10:32:34AM   5   transfers, the prices were arm's length.

10:32:36AM   6   Q.   Right.     The core issue is, when you make these

10:32:38AM   7   transactions, was the price arm's length, right?

10:32:41AM   8   A.   Correct.

10:32:42AM   9   Q.   And you mentioned the Transfer Pricing Operations.

10:32:47AM 10    That's the group that you are in, right?

10:32:48AM 11    A.   It is.

10:32:49AM 12    Q.   Sometimes called TPO for short, right?

10:32:52AM 13    A.   Yes.

10:32:52AM 14    Q.   Now, Mr. Weaver talked about how when intangibles are

10:33:07AM 15    transferred that the value -- the so-called arm's length

10:33:14AM 16    value can be calculated in different ways.                Were you here

10:33:18AM 17    when he talked about that?

10:33:20AM 18    A.   I know --      I don't recall exactly what he said.           I

10:33:23AM 19    know that there is an aim when we value these things to

10:33:27AM 20    use the best method that is the most reasonable, accurate

10:33:30AM 21    way of measuring arm's length price.              And there are

10:33:34AM 22    different methods.        Depending on what your facts are, one

10:33:37AM 23    method may be better than another.

10:33:39AM 24    Q.   And without getting into the details of each method,

10:33:41AM 25    there is something called the residual profit split



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10:33:44AM   1   method, right?

10:33:45AM   2   A.   Amongst others.

10:33:46AM   3   Q.   Yes, amongst others.         And one of the others is the

10:33:49AM   4   income method, right?

10:33:50AM   5   A.   That is another option.

10:33:53AM   6   Q.   And depending on which methodology you use, you could

10:33:58AM   7   come up with dramatically different values for the

10:34:04AM   8   intangibles that were transferred, right?

10:34:06AM   9   A.   Of course.      You look for the most accurate one given

10:34:10AM 10    your facts and circumstances.           And, actually, even when

10:34:12AM 11    you are inside a method -- so two people can apply, for

10:34:19AM 12    example, a residual profits split method, sometimes I

10:34:22AM 13    might call it an RPSM for short, and come up with

10:34:26AM 14    different values based on the assumptions they make.

10:34:30AM 15    Q.   Right.     So using different methodologies could come

10:34:33AM 16    up with different values, and even using the same

10:34:36AM 17    methodology, depending on what assumptions or other inputs

10:34:41AM 18    you make, you could come up with dramatically different

10:34:43AM 19    values, right?

10:34:44AM 20    A.   That's true.      But the real question is whether those

10:34:47AM 21    dramatically different values are reasonable.                And if you

10:34:49AM 22    look at all the facts and circumstances, it is possible to

10:34:52AM 23    come up with one or -- you know, some range that is

10:34:55AM 24    reasonable.     And if you use assumptions that are

10:34:57AM 25    inaccurate, or make mistakes in your math computations, as



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10:35:01AM   1   happened here, you could come up with values that don't

10:35:03AM   2   make any sense, at least not common sense.

10:35:06AM   3   Q.    And incidentally, you and your group, you are not the

10:35:11AM   4   final arbiter of whether a particular value makes sense or

10:35:16AM   5   makes common sense, are you?

10:35:18AM   6   A.    Well, we determine what the IRS's position is, that

10:35:21AM   7   is, what the IRS thinks is the right number.                And, when

10:35:24AM   8   called for, my group is the one that will say what the

10:35:28AM   9   right number is for purposes of a statutory notice of

10:35:31AM 10    deficiency, if we issue one, or, if it goes to appeals, in

10:35:34AM 11    a 30-day letter.       After that, obviously, a court can weigh

10:35:39AM 12    in at some point in time.          Or if it goes to appeals,

10:35:42AM 13    appeals has an opportunity to consider our analysis and

10:35:47AM 14    enter into a hazards of litigation settlement with

10:35:50AM 15    taxpayers, should they choose, but they are not required

10:35:53AM 16    to.

10:35:53AM 17    Q.    Well, courts don't just weigh in -- the tax court,

10:35:57AM 18    for example, they don't just weigh in after you have made

10:35:59AM 19    a determination.       What happens is, if you make your own

10:36:03AM 20    determination, and the taxpayer has a determination, and

10:36:07AM 21    you two disagree, and you are not able to resolve it

10:36:12AM 22    through negotiations, it is submitted to the tax court,

10:36:16AM 23    and the tax court is the one that decides what the proper

10:36:19AM 24    value is, right?

10:36:20AM 25    A.    Well, they look at our statutory notice of



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10:36:22AM   1   deficiency.     Normally we are entitled to --             I guess there

10:36:27AM   2   is a burden of proof.        Normally --       Unless the taxpayer

10:36:30AM   3   can show that we are arbitrary and capricious, the number

10:36:33AM   4   on the statutory deficiency is supposed to basically be

10:36:37AM   5   upheld.

10:36:38AM   6   Q.   How many cases under transfer pricing has the tax

10:36:41AM   7   court decided, where there has been a disagreement between

10:36:45AM   8   the IRS and the taxpayer on the value of the intangibles?

10:36:50AM   9   A.   I am only aware of one recent case.

10:36:53AM 10    Q.   And that would be the Veritas case that Mr. Weaver

10:36:57AM 11    referred to, right?

10:36:58AM 12    A.   Yeah.    That was one of the reasons we wanted to look

10:37:00AM 13    at this closer, so we could take into account the

10:37:02AM 14    arguments that Microsoft made in its protest, including

10:37:05AM 15    factual arguments about them saying RPSM was better.                And

10:37:10AM 16    we wanted to consider that, so that when we came to our

10:37:14AM 17    recent decision about what the right number was, we had

10:37:16AM 18    actually addressed those issues and considered them.

10:37:18AM 19    Q.   Well, in the one case that you are aware of in recent

10:37:21AM 20    years where this kind of issue has been presented to the

10:37:24AM 21    tax court, not only did the tax court disagree with the

10:37:29AM 22    IRS's determination, the tax court said that the IRS had

10:37:35AM 23    acted arbitrarily and capriciously in reaching that

10:37:38AM 24    determination, correct?

10:37:39AM 25    A.   Well, the tax court said that our analysis of the



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10:37:43AM   1   facts and circumstances was arbitrary and capricious, and

10:37:45AM   2   they criticized us for relying on one expert.                The

10:37:49AM   3   taxpayer in that case, I think, they had four or five

10:37:52AM   4   experts.    We obviously could do a better job presenting

10:37:55AM   5   complex multifaceted cases, as shown in that court's

10:37:59AM   6   criticisms.

10:38:00AM   7   Q.   I take it you would agree that, even today, when you

10:38:09AM   8   are trying to do a better job, the mere fact that the IRS

10:38:14AM   9   and Microsoft disagree about the value of the intangibles

10:38:20AM 10    that were transferred, and thus the tax liability, that

10:38:24AM 11    doesn't mean that the IRS is right and Microsoft is wrong,

10:38:27AM 12    does it?

10:38:27AM 13    A.   It depends on what you are focusing on.               I have

10:38:31AM 14    identified some things where they are saying inaccurate

10:38:33AM 15    statements in their SEC filings for growth versus what

10:38:36AM 16    they use in their valuation, four percent on their

10:38:39AM 17    valuation versus ten to twelve in their SEC reports.                We

10:38:44AM 18    have identified some errors math, which clearly seem like

10:38:47AM 19    errors on Microsoft's part.          Those are the kinds of things

10:38:50AM 20    we wanted to engage with Microsoft on, and ask them, "Do

10:38:53AM 21    you really think your numbers are right?", or, "Did you

10:38:55AM 22    make the math errors we pointed out?"              "Did you use

10:38:58AM 23    valuation assumptions that were inconsistent with your

10:39:01AM 24    public filings?"

10:39:01AM 25    Q.   Incidentally, Microsoft has pointed out math errors,



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10:39:05AM   1   and other errors that you have made, too, right?

10:39:08AM   2   A.   I am aware of one they pointed out at the

10:39:11AM   3   January 14th presentation.          I thanked them and invited

10:39:14AM   4   them to engage on that issue, as well as others.

10:39:15AM   5   Q.   In any event, my question was, at the end of the day,

10:39:22AM   6   if you have come up with a tax liability that is

10:39:26AM   7   substantially larger than what Microsoft not only believes

10:39:31AM   8   its tax liability was, but has already paid, then that

10:39:34AM   9   doesn't mean that you're right and Microsoft is wrong,

10:39:37AM 10    that is up to the tax court to decide, right?

10:39:39AM 11    A.   If it goes to tax court.          But the onus on the IRS in

10:39:44AM 12    the first instance is to say what we think the right

10:39:46AM 13    number is, and to put that right number on a statutory

10:39:48AM 14    notice of deficiency -- or on a 30-day letter first, and

10:39:51AM 15    then on a stat notice if it doesn't get agreed to at

10:39:55AM 16    appeals.    Here, we are still trying to get that right

10:39:57AM 17    number.    And we want to make sure, given the size of this

10:40:00AM 18    case, the largest I am aware of in the IRS's history, at

10:40:04AM 19    least personally, that we actually kick the tires, and put

10:40:08AM 20    the resources in, and ask the questions, and look at the

10:40:10AM 21    information we need to to make sure that when we put a

10:40:13AM 22    number on the page, it is our reasoned judgment based on

10:40:17AM 23    the facts and circumstances that were available.

10:40:19AM 24    Q.   So no matter what someone might say here at the

10:40:26AM 25    lectern about the size of the potential tax liability, you



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10:40:32AM   1   haven't even made a determination of that yet, right?

10:40:35AM   2   A.   We are still working on getting to the right number.

10:40:38AM   3   There are some issues we obviously raised and wanted to

10:40:41AM   4   engage on on the Americas.          That was the purpose of the

10:40:44AM   5   January 14th presentation, which was a preliminary

10:40:46AM   6   analysis with some open questions.             And also on the Asia

10:40:50AM   7   Pacific deal, which we never reached resolution

10:40:52AM   8   discussions with the company on, because they shut us down

10:40:55AM   9   on Americas before we could start engaging with them on

10:40:58AM 10    other issues.      Those have significant open factual

10:41:00AM 11    questions, which could materially impact what the right

10:41:03AM 12    number is, which we are still trying to get to that right

10:41:05AM 13    number.

10:41:06AM 14    Q.   Now, Mr. Weaver mentioned the Veritas case, and you

10:41:13AM 15    said it is the one that you knew of that has actually been

10:41:16AM 16    resolved by the tax court.          Are you familiar with the

10:41:19AM 17    Amazon case also?

10:41:20AM 18    A.   I am.    I thought you were referring to decisions, as

10:41:23AM 19    opposed to currently ongoing litigation.

10:41:25AM 20    Q.   I was.     This is a different matter.           The Amazon case,

10:41:29AM 21    that is also about transfer pricing, right?

10:41:32AM 22    A.   It is.

10:41:34AM 23    Q.   Where Amazon transferred intangibles to a foreign

10:41:39AM 24    affiliate, and Amazon said we think the value is X, and

10:41:44AM 25    the IRS said we think the value is some multiple of that,



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10:41:47AM   1   right?

10:41:48AM   2   A.   I believe so.       I can't discuss other taxpayers'

10:41:53AM   3   cases.    I am sort of limited to what I know from the

10:41:55AM   4   public filings.

10:41:56AM   5   Q.   We will keep it limited to what you know from the

10:41:58AM   6   public information.        What you do know is that the IRS and

10:42:04AM   7   Amazon were at loggerheads, and they are now in front of

10:42:09AM   8   the tax court, right?

10:42:10AM   9   A.   Certainly.

10:42:11AM 10    Q.   And that Amazon, just like Veritas, is saying that

10:42:17AM 11    the results that the IRS came up with are arbitrary and

10:42:22AM 12    capricious, right?

10:42:23AM 13    A.   I imagine the IRS is holding the same true for

10:42:27AM 14    Amazon's valuation, as being inaccurate and arbitrary as

10:42:29AM 15    well.    People disagree in court.

10:42:32AM 16    Q.   And it is the court that decides it, not the IRS,

10:42:35AM 17    right?

10:42:35AM 18    A.   Well, the IRS isn't a court.            Obviously in this case

10:42:42AM 19    Amazon is before the tax court.

10:42:43AM 20    Q.   Now, we heard from Mr. Weaver that, well, the reason

10:42:54AM 21    that Mr. Hoory and the Transfer Pricing Operations people

10:43:03AM 22    hired Quinn Emanuel is because they really want to make

10:43:10AM 23    sure that the audit was done correctly.              Did you hear him

10:43:16AM 24    say that?

10:43:17AM 25    A.   I don't recall him saying those words.



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10:43:19AM   1   Q.   Well, no, not those words.           But didn't you get the

10:43:24AM   2   impression from Mr. Weaver that his story is that the real

10:43:30AM   3   reason that you got Quinn Emanuel involved was because

10:43:35AM   4   there had been foul-ups in the Veritas audit, and they

10:43:39AM   5   hadn't done a good job putting all the facts together, and

10:43:44AM   6   so you wanted to hire a commercial litigator who could do

10:43:48AM   7   a good job of analyzing all these facts during the

10:43:51AM   8   examination, i.e., during the audit?

10:43:54AM   9   A.   What I heard him say, and the way I think about the

10:43:57AM 10    Quinn Emanuel contract, is that we recognize that transfer

10:44:01AM 11    pricing cases are very complex, they deal with very

10:44:04AM 12    complex facts, lots of different issues.               In this case we

10:44:07AM 13    knew that we needed multiple experts to get to what the

10:44:10AM 14    right number was, as well as lots of information.                 And we

10:44:13AM 15    thought that a commercial litigator with experience in

10:44:17AM 16    very complex cases could bring some value to the table,

10:44:20AM 17    first in providing a sounding board, a gut check for the

10:44:23AM 18    IRS, look at what we have done to date, and what the

10:44:26AM 19    taxpayer put on the table, and make observations,

10:44:30AM 20    hopefully thoughtful, helpful ones, that would ask good

10:44:33AM 21    questions.     And if we had open areas that we needed to

10:44:35AM 22    develop further, or things that didn't make sense, we

10:44:38AM 23    wanted to know that, and do the best job we could to get

10:44:41AM 24    to the right number.        That is why we hired Quinn Emanuel

10:44:44AM 25    at the examination stage, to provide that kind of legal



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10:44:47AM   1   consultation and advice, which it appeared would be

10:44:50AM   2   something that a complex commercial litigator would have.

10:44:55AM   3             THE COURT:        Mr. Beck, let's go ahead and take our

10:44:58AM   4   morning recess for our court reporter at this point in

10:45:00AM   5   time.   We will come back in 15 minutes.

11:06:18AM   6        (Break.)

11:06:18AM   7             THE COURT:        Counsel, we are back in session.

11:06:21AM   8   Mr. Beck.

11:06:24AM   9             MR. BECK:       Thank you, your Honor.

11:06:26AM 10    By Mr. Beck:

11:06:26AM 11    Q.    When we left off we were talking about what

11:06:29AM 12    Mr. Weaver had said and what you had said on the stand

11:06:31AM 13    about what Quinn Emanuel was hired for.                My notes from

11:06:37AM 14    Mr. Weaver's opening, he said that you decided to hire

11:06:42AM 15    some other types of experts in 2012 to help with the

11:06:46AM 16    examination for the audit, right?

11:06:50AM 17    A.    Yes.

11:06:52AM 18    Q.    And that later on you decided that it would also be

11:06:56AM 19    useful in the examination or audit to have the services of

11:07:02AM 20    a commercial litigator, right?

11:07:03AM 21    A.    Correct.      Initially we pursued Boies Schiller.

11:07:08AM 22    Q.    And Boies -- David Boies had some sort of a conflict,

11:07:13AM 23    so I guess your next pick was John Quinn, right?

11:07:16AM 24    A.    Yeah.     We looked for other people with similar

11:07:18AM 25    expertise, because we still saw value in that expertise,



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11:07:23AM   1   and eventually we picked Quinn Emanuel.

11:07:25AM   2   Q.   And, again, getting back to what Mr. Weaver said and

11:07:28AM   3   what you said on the stand, you both said that the reason

11:07:31AM   4   that you hired Quinn Emanuel was to reach sound

11:07:36AM   5   conclusions in the examination, in the audit, right?

11:07:40AM   6   A.   That was the initial focus, and that was the contract

11:07:44AM   7   that was actually awarded, was for examination support and

11:07:48AM   8   evaluation.

11:07:48AM   9   Q.   And as I wrote it down, Mr. Weaver said, to be clear,

11:07:53AM 10    if the examination was not resolved at the audit stage,

11:08:01AM 11    these same lawyers might be involved in later litigation?

11:08:06AM 12    A.   That's right.       That is the same as any expert.

11:08:09AM 13    Whenever we hire an expert at the examination stage, we

11:08:12AM 14    always want to make sure that they are someone that we

11:08:14AM 15    would trust, if we were not to reach resolution with the

11:08:17AM 16    taxpayer, and if the case would go forward, whether to

11:08:21AM 17    appeals or to tax court.

11:08:23AM 18    Q.   Actually, sir, wasn't it kind of the other way

11:08:26AM 19    around, where the endgame and core purpose of hiring Quinn

11:08:33AM 20    Emanuel was for them to represent you in the tax court,

11:08:39AM 21    and their involvement at the audit stage was just a way

11:08:44AM 22    for them to take some free pretrial discovery that they

11:08:48AM 23    could never get out of the tax court?

11:08:49AM 24    A.   That is incorrect.

11:08:51AM 25    Q.   Well, who is John Koskinen?           I may be pronouncing



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11:09:00AM   1   that incorrectly.

11:09:01AM   2   A.   He is the current commissioner of the IRS.

11:09:03AM   3   Q.   He is like your boss' boss' boss?

11:09:09AM   4   A.   Do you want me to count?

11:09:11AM   5   Q.   Well, he is the top man at the IRS, right?

11:09:13AM   6   A.   Yeah, he is three or four levels above.

11:09:17AM   7   Q.   The top person at the IRS, correct?

11:09:19AM   8   A.   That is my understanding.

11:09:22AM   9   Q.   Let's take a look at what he said on this subject,

11:09:27AM 10    looking at our Exhibit 54, which is an article from Tax

11:09:32AM 11    Notes.

11:09:37AM 12              MR. WEAVER:      Objection.      Foundation, your Honor.

11:09:48AM 13              THE COURT:      I don't know what question you are

11:09:50AM 14    going to ask him, Mr. Beck.

11:09:55AM 15              MR. BECK:     I am going to show him what

11:09:57AM 16    Mr. Koskinen said, and ask him whether he agrees with

11:10:01AM 17    that.

11:10:02AM 18              MR. WEAVER:      If Mr. Hoory recognizes this

11:10:04AM 19    document, that would be fine.           But that assumes that

11:10:06AM 20    Mr. Koskinen said what he said, and Mr. Hoory is familiar

11:10:10AM 21    with this document.

11:10:11AM 22              MR. BECK:     Your Honor, we are also in a hearing,

11:10:13AM 23    the purpose of which is to determine whether we should be

11:10:17AM 24    allowed to take some discovery in this case.

11:10:19AM 25              THE COURT:      Mr. Beck, I'm fine.         Counsel, while



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11:10:23AM   1   the rules of evidence obviously apply, they will be

11:10:27AM   2   relaxed to a certain extent simply because of the purposes

11:10:30AM   3   of this particular hearing.          We will allow your

11:10:34AM   4   questioning, Mr. Beck.

11:10:35AM   5             MR. BECK:     Thank you.

11:10:36AM   6   By Mr. Beck:

11:10:39AM   7   Q.   So here in this publication it indicates there in the

11:10:42AM   8   highlighted portion that Commissioner Koskinen was

11:10:48AM   9   speaking in Washington at the Annual Institute on Current

11:10:52AM 10    Issues in International Taxation.            Do you see that?

11:10:58AM 11    A.   I see the sentence.

11:10:59AM 12    Q.   Were you there by any chance?

11:11:02AM 13    A.   I was not.

11:11:03AM 14    Q.   Over here on Page 3, on outsourcing audit work --

11:11:17AM 15    Let me blow that up a little bit.            Speaking with tax

11:11:21AM 16    analysts after the session, Koskinen defended the IRS's

11:11:27AM 17    decision to outsource $2 million of work on Microsoft's

11:11:30AM 18    transfer pricing audit to the law firm Quinn Emanuel.               And

11:11:36AM 19    then down below in the highlighted portion quotes the

11:11:39AM 20    commissioner as saying, "One of the things that we have to

11:11:43AM 21    do is show up in tax court," the commissioner said.               "We

11:11:48AM 22    can't default the government's position simply because we

11:11:51AM 23    have 20 percent fewer members of the Office of Chief

11:11:54AM 24    Counsel than we used to have.           The one place we can't cut

11:11:57AM 25    resources is in tax litigation."



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11:12:00AM   1           Now, in fact, sir, wasn't the core purpose and

11:12:04AM   2   justification for spending $2 million on Quinn Emanuel was

11:12:09AM   3   that you wanted them to be your trial lawyers in tax court

11:12:13AM   4   down the road?

11:12:15AM   5   A.    Let me be very clear.        Quinn Emanuel was hired for

11:12:19AM   6   examination support and to help with the evaluation.               We

11:12:22AM   7   knew there was a possibility, just like in any case -- any

11:12:25AM   8   audit, any examination, that there would be a

11:12:28AM   9   disagreement.      And whenever there is a disagreement --              In

11:12:30AM 10    this case that seemed likely, given the past history and

11:12:33AM 11    the size and the difference of issues, notwithstanding

11:12:36AM 12    that we thought we still needed to do work to get the

11:12:38AM 13    right number, and notwithstanding that we wanted to have

11:12:40AM 14    resolution, that we might not agree with the taxpayer at

11:12:43AM 15    the end of the day, and we might not seek resolution.

11:12:45AM 16          In that case --     In every case, the IRS, the

11:12:48AM 17    examination function that I work for, we need to come up

11:12:51AM 18    with the right number and present it well.               And we need to

11:12:54AM 19    make sure that we have the right facts.              The first step is

11:12:57AM 20    always to get to that right number.

11:12:59AM 21          And once we put that right number down on paper,

11:13:01AM 22    whether it goes to appeals or tax court, we have to defend

11:13:03AM 23    it.    If it doesn't go to appeals, and it goes to tax

11:13:07AM 24    court, we have to be prepared to litigate.

11:13:09AM 25          And when we don't develop cases as well as we might



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11:13:11AM   1   otherwise have, and we put a number on the paper that

11:13:14AM   2   isn't fully supported by the facts, or we haven't fully

11:13:17AM   3   developed the facts, in those situations we are not ready

11:13:21AM   4   to defend it, whether it is in appeals or in court.                So

11:13:26AM   5   our goal is to get to the right number and be ready for

11:13:28AM   6   whatever comes.

11:13:30AM   7   Q.   In the Veritas case, the lawyers who represented the

11:13:37AM   8   IRS in tax court were lawyers from the IRS Chief Counsel's

11:13:41AM   9   office, right?

11:13:42AM 10    A.   Yes.

11:13:43AM 11    Q.   And before you hired Quinn Emanuel, had you in fact

11:13:52AM 12    discussed with colleagues in the IRS your view that the

11:13:56AM 13    lawyers from the Chief Counsel's office had not done a

11:14:00AM 14    very good job in the Veritas tax court case?

11:14:06AM 15    A.   What I discussed with colleagues was that the Veritas

11:14:10AM 16    tax court case seemed to highlight a number of areas we

11:14:13AM 17    could do better in, particularly our development of the

11:14:17AM 18    facts, us actually diving into the taxpayer's methodology

11:14:23AM 19    and testing it, to look at the activities that the

11:14:26AM 20    companies performed.         In that case they focused a lot on

11:14:30AM 21    sales and marketing activities performed by the European

11:14:34AM 22    affiliate.

11:14:35AM 23         Here, we really needed to dive into the sales and

11:14:37AM 24    marketing activities that the U.S. continued to perform.

11:14:40AM 25    We thought we could do a better job presenting it, and



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11:14:44AM   1   bringing better expertise to the table.

11:14:46AM   2        In Veritas we relied, from my understanding at

11:14:47AM   3   least -- and I only know what is in the tax court opinion,

11:14:50AM   4   since I wasn't privy to the case, the IRS relied on a

11:14:53AM   5   single economist expert.         On the other side they had an

11:14:55AM   6   economist, they had a code expert, they had a marketing

11:14:58AM   7   expert, and they had a financial expert.               We clearly could

11:15:02AM   8   do a better job bringing the right expertise to bear and

11:15:07AM   9   developing the facts and presenting them.

11:15:08AM 10         We thought that litigators who have experience with a

11:15:15AM 11    large bandwidth of cases of that variety, that complexity,

11:15:19AM 12    would be more likely, day in and day out, to have

11:15:22AM 13    encountered those kinds of issues and could bring some

11:15:24AM 14    value to the table.

11:15:25AM 15         We don't litigate a lot of transfer pricing cases.             As

11:15:29AM 16    I mentioned, Veritas is the only real fact-intensive case

11:15:34AM 17    that I am aware of having been decided in the last decade

11:15:37AM 18    or so.

11:15:38AM 19    Q.   In all that long answer of yours, that all related to

11:15:40AM 20    what happened in the tax court, right?

11:15:42AM 21    A.   Yeah.    We need to put the right number and support it

11:15:45AM 22    when we issue -- whether it is, frankly, a 30-day letter

11:15:49AM 23    or a statutory notice of deficiency.             So we need to make

11:15:52AM 24    sure we have done our job when we put a number on the

11:15:55AM 25    paper.    If we don't do that, then it is not going to stand



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11:15:57AM   1   up in any forum, whether it is appeals or tax court.

11:16:00AM   2   Q.   Please listen to my question carefully and see if you

11:16:03AM   3   can answer it.      Did you talk with colleagues at the IRS

11:16:11AM   4   before you hired Quinn Emanuel about your concern that the

11:16:17AM   5   folks from the Chief Counsel's office of the IRS had not

11:16:20AM   6   done a good enough job in the tax court?

11:16:25AM   7             MR. WEAVER:      Objection, to the extent that the

11:16:27AM   8   question calls for privileged communications with IRS

11:16:32AM   9   counsel or deliberative communications.

11:16:34AM 10              THE COURT:      Are you asking him to state whether or

11:16:38AM 11    not that was his opinion?

11:16:41AM 12              MR. BECK:     I will ask it that way.

11:16:43AM 13    By Mr. Beck:

11:16:43AM 14    Q.   It was your opinion, was it not, sir, setting aside

11:16:50AM 15    any questions about how the audit was conducted, that the

11:16:53AM 16    lawyers from the Chief Counsel's office in the IRS had not

11:16:59AM 17    done a good job in the tax court?

11:17:03AM 18    A.   If you are asking me for my opinion, my opinion,

11:17:07AM 19    looking at the outcome of Veritas, was that the opinion

11:17:11AM 20    highlighted a number of areas that the IRS as a whole

11:17:14AM 21    could do better at.        And one of the key pieces was that we

11:17:20AM 22    switched positions between our examination piece and the

11:17:23AM 23    counsel piece.      Obviously counsel had a role to play in

11:17:27AM 24    that, just like examination had a role to play in the

11:17:29AM 25    outcome of that decision.          We, the IRS as a whole, it



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11:17:33AM   1   looked like we could do a better job developing the facts.

11:17:36AM   2   If that means that counsel could have done a better job,

11:17:39AM   3   then, certainly, they could have done a better job as

11:17:41AM   4   well, just like exam could do a better job.                And that's

11:17:46AM   5   what we are trying to do.

11:17:47AM   6   Q.   Did you tell people in the IRS -- not in any

11:17:49AM   7   privileged communication, lawyer-client, did you tell your

11:17:54AM   8   colleagues that we need to bring in David Boies or John

11:17:57AM   9   Quinn, or whomever, because the guys who did the job in

11:18:02AM 10    the tax court fouled it all up and we want first-class

11:18:06AM 11    trial lawyers in the tax court?

11:18:12AM 12    A.   I don't recall ever making those statements.

11:18:14AM 13    Q.   I am not asking word for word.            Did you say that in

11:18:17AM 14    substance to anybody at the IRS, other than if you were

11:18:22AM 15    seeking legal advice?

11:18:25AM 16              MR. WEAVER:      Objection to the extent that the

11:18:29AM 17    question calls for deliberations that are pre-decisional

11:18:32AM 18    in nature.

11:18:35AM 19              MR. BECK:     Your Honor, I guess that doesn't make

11:18:37AM 20    any sense to me.       The idea about whether he told somebody

11:18:40AM 21    that we need good lawyers in the tax court because the

11:18:43AM 22    other guys fouled it up, it is inconceivable to me how

11:18:49AM 23    that could be pre-deliberative as to any decision.

11:18:52AM 24              THE COURT:      The objection will be overruled.

11:18:54AM 25    Mr. Hoory, can you answer the question?              Did you ever make



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11:18:56AM   1   that kind of statement?

11:18:57AM   2             THE WITNESS:      I don't believe so.         The kind of

11:18:59AM   3   statements that I recall making are consistent with what I

11:19:01AM   4   just explained, that we thought that people with more

11:19:05AM   5   expertise, more volume of cases, who worked with these

11:19:09AM   6   multifaceted, very complex issues, whether it was

11:19:13AM   7   intellectual property or antitrust, they could bring value

11:19:16AM   8   to the table.      That was the premise.         That was the value

11:19:18AM   9   we saw in bringing a Boies Schiller or a Quinn Emanuel to

11:19:23AM 10    give us their legal advice and consultation, to bring that

11:19:26AM 11    expertise.     Because at the IRS we simply don't deal with

11:19:30AM 12    that volume, we don't litigate that many cases.

11:19:32AM 13    Mr. Beck:

11:19:32AM 14    Q.   And give me the names of the people that you say you

11:19:35AM 15    said that to in case we get discovery and we can inquire

11:19:39AM 16    as to what they recollect you saying.              Who did you have

11:19:44AM 17    these conversations with?

11:19:46AM 18    A.   So obviously we discussed the premise with

11:19:50AM 19    Mr. Maruca.     He is my boss.       We had some discussions, I

11:19:58AM 20    would say, at some point, with Mr. Maruca's boss,

11:20:09AM 21    Mr. Danilack.      At some point we eventually discussed it

11:20:13AM 22    with Ms. Maloy.      On the counsel side, we discussed it

11:20:21AM 23    with, you know, various persons, in counsel as well.

11:20:27AM 24    Q.   Moving on to another subject here.              You understand

11:20:34AM 25    that one of the big questions in whether your summonses



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11:20:43AM   1   should be enforced is whether private attorneys at Quinn

11:20:50AM   2   Emanuel can put people under oath and take testimony from

11:20:52AM   3   them, right?

11:20:53AM   4   A.   I understand it to be that whether contractors that

11:20:57AM   5   we hire, whether it is Quinn Emanuel or our substantive

11:21:01AM   6   experts, who were also in attendance at these interviews,

11:21:04AM   7   could ask questions at summons interviews that the IRS has

11:21:08AM   8   requested of taxpayers, or third parties.

11:21:10AM   9   Q.   Well, there are interviews and then there are

11:21:16AM 10    interviews where people are put under oath and give sworn

11:21:19AM 11    testimony.     You understand those are two different

11:21:22AM 12    animals, right?

11:21:22AM 13    A.   Well, there is Q&A and formal Q&A that is not under

11:21:27AM 14    oath, and then there is question and answer that is under

11:21:30AM 15    oath.   The only reason I was distinguishing what you said

11:21:32AM 16    from my understanding was because you suggested, or at

11:21:34AM 17    least I understood you to suggest, that Quinn Emanuel was

11:21:37AM 18    placing these people under oath.            And that is not what

11:21:39AM 19    happens.

11:21:39AM 20    Q.   It is not who places them under oath.               I am trying to

11:21:44AM 21    focus on who is going to be asking the questions.                 And

11:21:48AM 22    what you have told Microsoft in no uncertain terms is that

11:21:52AM 23    if these summonses are enforced, Quinn Emanuel can fully

11:21:58AM 24    participate and take the lead, being the people asking the

11:22:04AM 25    questions and taking the testimony, right?



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11:22:06AM   1   A.   What I told them was that all of our experts would be

11:22:12AM   2   free, if we asked them to, to attend the interviews and

11:22:15AM   3   fully participate by asking questions.              That includes our

11:22:19AM   4   industry experts as well.

11:22:20AM   5   Q.   I am just asking about Quinn Emanuel.               Didn't you

11:22:22AM   6   tell them that if these summonses are enforced, Quinn

11:22:26AM   7   Emanuel is going to be, from your point of view, able to

11:22:30AM   8   attend all of these depositions or sworn interviews and be

11:22:36AM   9   the ones who ask the questions and get the answers?

11:22:39AM 10    A.   Amongst other people, yes.           I said that they would

11:22:44AM 11    attend if I asked them to, and that they may fully

11:22:47AM 12    participate, just like it says in the regulation.

11:22:49AM 13    Q.   You said, "like it says in the regulation."                  Your

11:22:52AM 14    legal basis, justification for saying that Quinn Emanuel

11:22:59AM 15    ought to be able to do that is this temporary regulation

11:23:01AM 16    you referred to, right?

11:23:03AM 17              MR. WEAVER:      Objection.      Calls for legal analysis.

11:23:05AM 18    This is a fact witness, your Honor.

11:23:07AM 19              THE COURT:      The objection as to the form will be

11:23:10AM 20    sustained.

11:23:13AM 21    By Mr. Beck:

11:23:13AM 22    Q.   When you say as the regulation says, what are you

11:23:16AM 23    talking about in your answer to me?             When you volunteered

11:23:22AM 24    that this was all as provided for in the regulation, what

11:23:25AM 25    are you talking about?



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11:23:26AM   1   A.   It is the same regulation that is referred to in

11:23:29AM   2   correspondence between myself and Mr. Bernard or

11:23:33AM   3   Mr. O'Brien.     I think, if I have it right, it is

11:23:41AM   4   301.7602-1, subparagraph something or other.

11:23:45AM   5   Q.   In fact, you, when writing to Microsoft --                   And they

11:23:53AM   6   had objected to Quinn Emanuel participating in any kind of

11:23:57AM   7   asking questions on sworn testimony, right?

11:24:00AM   8   A.   At some point they did, yes.

11:24:02AM   9   Q.   And what you did is, you wrote back and you said, "As

11:24:07AM 10    you no doubt are aware, this is authorized under the

11:24:11AM 11    temporary regulation," right?

11:24:12AM 12    A.   I wanted to make sure they were aware of it, yes.

11:24:14AM 13    Q.   Your position, as you communicated to Microsoft, was

11:24:17AM 14    that the authority for Quinn Emanuel to ask questions and

11:24:24AM 15    take testimony was this temporary regulation, right?

11:24:27AM 16              MR. WEAVER:      Objection, your Honor.          Again, the

11:24:29AM 17    framing of the question calls for legal authority.                   It is

11:24:32AM 18    not a fact question.

11:24:35AM 19              MR. BECK:     I asked what he communicated to

11:24:37AM 20    Microsoft.

11:24:37AM 21              THE COURT:      The objection will be overruled.             Is

11:24:40AM 22    that what you told Microsoft?

11:24:42AM 23              THE WITNESS:      I think my letter clearly refers to

11:24:44AM 24    the regulation.       And it says -- assumes that they are

11:24:48AM 25    aware of it, because they are a very sophisticated



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11:24:50AM   1   taxpayer, and they are advised by sophisticated tax

11:24:53AM   2   counsel.      If they didn't, it obviously made them aware of

11:24:57AM   3   it.   I don't know if they were or were not aware of it at

11:24:59AM   4   that point.

11:24:59AM   5   Mr. Beck:

11:25:00AM   6   Q.    I didn't ask whether they were aware or not aware of

11:25:02AM   7   it.   What I asked is, when Microsoft objected to Quinn

11:25:08AM   8   Emanuel taking sworn testimony, what you said to Microsoft

11:25:12AM   9   is that the authority for Quinn Emanuel to do that is in

11:25:18AM 10    the temporary regulation; isn't that true?

11:25:21AM 11    A.    I don't remember my exact phrasing.             I certainly said

11:25:23AM 12    that the reg permits our experts to attend and fully

11:25:28AM 13    participate.

11:25:28AM 14    Q.    Well, we will come back to your exact phrasing a

11:25:32AM 15    little later.      Let's take a look at the regulation here.

11:25:57AM 16    Just the title of it says, "Participation of a person

11:26:00AM 17    described in Section 6103(n) in a summons interview under

11:26:06AM 18    Section 7602(a)(2) of the Internal Revenue Code."                 Do you

11:26:12AM 19    see that?

11:26:12AM 20    A.    I do.

11:26:13AM 21    Q.    You are familiar with both of these provisions,

11:26:16AM 22    right?

11:26:16AM 23    A.    I can't quote them to you, but basically.

11:26:17AM 24    Q.    But you are familiar with them, aren't you?

11:26:20AM 25    A.    I said "basically."



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11:26:21AM   1   Q.   Incidentally, you are a lawyer, right?

11:26:24AM   2   A.   I am an attorney, but I don't work as an attorney in

11:26:28AM   3   my current capacity.

11:26:30AM   4   Q.   You are in fact trained as a tax lawyer, right?

11:26:33AM   5   A.   I have experience as a tax attorney.

11:26:36AM   6   Q.   Years and years of experience as a tax attorney,

11:26:38AM   7   right?

11:26:39AM   8   A.   Probably about ten --          Well, I practiced for six

11:26:44AM   9   years or so.

11:26:45AM 10    Q.   At one of the leading firms in the country, right?

11:26:48AM 11    A.   Thank you.

11:26:52AM 12    Q.   Covington & Burling, right?

11:26:54AM 13    A.   Yes.

11:26:55AM 14    Q.   As a tax attorney all that time, right?

11:26:57AM 15    A.   Yes.

11:26:58AM 16    Q.   Now, do you understand that Section 7602 is about who

11:27:04AM 17    can take testimony in a summons interview?

11:27:18AM 18              MR. WEAVER:       Your Honor, let me just object.            To

11:27:20AM 19    the extent that Mr. Hoory is going to be used as a witness

11:27:23AM 20    to interpret the reg, I believe that is improper.                  If it

11:27:29AM 21    is his understanding as it relates to the Microsoft audit,

11:27:32AM 22    fine.    I don't know that it is relevant.              I am worried

11:27:35AM 23    that Mr. Hoory is being set up here, because of his legal

11:27:39AM 24    experience, to somehow now start opining on behalf of the

11:27:42AM 25    IRS about this reg.         That is not appropriate.



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11:27:44AM   1             THE COURT:      Thank you.      Mr. Beck, I don't believe

11:27:52AM   2   that is where you are going, right?             We are trying to get

11:27:55AM   3   to the factual answers here, correct?

11:27:58AM   4             MR. BECK:     Yes.     But I think, your Honor, part of

11:28:01AM   5   the question concerning whether there was a proper purpose

11:28:04AM   6   and whether this was abusive requires a basic

11:28:08AM   7   understanding of the statutory scheme, which this

11:28:12AM   8   gentleman clearly had.         And he participated, in fact, in

11:28:16AM   9   reviewing regulations that purported to be based on these

11:28:25AM 10    statutory provisions.          So as a factual matter, he had to

11:28:29AM 11    have some kind of understanding of the statute in order to

11:28:34AM 12    participate in the deliberations concerning the

11:28:36AM 13    regulations.

11:28:36AM 14              THE COURT:      His understanding of the statute is

11:28:38AM 15    not at issue.      It will be up to the court to make that

11:28:42AM 16    determination.      His understanding of the statute as to how

11:28:44AM 17    it affects what he may have done factually is relevant

11:28:49AM 18    here.    If that's the way you want to go, then fine.

11:28:53AM 19    Otherwise, Mr. Weaver's objection is correct.

11:28:56AM 20              MR. BECK:     Well, I actually wanted to kind of

11:29:00AM 21    debate him about the meaning of the statute.

11:29:03AM 22              THE COURT:      I don't see why you want to waste the

11:29:05AM 23    time.    It will be up to me to decide what that statute

11:29:08AM 24    means.

11:29:13AM 25    By Mr. Beck:



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11:29:14AM   1   Q.   Let me ask you, 7602 --          And this really is directed

11:29:19AM   2   towards factual testimony.          You heard Mr. Weaver's

11:29:24AM   3   explanation of -- his interpretation of 7602, correct?

11:29:28AM   4   A.   During his opening, yes.

11:29:30AM   5   Q.   Now, for years, the industry experts, like

11:29:38AM   6   economists, and engineers, and accountants had

11:29:42AM   7   participated in summons interviews, right?

11:29:47AM   8   A.   That's my understanding.

11:29:50AM   9   Q.   But is it also your understanding as a factual matter

11:29:55AM 10    that these summons interviews where experts participated

11:30:04AM 11    in were never -- almost never under oath?

11:30:12AM 12    A.   I can only speak to my tenure at the IRS.                What I can

11:30:18AM 13    tell you is that when we stood up TPO and looked at what

11:30:24AM 14    we could do better, one of the things we noticed was that

11:30:27AM 15    we had difficulty referring to interviews because some

11:30:30AM 16    were under oath and some were not.             And particularly on

11:30:34AM 17    the ones that were not, you know, similar to the point

11:30:37AM 18    that Microsoft made in its protest, you know, basically it

11:30:41AM 19    is tough to rely on someone's handwritten notes, what is

11:30:47AM 20    in there, what is not.         Somebody who is not part of the

11:30:49AM 21    examination and not actually at the interview can't really

11:30:52AM 22    evaluate those notes.        If we are trying to develop it and

11:30:55AM 23    give it to another expert that we bring on board later, we

11:30:57AM 24    really need a transcript, if we think we are going to rely

11:31:01AM 25    on that.



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11:31:01AM   1        Similarly, if we send the case to appeals, the appeals

11:31:05AM   2   officer really needs a transcript to see what was said.

11:31:08AM   3   So one of the goals we had was, notwithstanding that in

11:31:11AM   4   the past at the examination stage we had not done

11:31:15AM   5   transcripts that often --          In other words, it wasn't that

11:31:17AM   6   it never happened, it just didn't happen that often.                      One

11:31:20AM   7   of the pushes was, if you get to the stage that you need

11:31:22AM   8   to talk to people, like after you have just done the

11:31:24AM   9   preliminary back and forth to try to ask intelligent

11:31:28AM 10    questions, if you still have material issues in dispute,

11:31:31AM 11    one of the pushes we started to make was to have them

11:31:34AM 12    under oath on a transcript so there would be a record.

11:31:37AM 13    Q.   Well, you didn't really start to make that push until

11:31:41AM 14    you hired Quinn Emanuel in the Microsoft audit, right?

11:31:45AM 15    A.   That's incorrect.        We made that push in other cases.

11:31:49AM 16    In Microsoft we were trying to use resources efficiently

11:31:54AM 17    and to respect not just our use of our own resources, but

11:31:58AM 18    the company's requests of us, and the fact that the audit

11:32:04AM 19    had gone on for a while, and that we were trying to

11:32:07AM 20    resolve and narrow issues.          Mr. Bernard was actually the

11:32:11AM 21    one who asked me to only use informal interviews very

11:32:17AM 22    early on us reopening the case, withdrawing the 30-day

11:32:18AM 23    letter.    He is the one who said, "Hey, this has worked out

11:32:21AM 24    well for Microsoft in the past, you know, you guys seemed

11:32:23AM 25    to get what you wanted, how about we do this?"                    And I



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11:32:24AM   1   agreed, subject to the caveat, which is reflected in our

11:32:27AM   2   updated timelines after that occurred, that we reserve the

11:32:31AM   3   right to do formal interviews -- formal under oath

11:32:34AM   4   interviews.

11:32:35AM   5        Once resolution talks broke down and we had not

11:32:38AM   6   narrowed issues, then we knew exactly what was open, what

11:32:41AM   7   issues we thought we had to develop.             And at that point in

11:32:44AM   8   time we thought, "Is it worth investing the energy now on

11:32:49AM   9   our part and on Microsoft's?"           And the answer was clearly

11:32:52AM 10    yes.    This is a huge issue.        We needed to know what their

11:32:54AM 11    businesspeople thought of their various competitive

11:32:58AM 12    advantages, the things that are at issue in the valuation.

11:33:00AM 13         And we had not yet talked to the KPMG people on the

11:33:05AM 14    record, or the internal tax folks on the record, and we

11:33:08AM 15    asked to at the appropriate time, which is when Microsoft

11:33:11AM 16    told us that they did not want to narrow any issues, and

11:33:15AM 17    that we basically had to develop every open issue.                And

11:33:19AM 18    the way to do that with witnesses is to get them on the

11:33:21AM 19    record.

11:33:23AM 20    Q.     Well, focusing on Microsoft, this audit that began in

11:33:29AM 21    2007.     From 2007, 2008, 2009, 2010, 2011, 2012, 2013, all

11:33:42AM 22    the way up until Quinn Emanuel got on the scene, had you

11:33:50AM 23    ever had a single one of the interviews where people were

11:33:55AM 24    put under oath and a court reporter transcribed the

11:34:00AM 25    questions and answers?



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11:34:00AM   1   A.   Yes, we did.      I think we had two to three interviews

11:34:04AM   2   under oath in the aQuantive acquisition that we were

11:34:09AM   3   auditing for Microsoft.         Those occurred prior to the

11:34:12AM   4   September and October interviews that took place in this

11:34:14AM   5   case.

11:34:14AM   6   Q.   I am talking now about the transfer pricing audit

11:34:17AM   7   that you were doing.        Is that what you are talking about?

11:34:20AM   8   A.   That was a transfer pricing issue.              It was in the

11:34:24AM   9   07/09 cycle.     That interview occurred on a transfer

11:34:28AM 10    pricing issue, under oath, with several Microsoft current

11:34:31AM 11    or former employees.

11:34:32AM 12    Q.   So now you are talking about a different audit for

11:34:34AM 13    different tax years, right?

11:34:34AM 14    A.   Well, it is related to this one in part, because --

11:34:36AM 15    Q.   Are you talking about a different audit for different

11:34:38AM 16    tax years?

11:34:39AM 17              MR. WEAVER:      Objection, your Honor.

11:34:40AM 18              MR. BECK:     Your Honor, we are never going to get

11:34:42AM 19    done today if I get ten minute answers for yes or no

11:34:45AM 20    questions.

11:34:48AM 21              THE COURT:      Mr. Hoory, I need you to do your best

11:34:50AM 22    to answer his questions in a much shorter fashion.

11:34:54AM 23              THE WITNESS:      I will do my best, your Honor.

11:34:57AM 24              THE COURT:      Ask him another question, counsel.

11:35:01AM 25    By Mr. Beck:



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11:35:01AM   1   Q.   Were you just talking about a different audit for

11:35:03AM   2   different tax years?

11:35:04AM   3   A.   I was talking about the 07/09 audit.              It has

11:35:07AM   4   overlapping transfer pricing issues with the 04/06 audit.

11:35:11AM   5   Q.   Different audit, different tax years, right?

11:35:13AM   6   A.   Related audit, different tax years.

11:35:15AM   7   Q.   Now, in the audit that we have been talking about, in

11:35:20AM   8   all these years, '07, '08, '09, '10, '11, '12, '13, and

11:35:28AM   9   the audit that is the subject of this litigation, before

11:35:31AM 10    Quinn Emanuel got involved, had you ever conducted an

11:35:36AM 11    interview where somebody was put under oath and a

11:35:39AM 12    transcript was made of the questions and answers?

11:35:41AM 13    A.   I am not aware of an interview under oath in the

11:35:45AM 14    04/06 cycle prior to the ones in September and October.

11:35:53AM 15    Q.   I think you said that things changed and you decided

11:36:01AM 16    that you wanted people under oath, and I wrote down your

11:36:05AM 17    words, and I am quoting here, "once resolution talks broke

11:36:09AM 18    down."    As I understand it, sir, once it became clear that

11:36:17AM 19    you weren't going to be able to resolve this by agreement,

11:36:22AM 20    and that you were headed to the tax court, that's when you

11:36:27AM 21    and Quinn Emanuel decided that interviews ought to be

11:36:33AM 22    under oath and transcribed, right?

11:36:35AM 23    A.   That's incorrect.        Quinn Emanuel did not make the

11:36:39AM 24    decision, the IRS did.

11:36:40AM 25    Q.   So we will take --        Well, did you talk to Quinn



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11:36:47AM   1   Emanuel about it?

11:36:47AM   2   A.   Not about the decision to seek interviews at that

11:36:49AM   3   time.   So I communicated, I believe in February --

11:36:52AM   4   Q.   I am talking about the decision that the interviews

11:36:56AM   5   that took place --        The first time you had people under

11:36:59AM   6   oath and transcribed it was in the fall of 2014, right?

11:37:03AM   7   A.   Yes.     But the decision to seek under oath interviews

11:37:06AM   8   was made long before that.

11:37:08AM   9   Q.   And are you saying that before those interviews took

11:37:13AM 10    place, you never had any conversations with Quinn Emanuel

11:37:16AM 11    about whether people ought to be put under oath and the

11:37:22AM 12    questions and answers ought to be transcribed?

11:37:24AM 13    A.   I don't recall ever discussing whether or not they

11:37:27AM 14    should be transcribed.          What I recall, and you can see

11:37:32AM 15    references in the contract, that we anticipated, long

11:37:35AM 16    before Quinn Emanuel did any substantive work, that we may

11:37:39AM 17    want to do interviews, and that if we did, we may want

11:37:43AM 18    them to be present, just like we would with any expert

11:37:45AM 19    that we hire.

11:37:46AM 20    Q.   In any event, whoever made the decision, and whoever

11:37:49AM 21    you consulted with, your testimony was that you decided

11:37:53AM 22    you wanted under oath transcripts once resolution talks

11:37:59AM 23    broke down, right?

11:38:00AM 24    A.   We identified the need prior to that, but we wanted

11:38:04AM 25    to make sure we only ask for interviews in areas that



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11:38:07AM   1   continue to remain open.         Resolution could have narrowed

11:38:10AM   2   the areas, and it could have limited the topics that we

11:38:13AM   3   needed to interview people on.           Once resolution talks

11:38:16AM   4   broke down entirely --         Which the first time that

11:38:20AM   5   Microsoft told us unequivocally that they didn't want to

11:38:23AM   6   talk to us anymore was in July.            Up until that time there

11:38:26AM   7   were still some topics that were on the table that could

11:38:29AM   8   have been resolved.        Once that happened, we had to do a,

11:38:32AM   9   "Look, what are all the open questions?              What are open

11:38:34AM 10    topics?    Who do we need to talk to to get to the right

11:38:38AM 11    number?"

11:38:38AM 12    Q.   So it was after the resolution talks irrevocably

11:38:44AM 13    broke down, which you say was July, that's when you made

11:38:47AM 14    the decision "Now we need to make these under oath and

11:38:54AM 15    transcribed"?

11:38:55AM 16               MR. WEAVER:     Objection.      Mischaracterizes --

11:38:56AM 17               THE COURT:     I think he answered that.           The

11:38:58AM 18    objection will be sustained.

11:38:59AM 19               MR. BECK:     Well, we apparently heard it

11:39:01AM 20    differently, because I thought the answer was yes, and he

11:39:03AM 21    said I mischaracterized it.

11:39:07AM 22               THE COURT:     What he answered, according to our

11:39:10AM 23    transcript, was that the decision had been made earlier.

11:39:15AM 24    Once resolution talks broke down, that narrowed the areas

11:39:21AM 25    in terms of what they needed to actually focus on, but the



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11:39:25AM   1   decision to do interviews, and do those under oath, had

11:39:27AM   2   been made earlier.       That's what I understood Mr. Hoory to

11:39:31AM   3   have said.

11:39:32AM   4   Mr. Beck:

11:39:33AM   5   Q.   Is that your sworn testimony, that before --

11:39:34AM   6   A.   Let me clarify clearly, because I think it is a

11:39:37AM   7   little in between the two.          The decision that if we had

11:39:39AM   8   unresolved issues, that we would have to pursue

11:39:41AM   9   interviews, and ask which ones to interview and that they

11:39:44AM 10    would be under oath, that was something that was on the

11:39:46AM 11    table that we discussed with the company long before we

11:39:49AM 12    actually asked for the interviewees.             And that was long

11:39:52AM 13    before July, when they said, "We are not interested in

11:39:55AM 14    talking with you on any subjects whatsoever."

11:39:57AM 15         So when I say there was a decision to pursue under

11:39:59AM 16    oath interviews on any topics that were material, and that

11:40:08AM 17    we were not resolved, that concept, that goal existed and

11:40:13AM 18    was shared with the company.           Certainly I told Mr. Bernard

11:40:16AM 19    the possibility way back in 2012.            But certainly in

11:40:20AM 20    February, when Mr. Sample initially said he didn't want to

11:40:23AM 21    engage in all issues, and then certainly throughout the

11:40:25AM 22    spring when we were still trying to figure out what we

11:40:28AM 23    could still talk about.

11:40:29AM 24         Once they said, "We don't want to talk about

11:40:31AM 25    anything," that's when it made sense for us to shift gears



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11:40:35AM   1   from trying to resolve one or more open topics and say,

11:40:38AM   2   "Okay, well, we have this whole bucket of topics that we

11:40:41AM   3   identified in January.         You don't want to talk about any

11:40:43AM   4   of them, so now we have to go out and do interviews."             And

11:40:46AM   5   just like we told the company consistently through the

11:40:49AM   6   spring on all those unresolved items, we anticipated

11:40:52AM   7   that if we identified people that could speak to them,

11:40:54AM   8   that they would be under oath.

11:40:56AM   9   Q.   And one of your goals in putting people under oath

11:41:00AM 10    and having the testimony transcribed in the fall of 2014,

11:41:06AM 11    after the resolution talks had broken down, was to create

11:41:10AM 12    a record that Quinn Emanuel could use in the tax court,

11:41:13AM 13    right?

11:41:14AM 14    A.   Our goal was to create a record that would reliably

11:41:19AM 15    document the facts upon which we based the decision we

11:41:21AM 16    were still working on to get to the right number.

11:41:24AM 17    Obviously that record would help if the case went to tax

11:41:28AM 18    court.

11:41:29AM 19    Q.   Now, are you aware, just as a factual matter, whether

11:41:35AM 20    the tax court routinely allows pretrial discovery?

11:41:42AM 21    A.   I am not.

11:41:45AM 22    Q.   You don't know one way or another whether it is hard

11:41:48AM 23    to get discovery in the tax court?

11:41:51AM 24    A.   I don't have any --

11:41:53AM 25              MR. WEAVER:      Asked and answered.



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11:41:54AM   1              THE COURT:     I think he answered it, counsel.

11:41:56AM   2   Mr. Beck:

11:41:57AM   3   Q.   Are you familiar with the tax court rules?

11:41:59AM   4   A.   I have never litigated in tax court, no.

11:42:02AM   5   Q.   Have you ever talked with anybody at the IRS about

11:42:06AM   6   how difficult it is to get discovery in the tax court?

11:42:13AM   7   A.   To the extent I have talked about tax court

11:42:17AM   8   procedure, it has been seeking legal advice from IRS

11:42:22AM   9   counsel.

11:42:22AM 10    Q.   I want to talk about the temporary regulation, which

11:42:55AM 11    I think you agreed you told Microsoft was the authority

11:42:57AM 12    for Quinn Emanuel and others to take testimony -- sworn

11:43:06AM 13    testimony in these interviews.           Because it was a temporary

11:43:16AM 14    regulation rather than a final regulation, were you able

11:43:22AM 15    to pass this or adopt it without the kind of notice and

11:43:27AM 16    comment period that normally would be required?

11:43:30AM 17               MR. WEAVER:     Objection, your Honor.          This gets

11:43:31AM 18    into regulatory procedure.          Mr. Hoory is not here as any

11:43:37AM 19    sort of regulatory expert.          The question isn't directed to

11:43:41AM 20    his experience in the Microsoft audit.

11:43:44AM 21               MR. BECK:     Your Honor, we are the ones who asked

11:43:46AM 22    him to come here.        They didn't decide what the scope of

11:43:48AM 23    his testimony would be.         He was involved in decisions

11:43:54AM 24    concerning the adoption of this temporary regulation, and

11:44:00AM 25    whether that was abusive or legitimate is one of the



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11:44:05AM   1   issues in the case.        I am asking him factual questions.

11:44:08AM   2             THE COURT:      You are not asking him as an expert,

11:44:11AM   3   you're asking him --

11:44:11AM   4             MR. BECK:     Yeah, I am asking him factual

11:44:13AM   5   questions.

11:44:13AM   6             THE COURT:      The objection will be overruled.        Why

11:44:15AM   7   don't you rephrase the question for Mr. Hoory?

11:44:17AM   8             MR. BECK:     Sure.

11:44:18AM   9   By Mr. Beck:

11:44:19AM 10    Q.   What you understood in your role there at the

11:44:26AM 11    transfer pricing organization is that one effect of

11:44:34AM 12    adopting a temporary regulation instead of a final

11:44:38AM 13    regulation is that you didn't have to give notice to the

11:44:43AM 14    public and give people an opportunity to comment before it

11:44:47AM 15    went into effect, right?

11:44:49AM 16    A.   Let me be clear.        I didn't -- I certainly don't

11:44:53AM 17    recall having any conversations about what kind of

11:44:56AM 18    regulation was going to be issued.             To the extent I had

11:45:01AM 19    involvement with the reg, it was an opportunity to provide

11:45:06AM 20    comments on the substantive wording, not the procedural

11:45:10AM 21    pieces.

11:45:10AM 22    Q.   You didn't know that it was going to be a temporary

11:45:13AM 23    regulation?

11:45:14AM 24    A.   I don't recall focusing on that particular issue.               It

11:45:17AM 25    is possible that I may have noticed that it had a T next



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11:45:20AM   1   to it at some point in time.           But that was not an issue

11:45:23AM   2   that I focused on personally.

11:45:24AM   3   Q.   Well, if it didn't have a T next to it, you wouldn't

11:45:28AM   4   have been able to rely on it when you wrote Microsoft and

11:45:31AM   5   said, "Here is the justification for Quinn Emanuel to be

11:45:36AM   6   participating in these sworn depositions," right?

11:45:40AM   7   A.   I honestly don't know.          I am not an expert.          And I

11:45:44AM   8   don't specialize in the process of promulgating

11:45:48AM   9   regulations.

11:45:49AM 10    Q.   You don't know the difference between a temporary and

11:45:52AM 11    a final regulation?

11:45:53AM 12    A.   One of the differences I do know, as an example, is I

11:45:56AM 13    think temporary regs expire in two years.               But I don't

11:46:01AM 14    know exactly what the differences are between a --                  I know

11:46:06AM 15    a regulation is permanent and a temporary regulation is

11:46:10AM 16    temporary.     I know there are different procedures.               I

11:46:13AM 17    don't know what they are.          I haven't had a reason in my

11:46:15AM 18    practice to research the difference between the two.                    I

11:46:17AM 19    don't know.

11:46:17AM 20    Q.   And your sworn testimony is you don't know that when

11:46:22AM 21    there is a temporary regulation that is adopted, the IRS

11:46:29AM 22    doesn't have to follow the normal notice and comment

11:46:32AM 23    procedures?     That's your sworn testimony?

11:46:36AM 24              MR. WEAVER:      Asked and answered, your Honor.

11:46:37AM 25              THE COURT:      The objection will be sustained.              Next



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11:46:40AM   1   question, Mr. Beck.

11:46:42AM   2   By Mr. Beck:

11:46:43AM   3   Q.   If we get discovery and we can talk to people at the

11:46:46AM   4   IRS, is there anybody, other than getting legal advice,

11:46:50AM   5   that you have ever talked to about this temporary

11:46:57AM   6   regulation?

11:46:57AM   7   A.   I think there is one of the exhibits that I am

11:47:03AM   8   familiar with that you will see I provided some comments

11:47:05AM   9   on a green sheet circulation.            Certainly therein you will

11:47:08AM 10    see the persons to whom I sent those comments.                     If I

11:47:14AM 11    recall correctly, there was Howard Berger and Tom Ralph.

11:47:19AM 12    They are colleagues of mine in the transfer pricing

11:47:23AM 13    practice or in the TPO.          One is in TPO, one is in transfer

11:47:26AM 14    pricing practice, or TPP.           They are the persons, it is my

11:47:31AM 15    understanding that -- their case is that the reg project

11:47:35AM 16    originated from, at least of the need for it originated

11:47:37AM 17    from.   I think on that email chain was Sam Maruca, my

11:47:43AM 18    boss, who was obviously interested in the use of experts.

11:47:43AM 19    And Tom Vidano is the other person I recall.

11:47:47AM 20    Q.   And those are names on an email chain.                My question

11:47:50AM 21    is, did you talk to them orally or anybody else at the IRS

11:47:56AM 22    orally about this temporary regulation?

11:47:59AM 23    A.   Yes.

11:48:00AM 24    Q.   Who?

11:48:00AM 25    A.   Those same people.



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11:48:03AM   1   Q.   You talked to them, had conversations with them about

11:48:06AM   2   the temporary regulation?

11:48:08AM   3   A.   I remember having conversations with them after the

11:48:12AM   4   reg was issued.      Because --      When the green sheet got

11:48:16AM   5   circulated, I don't recall actually discussing it with

11:48:18AM   6   them.   I recall sending and exchanging email

11:48:22AM   7   communications.

11:48:22AM   8   Q.   When did you first become aware that this temporary

11:48:25AM   9   regulation was in the works?

11:48:27AM 10    A.   I did not learn that the temporary project had

11:48:34AM 11    started or that a reg project had started, because I

11:48:38AM 12    didn't know what variety it was at the time.                So I didn't

11:48:40AM 13    learn about the reg project, to the best of my

11:48:43AM 14    recollection, until sometime in the spring of 2014.                I had

11:48:47AM 15    previously, in 2013, learned about the issue -- just the

11:48:52AM 16    issue about whether experts could participate or not in

11:48:57AM 17    summons interviews, because Mr. Ralph and Mr. Berger had

11:49:01AM 18    brought it to my attention when it arose in their case.

11:49:04AM 19    But at that point in time, to the best of my knowledge,

11:49:06AM 20    there was no reg project.

11:49:08AM 21         I learned about the issue that the reg was addressing

11:49:11AM 22    and clarifying in 2013.         I don't recall learning about --

11:49:16AM 23    that a reg project had started until sometime in 2014.

11:49:19AM 24    Q.   Tell me what they told you in 2013 about how this

11:49:22AM 25    issue had arisen.       What did they tell you?



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11:49:26AM   1   A.   So Tom Ralph, he was the central manager for the

11:49:31AM   2   transfer pricing practice.          He has a large, I guess -- not

11:49:36AM   3   docket, but number of cases that he supports in transfer

11:49:40AM   4   pricing.    Howard Berger.       He was a colleague of mine in

11:49:44AM   5   the transfer pricing operation.            Just like I do, he

11:49:48AM   6   supported local teams.         In this case he was supporting

11:49:50AM   7   Mr. Ralph's.     There, my understanding is, from

11:49:52AM   8   conversations with them, that they had an outside expert.

11:49:57AM   9   I don't know the exact variety, but my impression was that

11:50:02AM 10    it was an economist.        And whatever variety of expert it

11:50:06AM 11    was, they had wanted to schedule some interviews with the

11:50:10AM 12    taxpayer, to speak to taxpayer employees, just like we are

11:50:15AM 13    trying to do in the Microsoft case a couple of years

11:50:18AM 14    later.

11:50:20AM 15         When they said that their expert would be there, the

11:50:24AM 16    taxpayer objected.       At that point in time Mr. Ralph and

11:50:28AM 17    Mr. Berger reached out to their colleagues in transfer

11:50:31AM 18    pricing, so I can remember them reaching out to myself,

11:50:35AM 19    Mr. Maruca, and said, "Hey, we have never seen this.                  Have

11:50:39AM 20    you seen this?"      In our collective experience -- not so

11:50:42AM 21    much me, but if you add my colleagues' experience

11:50:45AM 22    together, that is multiple decades.             Between the four of

11:50:48AM 23    us we probably have about 80 years.             We were all

11:50:50AM 24    flabbergasted and surprised.           We thought that is a

11:50:53AM 25    creative argument, but one no one ever expected.                  At least



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11:50:56AM   1   from our perspectives, we had always assumed that the IRS,

11:51:00AM   2   when it hired experts, that they could ask questions; and

11:51:02AM   3   if those questions are in the format of a summons

11:51:06AM   4   interview, that there was no issue, just like we share

11:51:08AM   5   with experts documents day in and day out so they can

11:51:11AM   6   assist us with their analyses.

11:51:13AM   7   Q.   This interview that they told you about, was this an

11:51:17AM   8   interview where a witness was put under oath and the

11:51:20AM   9   questions and answers were transcribed?

11:51:23AM 10    A.   It is my understanding that is what they were

11:51:26AM 11    seeking, that's correct.

11:51:27AM 12    Q.   And then was your understanding that this entire

11:51:31AM 13    temporary regulation project was geared toward creating

11:51:37AM 14    some authority that you could rely on for allowing outside

11:51:43AM 15    experts or contractors to participate in sworn interviews?

11:51:52AM 16    A.   I wouldn't characterize it that way.              It is close,

11:51:55AM 17    but not exact.      It is my understanding that that initial

11:51:58AM 18    identification of this issue, which surprised all of us,

11:52:02AM 19    didn't make sense to the IRS, and wasn't consistent with

11:52:05AM 20    our understanding of how we could and do use experts.

11:52:08AM 21         And that at some point in time -- and there was a long

11:52:11AM 22    period of time where I didn't hear anything about it, but

11:52:13AM 23    at some point in time someone was presumably working on

11:52:16AM 24    this or thinking about this.           At some point in time in

11:52:19AM 25    2014 I became aware of this reg project, to clarify and



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11:52:23AM   1   make clear what the IRS thought and what its position was

11:52:26AM   2   at the time, that our experts are there to help us, they

11:52:29AM   3   are there to look at books and records, and when we do

11:52:32AM   4   interviews they are there to help us ask intelligent

11:52:35AM   5   questions.      We wanted to make sure they were able to do

11:52:38AM   6   so.

11:52:38AM   7   Q.    In your collective 70 or 80 years of experience,

11:52:41AM   8   whatever it was that you mentioned before, had any of you

11:52:48AM   9   ever been involved in a situation where instead of an

11:52:52AM 10    economist or an engineer or an accountant, some sort of

11:52:59AM 11    expert like that, instead of that the IRS had hired

11:53:04AM 12    outside counsel to act as consultants, and for the outside

11:53:13AM 13    counsel to be asking questions of witnesses when they are

11:53:19AM 14    under oath and being transcribed?

11:53:22AM 15    A.    I can't speak to my colleagues' experience --

11:53:26AM 16    Q.    Just yours then.

11:53:27AM 17    A.    My own.    I am aware of cases where the IRS has hired

11:53:32AM 18    outside counsel to advise.          I am not aware of cases where

11:53:34AM 19    they have invited counsel to do under-oath interviews.

11:53:39AM 20    Q.    So far as you know, nobody else had ever done that,

11:53:44AM 21    right?

11:53:45AM 22    A.    As far as I know, with respect to the outside

11:53:49AM 23    counsel.

11:53:49AM 24    Q.    Right, right, the outside counsel.             As far as you

11:53:52AM 25    know, the first time in the history of the universe that



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11:53:55AM   1   anybody from the IRS said that outside counsel should be

11:54:02AM   2   allowed to participate as experts or contractors in

11:54:08AM   3   conducting sworn testimony, the first time in the history

11:54:11AM   4   of the universe was when you did it with Quinn Emanuel in

11:54:17AM   5   the fall of 2014, right?

11:54:19AM   6   A.   That is the first instance that I am aware of.               I

11:54:22AM   7   guess I am a trailblazer.

11:54:24AM   8   Q.   And planning to do this, and be this trailblazer, you

11:54:37AM   9   say you weren't tracking closely what was going on with

11:54:40AM 10    this regulation project?

11:54:42AM 11    A.   Give me one moment, please.           I wasn't aware of the

11:54:52AM 12    reg project until the spring of 2014, as I mentioned.                 I

11:54:56AM 13    don't know when it started.

11:54:58AM 14    Q.   I would like to shift gears here to what was

11:55:22AM 15    happening during the audit.

11:55:24AM 16              THE COURT:      Counsel, if we are going to shift

11:55:27AM 17    gears here, we are about five minutes before noon, let's

11:55:30AM 18    go ahead and break for our noon recess.              If we could have

11:55:33AM 19    everybody back at ten minutes after 1:00, and then we will

11:55:37AM 20    do our best to start up at 1:15, and hopefully have

11:55:41AM 21    everybody here.      We will be in recess.

01:15:05PM 22         (Lunch break.)

01:15:05PM 23              THE COURT:      Counsel, before we get started, I am a

01:15:08PM 24    little bit concerned about the pacing of how we are going

01:15:11PM 25    today.    Mr. Weaver, let me ask you, how much time does the



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01:15:14PM   1   IRS feel that they need for their presentation?

01:15:18PM   2             MR. WEAVER:      Your Honor, I appreciate that.              We

01:15:20PM   3   are going to need an hour and 15 minutes to an hour and a

01:15:23PM   4   half to lay out what I laid out in my opening.                    We need

01:15:27PM   5   that much time.

01:15:28PM   6             THE COURT:      Mr. Beck, what that means is, we have

01:15:30PM   7   about two and a half hours left in the afternoon, once we

01:15:33PM   8   factor in our break for our court reporter.                You have

01:15:37PM   9   about an hour, counsel.

01:15:39PM 10              MR. BECK:     Thank you, sir.        I would just ask if

01:15:44PM 11    perhaps the court could request Mr. Hoory, once again, to

01:15:47PM 12    try to keep his answers short and responsive.                That would

01:15:51PM 13    help me get through as much as I can.

01:15:53PM 14              THE COURT:      Mr. Hoory, I would ask -- and I have

01:15:56PM 15    asked this before, just do your best to answer the

01:15:59PM 16    question.     All of the legal arguments will be made at a

01:16:03PM 17    later point in time.        The interpretations of statutes will

01:16:07PM 18    be something the court does.           So from you we just need the

01:16:11PM 19    facts.    All right?

01:16:12PM 20              THE WITNESS:      I understand, your Honor.

01:16:14PM 21              THE COURT:      You may inquire.

01:16:16PM 22    By Mr. Beck:

01:16:16PM 23    Q.   Mr. Hoory, I think you mentioned before the break

01:16:19PM 24    that you commented at some point on the temporary

01:16:24PM 25    regulation?



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01:16:26PM   1   A.     I commented on the green sheet circulation.                It

01:16:30PM   2   wasn't a temp reg --        Are you talking about before or

01:16:33PM   3   after, is what I am asking?

01:16:35PM   4   Q.     Did you ever comment on what became the temporary

01:16:38PM   5   regulation?

01:16:39PM   6   A.     I discussed the regs after they were promulgated,

01:16:43PM   7   yes.

01:16:44PM   8   Q.     Didn't you comment before the regulation was adopted?

01:16:50PM   9   A.     If you mean the input I had into the language, that

01:16:55PM 10    was obviously before it was adopted.             If you mean have I

01:16:57PM 11    ever mentioned the regulation after it was adopted,

01:17:00PM 12    obviously I have.

01:17:01PM 13    Q.     No, no, no.    You had input before the regulation was

01:17:05PM 14    adopted, and you wrote a comment, right?

01:17:07PM 15    A.     Correct.

01:17:08PM 16    Q.     Now, I want to show you Exhibit 130.            This is what

01:17:20PM 17    was produced to us in response to our FOIA request.                    On

01:17:28PM 18    here somewhere is there an email that is your -- transmits

01:17:34PM 19    your comment?

01:17:35PM 20    A.     I think you will have to scroll down a page or two,

01:17:37PM 21    if this is the email that I am aware of.

01:17:41PM 22    Q.     Here we go, on Page 2.        What we got in response to

01:17:49PM 23    our FOIA request was from Eli Hoory to various people,

01:17:59PM 24    "Re:    Green sheet circulation."          And I don't want to spend

01:18:02PM 25    the time to talk about the green sheet, what that means



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01:18:05PM   1   exactly, but it is an opportunity for you to comment

01:18:09PM   2   before a regulation is promulgated, right?

01:18:12PM   3   A.   That's right.        In a fairly late stage, yes.

01:18:15PM   4   Q.   And the question -- the subject that you wrote is,

01:18:22PM   5   "7602."     Again, without getting into the substance, that

01:18:27PM   6   is the statutory provision that says that the secretary or

01:18:31PM   7   the secretary's delegates are allowed to take sworn

01:18:35PM   8   testimony, right?

01:18:36PM   9   A.   Right.     But I didn't write that subject.              I just

01:18:39PM 10    replied to an email.

01:18:41PM 11    Q.   You were replying to an email saying that.                    And the

01:18:45PM 12    email says, "Urgent."          And then this "importance high,"

01:18:50PM 13    was that something that you put on there or was that sent

01:18:54PM 14    to you?

01:18:54PM 15    A.   I don't recall.          I can't tell you that every green

01:18:59PM 16    sheet I have ever received says "urgent" next to it.

01:19:02PM 17    Depending upon what your settings are -- sometimes we

01:19:04PM 18    applied them --       I don't know if it was me or them,

01:19:05PM 19    honestly.

01:19:06PM 20    Q.   Then what we were given was, "Tom," and then

01:19:12PM 21    everything else is blacked out?

01:19:14PM 22    A.   Up to, "Thanks for your consideration," yes.

01:19:15PM 23    Q.   I'm sorry?       What?

01:19:17PM 24    A.   Yes.     Up to the bottom, yes.

01:19:19PM 25    Q.   I guess there is something that says "thanks" or



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01:19:22PM   1   something at the bottom.         I can't read that part.

01:19:25PM   2            Did you have anything to do with the decision to

01:19:31PM   3   black out your email?

01:19:33PM   4   A.   I did not.

01:19:33PM   5   Q.   So then recently --         Let me show you Exhibit 130-1.

01:19:53PM   6   So recently somebody made a decision to unredact this

01:19:59PM   7   email and to produce it to us in connection with this

01:20:04PM   8   lawsuit.    Have you seen this unredacted version in the

01:20:08PM   9   last couple of weeks?

01:20:09PM 10    A.   I have.     I saw it this week.

01:20:11PM 11    Q.   In connection with preparing for your testimony,

01:20:14PM 12    right?

01:20:15PM 13    A.   Correct.

01:20:16PM 14    Q.   Did you have any role in deciding, notwithstanding

01:20:25PM 15    the claim of deliberative process, that the IRS was going

01:20:28PM 16    to waive deliberative process when it came to your

01:20:31PM 17    comments on the regulation?

01:20:33PM 18    A.   I'm not sure if I can answer the back and forth of

01:20:39PM 19    counsel.

01:20:39PM 20               THE COURT:     Do you understand the question?

01:20:41PM 21               THE WITNESS:     I understand the question.            I will

01:20:42PM 22    ask --

01:20:43PM 23               MR. WEAVER:     To the extent that there was any

01:20:45PM 24    discussion with counsel, we are asserting privilege.

01:20:49PM 25               THE COURT:     You are just looking --          Let me have



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01:20:52PM   1   you ask for a specific --

01:20:55PM   2             MR. BECK:     I am not asking for the substance of

01:20:57PM   3   any conversations that he had with counsel.                I am asking

01:21:00PM   4   whether he had any role in the decision to waive the

01:21:05PM   5   deliberative process privilege insofar as it related to

01:21:09PM   6   his comments on this regulation.

01:21:15PM   7             THE COURT:      You can answer yes or no.

01:21:16PM   8             THE WITNESS:      Basically, yes.        I did interpret the

01:21:20PM   9   deliberative process or how it applied, but I commented on

01:21:25PM 10    whether it made sense to unredact or redact.

01:21:28PM 11    By Mr. Beck:

01:21:28PM 12    Q.   You wanted this unredacted?

01:21:29PM 13    A.   I was in favor of it, personally.

01:21:32PM 14    Q.   You thought if you waived the deliberative process as

01:21:37PM 15    to this particular document, that would help the IRS's

01:21:40PM 16    case, right?

01:21:42PM 17    A.   I thought it would allow you and the court to see

01:21:44PM 18    what I wrote and assess the content.

01:21:47PM 19    Q.   And you thought it would help the IRS's cause if you

01:21:52PM 20    waived the deliberative process as to your comments, even

01:21:57PM 21    though they are maintaining it as to everybody else's,

01:22:00PM 22    right?

01:22:00PM 23    A.   I honestly don't know whether it would help or not.

01:22:04PM 24    I think it gives the court information that they wouldn't

01:22:06PM 25    have otherwise had.        If it is helpful for us, it helps us.



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01:22:10PM   1   If the court determines it is not, it is not going to help

01:22:13PM   2   us.   I thought it made sense to lay it out and let the

01:22:16PM   3   court decide.

01:22:17PM   4   Q.    Is there some reason why it makes sense to lay it all

01:22:22PM   5   out and let the court decide based on all the facts when

01:22:27PM   6   it comes to your comments, but not as to everybody else's?

01:22:32PM   7   A.    I don't know what other persons' comments are, so I

01:22:34PM   8   can't really evaluate that.

01:22:36PM   9   Q.    Well, if you think that the right thing to do is to

01:22:40PM 10    let the chips fall where they may, whether it is helpful

01:22:43PM 11    or not helpful, just so the judge has all the information

01:22:47PM 12    as to your comments, wouldn't that apply as to everybody

01:22:51PM 13    else's comments?

01:22:53PM 14    A.    I imagine it depends upon the content and whether it

01:22:56PM 15    is covered by privilege.

01:22:57PM 16    Q.    Well, yours were covered by privilege, but you said

01:23:00PM 17    you wanted it unredacted so the judge would have the full

01:23:04PM 18    story, right?

01:23:05PM 19    A.    This is something I wrote --           To the extent I made

01:23:11PM 20    some comments and they are relevant to the matters at

01:23:15PM 21    issue, I would like to know whether or not they are

01:23:18PM 22    helpful or hurtful.        You know, just get it out of the way

01:23:20PM 23    and I can move on with my life and the examination.               Yes,

01:23:24PM 24    I wanted them out.

01:23:31PM 25    Q.    Now, in your comments over on Page 2, where we see



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01:23:41PM   1   the unredacted version --          And I am going to try to see if

01:23:48PM   2   I can summarize and shorten it up a little bit.                   As I

01:23:52PM   3   understand the substance of your comment, you were

01:23:55PM   4   suggesting that a dependent clause be moved within the

01:24:00PM   5   language of the regulation, because as it was written

01:24:04PM   6   somebody could interpret it to mean that experts couldn't

01:24:10PM   7   even look at documents unless they were under the

01:24:13PM   8   supervision of the -- direct supervision of the IRS, and

01:24:18PM   9   you wanted to make sure that clause removed -- was moved

01:24:24PM 10    so that people understood that experts could look at

01:24:27PM 11    documents on their own, but they couldn't take testimony

01:24:31PM 12    unless they were under the supervision of the IRS?

01:24:34PM 13    A.   Yeah, that is basically it.           I was supporting what we

01:24:37PM 14    understood the status quo to be.

01:24:39PM 15    Q.   And, of course, one of the experts you had in mind

01:24:42PM 16    that would be covered by this was Quinn Emanuel, right?

01:24:45PM 17    A.   Together with every other expert --

01:24:48PM 18    Q.   I said one of the experts was Quinn Emanuel, right?

01:24:51PM 19    A.   Yes, together with every other expert the IRS hires.

01:24:54PM 20    Q.   You didn't want anybody to think that when Quinn

01:24:57PM 21    Emanuel is going over our confidential taxpayer

01:24:59PM 22    information, that they should have to be under the

01:25:02PM 23    supervision of the IRS, right?

01:25:04PM 24    A.   I didn't think they would have to be in the presence

01:25:07PM 25    of the IRS.     Obviously, they are always working for us,



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01:25:10PM   1   and they are always supervised by a COR, contracting

01:25:15PM   2   officer's representative, and the POC, the point of

01:25:17PM   3   contract, or a contracting officer.             So I didn't think we

01:25:20PM   4   needed to be physically present when they were looking at

01:25:24PM   5   documents.

01:25:25PM   6   Q.   In fact, you gave them, didn't you, computers that

01:25:29PM   7   had like all of our documents on them?              And you gave Quinn

01:25:32PM   8   Emanuel special computers that were loaded up with all of

01:25:35PM   9   the confidential information that we turned over over

01:25:39PM 10    eight years in this audit process, right?

01:25:41PM 11    A.   That is actually inaccurate.            We gave them laptops at

01:25:45PM 12    some point.     I don't think we had anything preloaded on

01:25:48PM 13    them.    The reason we gave them to them is because the IRS

01:25:51PM 14    computers allow for secure communications.               So it was

01:25:54PM 15    actually to protect the information better, not vice

01:25:57PM 16    versa.

01:25:57PM 17    Q.   Well, these computers, did they have access to the

01:26:01PM 18    servers where all of our confidential information is kept?

01:26:06PM 19    A.   I honestly don't know.

01:26:08PM 20    Q.   Well, how were they going to review all of our stuff

01:26:12PM 21    unless they had access to it on their computers?

01:26:14PM 22    A.   We gave it to them on secure removable media

01:26:17PM 23    originally, encrypted in accordance with the Federal

01:26:19PM 24    Information Protection Standards.

01:26:19PM 25    Q.   And then they put that stuff on their computers,



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01:26:22PM   1   right?

01:26:22PM   2   A.   Are you talking about the laptops?              I don't know

01:26:25PM   3   where they put them, honestly.

01:26:27PM   4   Q.   I want to focus actually not so much on your wanting

01:26:31PM   5   to move the clause around as -- introductory statement

01:26:38PM   6   here.    I think you testified that this was the only time

01:26:45PM   7   you commented on the reg, right?

01:26:46PM   8   A.   I didn't say that this was.           I said this instance is

01:26:49PM   9   what I am talking about.         What I am referring to here,

01:26:52PM 10    "One final comment," is there were some exchanges.                 There

01:26:55PM 11    is other people on this email, including Howard Berger and

01:26:59PM 12    Tom Ralph, who I referred to earlier.              They had some

01:27:02PM 13    comments previously.        I don't know if it was in this email

01:27:04PM 14    chain or a different one, because we could send things in

01:27:07PM 15    differently.     In other words, you could get the same email

01:27:10PM 16    reply to it, and Mr. Weaver could reply to the same email

01:27:14PM 17    separately.     What I was referring to in, "One more

01:27:18PM 18    comment" was Mr. Berger and Mr. Ralph had made some prior

01:27:22PM 19    comments, I was adding one additional one.

01:27:25PM 20    Q.   You say, "One final comment/suggestion."                You had no

01:27:31PM 21    idea somebody was going to comment after you?

01:27:33PM 22    A.   I am speaking for myself.           This is my last comment.

01:27:36PM 23    Q.   Your last comment.        What I want to know is --          Here

01:27:39PM 24    you have transmitted your last comment.              I want to know

01:27:42PM 25    about your earlier comments.



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01:27:44PM   1   A.   So, as I mentioned, Mr. Berger and Mr. Ralph had some

01:27:49PM   2   comments previously.        I do -- I don't recall --             I

01:27:52PM   3   remember Mr. Ralph's had to do with the effective date and

01:27:57PM   4   timing, and I remember Mr. Berger's was substantive,

01:28:03PM   5   something stylistic.        I don't remember what they were.

01:28:04PM   6   The only thing I remember prior to this email was me

01:28:08PM   7   seconding Howard's suggestions as things that made sense.

01:28:12PM   8   Q.   Where is that?       We haven't seen any other emails from

01:28:15PM   9   you at all commenting on the regulation.               You mean there

01:28:18PM 10    are other emails and we just haven't been given them?

01:28:21PM 11    A.   I don't know what you have been given or not.

01:28:23PM 12    Q.   I can represent to you that we don't have any other

01:28:25PM 13    emails from you commenting on --

01:28:27PM 14    A.   I can tell you --        I don't know at what stage it was,

01:28:30PM 15    but I can tell you that I hit reply at some point with

01:28:35PM 16    regards to comments that either Mr. Ralph or Mr. Berger

01:28:39PM 17    made at some point with respect to this regulation.

01:28:42PM 18    Q.   Would you agree --

01:28:43PM 19    A.   I think it was all within like a day or two,

01:28:46PM 20    honestly.     I don't know the exact time, though.

01:28:47PM 21    Q.   Do you agree that wherever this email is, where you

01:28:52PM 22    hit reply, and then another comment, that we ought to be

01:28:57PM 23    able to look at that, too?

01:28:58PM 24    A.   I honestly don't care one way or another.                I will

01:29:02PM 25    leave that to IRS counsel to determine what is or isn't



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01:29:05PM   1   privileged.

01:29:05PM   2   Q.   Well, didn't you already decide that your comments --

01:29:14PM   3   you are going to waive the deliberative process privilege?

01:29:17PM   4   Are you saying you decided to --

01:29:19PM   5   A.   I don't make the decision --

01:29:20PM   6   Q.   -- waive it as to one, but not waive it as to others?

01:29:24PM   7   A.   I don't make the decision on what gets waived and

01:29:26PM   8   what isn't.

01:29:27PM   9   Q.   You participated in it, though?             You just said so,

01:29:29PM 10    right?

01:29:29PM 11    A.   Only with respect to this email.

01:29:30PM 12    Q.   So you are saying, as far as you are concerned, you

01:29:34PM 13    wanted the judge to have the full story, but only as to

01:29:37PM 14    this email.     For other emails from you, you want to leave

01:29:40PM 15    it up to counsel to decide, right?

01:29:42PM 16    A.   At the end of the day, IRS counsel or the P&A folks,

01:29:47PM 17    they determine what is privileged or not.               This is the one

01:29:49PM 18    we discussed, because my understanding is it is what made

01:29:53PM 19    it to the administrative file.           Other things --          I don't

01:29:55PM 20    know what is in or out.         I don't make those

01:29:58PM 21    determinations.

01:29:59PM 22    Q.   I want to talk now about some things that happened

01:30:21PM 23    during the audit.       You indicated, I think, that you joined

01:30:30PM 24    the TPO -- what was it, November of 2011?

01:30:34PM 25    A.   I think it was October --           The first time I was



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01:30:37PM   1   involved in the Microsoft audit was November.

01:30:41PM   2   Q.   So within a month of joining the TPO.               Did you come

01:30:45PM   3   directly from Covington & Burling?

01:30:47PM   4   A.   I did.

01:30:48PM   5   Q.   Within a month you were involved in the Microsoft

01:30:51PM   6   audit, right?

01:30:52PM   7   A.   Initially at a very high level as an audience.                  Over

01:30:55PM   8   time I came to be more involved, yes.

01:30:58PM   9   Q.   In fact, you not only became more involved, you are

01:31:01PM 10    in charge of the Microsoft audit now, right?

01:31:02PM 11    A.   I wouldn't say that.         I would say that I take the

01:31:05PM 12    lead with respect to the transfer pricing issues.

01:31:09PM 13    Q.   Okay.    Fine.    The subject matter we have been

01:31:10PM 14    focusing on, transfer pricing issues, you have taken the

01:31:16PM 15    lead on that on behalf of the TPO, right?

01:31:18PM 16    A.   Certainly.

01:31:19PM 17    Q.   Now, does the TPO have a roadmap -- a general roadmap

01:31:26PM 18    that they follow in transfer pricing audits?

01:31:31PM 19    A.   So as part of standing up TPO, they worked on,

01:31:35PM 20    basically, procedures.         They are not one-size-fits-all.

01:31:42PM 21    There are some goals and things to think about.                   But, yes,

01:31:44PM 22    there was a roadmap that was developed.              I think it was

01:31:47PM 23    published sometime in 2014.

01:31:48PM 24    Q.   Is Exhibit 136 the roadmap?

01:31:51PM 25    A.   Looks right to me.



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01:31:53PM   1   Q.    And the introductory paragraph here --              Did you have

01:32:01PM   2   input into this roadmap?

01:32:02PM   3   A.    Very limited.      There were other persons who worked on

01:32:06PM   4   that much closely than I did.

01:32:07PM   5   Q.    But you are familiar with it, right?

01:32:09PM   6   A.    Broadly.     I reviewed it for today.

01:32:11PM   7   Q.    I'm sorry?

01:32:11PM   8   A.    I said I reviewed it to make sure I was up to speed

01:32:14PM   9   on it for today.

01:32:15PM 10    Q.    You reviewed it at the time it came out, or in

01:32:19PM 11    preparation for your testimony?

01:32:20PM 12    A.    I reviewed it in preparation for my testimony.                  At

01:32:24PM 13    the time it came out I had seen an earlier iteration,

01:32:29PM 14    maybe -- probably a year or two before it came out, but I

01:32:33PM 15    wasn't involved at the time it actually got published.

01:32:34PM 16    Q.    Okay.    But you are up to speed on it for your

01:32:38PM 17    testimony, right?

01:32:38PM 18    A.    Certainly.

01:32:39PM 19    Q.    So we have this introductory language here.                  I want

01:32:45PM 20    to move as quickly as I can and focus on the kind of

01:32:52PM 21    time -- the generalized timeline that is on Page 3.                   And I

01:32:56PM 22    have highlighted here, "Transfer pricing audit stages and

01:33:00PM 23    timeline."     And then you, you being the IRS, set forth

01:33:06PM 24    kind of a typical sequence and timeline for the different

01:33:10PM 25    stages of a transfer pricing audit, correct?



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01:33:13PM   1   A.    Yes.     But on the first page it basically says there

01:33:17PM   2   is no one-size-fits-all.           It says that transfer pricing

01:33:21PM   3   cases are very complex, fact specific, and they typically

01:33:23PM   4   take two to three years or more.              So this is just a

01:33:27PM   5   generic sense.

01:33:27PM   6   Q.    Along the way here, and in other parts of the

01:33:38PM   7   document, do you identify or the IRS identify who should

01:33:42PM   8   be involved at these different stages?

01:33:44PM   9   A.    I think there is aspirational statements to that

01:33:47PM 10    effect, yes.

01:33:48PM 11    Q.    Is there any place in this document that you are up

01:33:52PM 12    to speed on where the IRS says, "Here is the point where

01:33:57PM 13    we ought to bring in outside counsel to help us complete

01:34:04PM 14    the audit, or give us a gut check, or get ready to fight

01:34:09PM 15    in the tax court"?

01:34:10PM 16    A.    I don't think --         It certainly doesn't use the words

01:34:15PM 17    you used.

01:34:15PM 18    Q.    Well, is there any place anywhere in the document

01:34:18PM 19    that you are up to speed on where the IRS says, "Here is

01:34:24PM 20    the stage to bring in outside counsel, because they can be

01:34:28PM 21    so helpful in these complicated audits"?

01:34:32PM 22    A.    It talks about who is supposed to be involved.                It

01:34:34PM 23    doesn't use the words "outside counsel."                 It talks about

01:34:36PM 24    evaluating, once you know enough about the basic facts,

01:34:39PM 25    what kind of expertise you need.              It talks about bringing



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01:34:41PM   1   in internal folks to get up to speed.              It talks about

01:34:44PM   2   consulting with IRS counsel.           It also talks about

01:34:47PM   3   considering whether or not you should hire outside experts

01:34:49PM   4   as well.

01:34:51PM   5   Q.    And you said what kind of expertise ought to be

01:34:55PM   6   involved.     And nowhere in this document, that you are up

01:34:58PM   7   to speed on, does the IRS say, "You know what, one area of

01:35:04PM   8   expertise that is really important in these complicated

01:35:08PM   9   transfer pricing cases is commercial litigation

01:35:12PM 10    expertise," right?

01:35:13PM 11    A.    It does not use those words anywhere in the document.

01:35:16PM 12    Q.    It not only doesn't use those words, it doesn't have

01:35:20PM 13    that concept remotely referred to in the document, does

01:35:23PM 14    it?

01:35:23PM 15    A.    This is a generic roadmap --

01:35:26PM 16    Q.    And in this generic document --

01:35:27PM 17               THE COURT:     Mr. Beck.     I'm sorry.      You have to

01:35:28PM 18    let --

01:35:29PM 19    By Mr. Beck:

01:35:29PM 20    Q.    Go ahead.     It is a generic document.

01:35:31PM 21    A.    Well, it is a generic roadmap.           Every case is

01:35:34PM 22    different.     It says that clearly in here.            You have to

01:35:37PM 23    consider the facts and circumstances in the case, because

01:35:38PM 24    that's what makes or breaks a transfer pricing audit.                 We

01:35:42PM 25    also talk about dropping things when we look at them, and



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01:35:45PM   1   don't beat the bushes.         If you find something, you decide

01:35:48PM   2   what resources you need.         It is talking about making

01:35:50PM   3   intelligent decisions.         In this case, given its size -- in

01:35:53PM   4   Microsoft's case, given its size and complexity, we

01:35:55PM   5   thought that complex commercial litigation expertise was

01:36:00PM   6   one thing that could add to our resources and make us get

01:36:02PM   7   to a better result, a more reasonable result, and the

01:36:05PM   8   right number.

01:36:05PM   9   Q.    This is the kind of answer I was hoping you would

01:36:08PM 10    give me yes or no on.         My question was, nowhere in this

01:36:11PM 11    document, that you are up to speed on, is there any hint

01:36:18PM 12    that outside lawyers should be hired, because one of the

01:36:21PM 13    areas of expertise that you claim is so important in an

01:36:25PM 14    audit is commercial litigation, right?

01:36:27PM 15    A.    I already told you this does not refer to commercial

01:36:31PM 16    litigators, in my memory.

01:36:33PM 17    Q.    Incidentally, Quinn Emanuel -- John Quinn and John

01:36:43PM 18    Gordon, did they have any tax experience in their

01:36:47PM 19    background?

01:36:48PM 20    A.    I know that John Gordon has -- represents clients on

01:36:54PM 21    tax matters.      I do not know with respect to Mr. Quinn.

01:36:58PM 22    Q.    Well, Mr. Gordon never represented anybody on

01:37:01PM 23    transfer pricing issues, did he?

01:37:03PM 24    A.    Not to my knowledge.

01:37:05PM 25    Q.    Neither Mr. Quinn nor Mr. Gordon, whose expertise you



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01:37:12PM   1   say would be so important in working on your audit,

01:37:16PM   2   neither one of them have any experience at all in

01:37:19PM   3   litigating audit questions, have they?

01:37:21PM   4   A.    To the extent the audit questions deal with complex

01:37:27PM   5   experts and items of commercial or IP law, which are

01:37:32PM   6   overlapped here since we are talking about intangibles, or

01:37:36PM   7   interpretation of contracts, representation of valuations,

01:37:39PM   8   I think they do have some of that expertise in their

01:37:43PM   9   either intellectual property or antitrust litigation.              So

01:37:45PM 10    that was the kind of expertise we were looking to

01:37:47PM 11    supplement.      We had very good transfer pricing -- that is,

01:37:51PM 12    the transfer pricing, legal expertise in the IRS.

01:37:53PM 13    Q.    My question is, did either of these gentlemen have

01:37:56PM 14    any experience in litigating tax audit issues?

01:38:00PM 15    A.    It depends on what your definition of what "tax audit

01:38:03PM 16    issues" is.      If you are asking did they have experience

01:38:06PM 17    litigating transfer pricing issues, then my answer is no,

01:38:10PM 18    I don't believe so.

01:38:10PM 19    Q.    Now, the timeline here, the generic timeline, talks

01:38:24PM 20    about when you are going to do things like issue IDRs.

01:38:29PM 21    Those are information document requests, right?

01:38:33PM 22    A.    Correct.

01:38:34PM 23    Q.    And then --      Does it talk about interviews in here

01:38:41PM 24    somewhere?

01:38:42PM 25    A.    There is a number of discussions about interviews.            I



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01:38:46PM   1   think in the early stage they talk about talking to the

01:38:49PM   2   businesspeople.       Later on they suggest, you know, thinking

01:38:52PM   3   about whether or not you need to do interviews as well.

01:38:55PM   4   But it is not in here, it is in the meat of the document.

01:38:58PM   5   Q.    And then the final stages are resolution discussions,

01:39:02PM   6   and then final NOPA --          This is on the bottom right-hand

01:39:07PM   7   corner.     What does that stand for?

01:39:08PM   8   A.    Notice of proposed adjustment.            So if we are not

01:39:12PM   9   issuing a statutory notice, we typically issue a notice of

01:39:15PM 10    proposed adjustment.

01:39:16PM 11    Q.    Would that be like a 30-day letter?

01:39:19PM 12    A.    I think it accompanies the 30-day letter, strictly

01:39:22PM 13    speaking.

01:39:23PM 14    Q.    And then case closed, right?

01:39:25PM 15    A.    No.

01:39:27PM 16    Q.    Case closing?       That's what it says, right?

01:39:32PM 17    A.    "Case closing," that means, you know, at some point

01:39:34PM 18    if exam's finished up their stuff, then either it goes

01:39:38PM 19    from a 30-day letter to a stat notice, or from a 30-day

01:39:41PM 20    letter to appeals.

01:39:42PM 21         There is also a note at the last page about continuing

01:39:45PM 22    reevaluating the timeline.           And one of the notes, that

01:39:48PM 23    could happen after this, is, it says, that if the taxpayer

01:39:51PM 24    presents new legal or factual issues, or anything survives

01:39:57PM 25    in the protest, consider pulling the NOPA and reopening



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01:40:00PM   1   the case.      I think that is in the last page of this

01:40:03PM   2   roadmap.

01:40:03PM   3   Q.    Let's take a look at Exhibit 78.              Was this a proposed

01:40:13PM   4   timeline concerning the Microsoft audit, dated around

01:40:23PM   5   July 12th, 2012?

01:40:27PM   6   A.    Yes.     Basically, when we were meeting with Microsoft

01:40:31PM   7   they asked us if there were milestones, and this was the

01:40:33PM   8   first effort to do so.

01:40:36PM   9   Q.    And the timeline basically contemplated a total of

01:40:41PM 10    about an additional 16 months until closure, right?

01:40:44PM 11    A.    Do you want me to do a map?            This is from July

01:40:50PM 12    until --

01:40:50PM 13    Q.    Well, we are starting July of 2012 --

01:40:53PM 14    A.    It went from the statute extension date.

01:40:57PM 15    October 30th was when the statute was extended to.                  We

01:41:00PM 16    just worked backwards.           We knew that we needed at least

01:41:04PM 17    three months, if we didn't reach resolution, to decide

01:41:06PM 18    whether to issue a 30-day letter or a stat notice.                  And

01:41:10PM 19    then we just went backwards and tried to fit everything

01:41:13PM 20    else, as best we could, into the remaining time.

01:41:15PM 21    Q.    And so it is starting --           Actually, I overstated it.

01:41:19PM 22    Starting in July of 2012, and you are contemplating that

01:41:28PM 23    you can wrap this thing up in about twelve months,

01:41:34PM 24    resolution of issues or issuance of a 30-day letter,

01:41:37PM 25    right?



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01:41:38PM   1   A.    That's what it says.        As I mentioned, we just worked

01:41:41PM   2   back from the statute expiration date.              We knew we needed

01:41:46PM   3   three months if we had to issue a stat notice.                    The normal

01:41:48PM   4   course, though, is we don't aspire to issue a stat notice.

01:41:52PM   5   The normal course in every audit is we normally -- just --

01:41:54PM   6   if we have un-agreed issues, we usually do a 30-day

01:41:56PM   7   letter.    A stat notice is a future decision that we make

01:42:00PM   8   after developing the facts and seeing what the taxpayer

01:42:02PM   9   does.

01:42:03PM 10    Q.    You mentioned the statute of limitations date.                  Is it

01:42:06PM 11    the case, as of July 12th, 2012, Microsoft had agreed to

01:42:12PM 12    an extension of the statute of limitation that would take

01:42:15PM 13    it out to October 30, 2013?

01:42:18PM 14    A.    I believe so.

01:42:20PM 15    Q.    And your timeline said, "Well, we can get it done

01:42:25PM 16    within that time period," right?

01:42:26PM 17    A.    That was our goal.        There is some notes at the bottom

01:42:32PM 18    that you can't see, but it basically talks about things

01:42:35PM 19    that have to happen for this to actually be successful.

01:42:38PM 20    Q.    Exhibit 79, is this an updated timeline prepared

01:42:46PM 21    July 31, 2013?

01:42:48PM 22    A.    It is.

01:42:49PM 23    Q.    And by this time the dates had slipped somewhat,

01:42:53PM 24    right?

01:42:53PM 25    A.    Yeah.    And there is discussions about why in there.



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01:42:58PM   1   Q.    And even with the dates slipping and the discussion

01:43:00PM   2   about why, as of July 31, 2013, your target for wrapping

01:43:08PM   3   this up was just nine months down the road, right?

01:43:11PM   4   A.    Again, we worked back from the statute of

01:43:13PM   5   limitations, which at that point in time was

01:43:15PM   6   December 31st, 2013.

01:43:19PM   7   Q.    Microsoft had, I take it, agreed to still another

01:43:23PM   8   extension of the statute of limitations, right?

01:43:25PM   9   A.    Yeah, they had.       They were interested in hearing, at

01:43:28PM 10    least I understood at that time, where we were.                   And we

01:43:32PM 11    had always talked to them throughout this process about

01:43:34PM 12    trying to resolve one or more issues.

01:43:37PM 13    Q.    There was --      Let me just get back here.            There was a

01:43:46PM 14    possibility that you identified that there might be a need

01:43:54PM 15    for some new IDRs, some information document requests,

01:43:58PM 16    right?

01:43:59PM 17    A.    Certainly there is a couple of places referred to

01:44:02PM 18    here.    The top one is focusing on things we need to do to

01:44:08PM 19    get to having intelligent conversation at this resolution

01:44:11PM 20    meeting, where we present our --            Note 1 actually reserves

01:44:14PM 21    on doing interviews and IDRs outside of anything that you

01:44:17PM 22    see in the boxes above.

01:44:19PM 23    Q.    Yeah.    Note 1, let's look at that.           I have

01:44:25PM 24    highlighted some language.          Of course, the audit has been

01:44:29PM 25    going on now for six, seven years, right?



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01:44:31PM   1   A.    Yeah.    At this point we are just focusing on the

01:44:35PM   2   focus with the expertise that we didn't previously have on

01:44:39PM   3   the transfer pricing issues, specifically Americas.

01:44:41PM   4   Q.    So tons of information has already been turned over.

01:44:46PM   5   What you say there in Note 1 is, "The majority of

01:44:50PM   6   data-intensive IDRs have been issued already, and based on

01:44:53PM   7   what is currently known, we believe that all reasonably

01:44:56PM   8   anticipated IDRs will be issued by June 30" -- and that

01:45:01PM   9   would be June 30, 2013 -- "and most significantly sooner,"

01:45:08PM 10    right?

01:45:09PM 11    A.    That was our goal.        I think until we identified new

01:45:14PM 12    issues, you know, that weren't resolved after the

01:45:17PM 13    January 14th meeting, we more or less meant that --                The

01:45:21PM 14    caveat was, and I think it is reflected in the next -- in

01:45:25PM 15    either that one or this one, is --             We still had a lot of

01:45:28PM 16    questions on software code.          And that was one of the

01:45:30PM 17    reasons we needed more time, to do a software code

01:45:33PM 18    analysis, and to get some answers about -- like a

01:45:36PM 19    stack-full of reports that the company had given us that

01:45:38PM 20    we didn't have previously, their internal software code

01:45:44PM 21    analysis.

01:45:44PM 22    Q.    Exhibit 134 is a May 2013 update of timeline, right?

01:45:50PM 23    A.    It is.

01:45:52PM 24    Q.    And you had these software issues, other issues.              Now

01:46:01PM 25    you are in the present, which would be May 30, 2013, and



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01:46:08PM   1   you are projecting that in less than a year you will be

01:46:14PM   2   able to resolve the issues or issue a 30-day letter,

01:46:18PM   3   right?

01:46:18PM   4   A.    Yeah.    So this was updated after we actually were

01:46:22PM   5   able to schedule our software code visits to the company.

01:46:25PM   6   That is in Note 2.        This reflects that.        And, frankly, we

01:46:29PM   7   were basically on this schedule until the government

01:46:32PM   8   shutdown.     But we had a meeting scheduled with the

01:46:34PM   9   taxpayer, before the shutdown, for the first week in

01:46:37PM 10    December, which was the first availability for both the

01:46:39PM 11    taxpayer's executives and ours.

01:46:41PM 12    Q.    And, once again, at the IRS's request, Microsoft had

01:46:47PM 13    extended the statute of limitations out to June 30, 2014,

01:46:53PM 14    right?

01:46:53PM 15    A.    Yeah, they agreed to.        We told them we wanted to meet

01:46:57PM 16    with them and discuss resolution and narrow issues, and

01:46:59PM 17    they agreed to extend.

01:47:00PM 18    Q.    Also in here, what you were projecting is that within

01:47:24PM 19    just five months you would be able to present your

01:47:28PM 20    conclusions to the taxpayer, and then there would be a

01:47:34PM 21    period of four or five months of discussions, and by April

01:47:41PM 22    of 2014 you thought you would be able to wrap this up,

01:47:43PM 23    right?

01:47:43PM 24    A.    We discussed this at length with Mr. Sample and

01:47:48PM 25    Mr. Bernard on multiple occasions.             They said, "Do you



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01:47:51PM   1   really think we are going to be able to resolve all issues

01:47:54PM   2   in two or three months between the presentation and our

01:47:57PM   3   D-Day for decision?"        We told them, "Look, you know, we

01:48:00PM   4   need a place to start, working back from the statute."

01:48:02PM   5   How much we resolved and how much we talked was up to

01:48:05PM   6   them.    We recognized to hit all of the issues would

01:48:07PM   7   probably take more time.         The ball was in their court.

01:48:12PM   8   Q.    And in the event the November 2013 date for the IRS

01:48:20PM   9   presenting their conclusions ended up slipping to, I think

01:48:24PM 10    you said, January 2014, right?

01:48:26PM 11    A.    After the government shutdown it was mutually

01:48:30PM 12    rescheduled for January 14th, correct.              Originally we

01:48:34PM 13    scheduled for December.

01:48:35PM 14    Q.    I only have an hour.        I only asked you whether it

01:48:37PM 15    slipped to January 2014.

01:48:39PM 16    A.    We rescheduled to January 14th, yes.

01:48:41PM 17    Q.    You had a face-to-face meeting with Microsoft, right?

01:48:44PM 18    A.    As well as their attorneys, yes.

01:48:46PM 19    Q.    And you were the lead presenter for the IRS?

01:48:49PM 20    A.    I was.

01:48:50PM 21    Q.    Right?

01:48:53PM 22    A.    I was.

01:48:54PM 23    Q.    You had a big thick slide deck with 60, 65 or so

01:49:00PM 24    slides, right?

01:49:00PM 25    A.    Two reports about 200 pages and a bunch of Excel



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01:49:04PM   1   spreadsheets.

01:49:04PM   2   Q.    This was part of the IRS's effort to try to reach

01:49:09PM   3   resolution of the issues, correct?

01:49:10PM   4   A.    It was to intelligently discuss the analysis to date,

01:49:16PM   5   to identify open questions we had, and to propose a path

01:49:19PM   6   towards resolution on those open questions.

01:49:21PM   7   Q.    Can you say yes or no to whether this was part of the

01:49:23PM   8   IRS's effort to try to reach resolution of the issues?

01:49:26PM   9   A.    It was.

01:49:27PM 10    Q.    Thanks.

01:49:29PM 11    A.    You're welcome.

01:49:30PM 12    Q.    Now, in your earlier testimony you said that these

01:49:35PM 13    discussions irretrievably broke down in July of 2014.                Do

01:49:42PM 14    you remember that?

01:49:42PM 15    A.    I do.     That's the first time we were unequivocally

01:49:46PM 16    told that they didn't want to talk to us at all, and said

01:49:50PM 17    finish our case.

01:49:51PM 18    Q.    Actually, you had been told earlier than that that

01:49:54PM 19    Microsoft didn't want to pursue further resolution

01:50:00PM 20    discussions, and in fact wanted you to finally issue that

01:50:03PM 21    30-day letter so they could get on to tax court, right?

01:50:07PM 22    A.    That mischaracterizes the conversations.               As late as

01:50:11PM 23    May we were still talking to Microsoft about at least

01:50:14PM 24    engaging on some of the mechanical issues.

01:50:16PM 25    Q.    On February 17th, 2014, did you and Mr. Maruca of the



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01:50:22PM   1   IRS have a conference call with Mr. Sample and Mr. Bernard

01:50:27PM   2   of Microsoft?

01:50:28PM   3   A.    That sounds right.

01:50:29PM   4   Q.    And did Mr. Sample inform you that Microsoft would

01:50:34PM   5   not further pursue dispute resolution discussions?

01:50:37PM   6   A.    What he said at that time is --            He did say that he

01:50:42PM   7   wasn't sure they could pursue it.            We expressed concerns

01:50:46PM   8   and disappointment.        We also left open the door for

01:50:49PM   9   resolution.      They also continued to commit to us to

01:50:51PM 10    provide us feedback on some of the open mechanical

01:50:54PM 11    questions which they had committed to on January 14th.                So

01:50:58PM 12    we left that meeting still with a commitment from

01:51:02PM 13    Microsoft to engage with us on some -- not all, but some

01:51:06PM 14    of the resolution items we had hoped to discuss.

01:51:09PM 15    Q.    I am putting up your sworn declaration, Exhibit 77,

01:51:13PM 16    Paragraph 41.      "On February 17, 2014, on a conference call

01:51:17PM 17    held among Mr. Sample, Mr. Bernard, Mr. Maruca, and me,

01:51:22PM 18    Mr. Sample notified us that he planned to sign a statute

01:51:26PM 19    of extension that week, extending the statute to

01:51:28PM 20    December 31, 2014; that he had decided not to pursue

01:51:35PM 21    resolution discussions; and that he would like a 30-day

01:51:43PM 22    letter."     Now, in your sworn declaration, when you

01:51:51PM 23    summarized what Mr. Sample said, all you said was that he

01:51:55PM 24    decided not to pursue resolution discussions and he would

01:51:58PM 25    like a 30-day letter, correct?



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01:52:01PM   1   A.    If you look a few down, it says he still remained

01:52:06PM   2   committed on giving us a 60-day feedback, I believe.                    And

01:52:09PM   3   on a 60-day feedback, if you have the context of the

01:52:11PM   4   January 14th meeting, and this particular conversation,

01:52:15PM   5   that feedback was on these mechanical issues that we had

01:52:18PM   6   raised questions on, how to identify revenues for

01:52:20PM   7   geographies, how to identify expenses, and how to do

01:52:23PM   8   allocations, and these math errors and judgment calls that

01:52:28PM   9   we wanted to engage on.          That was what the 60-day feedback

01:52:31PM 10    was supposed to focus on.

01:52:33PM 11    Q.    Did you issue the 30-day letter like Microsoft asked

01:52:36PM 12    you to?

01:52:36PM 13    A.    We did not.

01:52:37PM 14    Q.    On March 24, 2014, did you have a meeting with

01:52:42PM 15    Mr. Bernard of Microsoft, I think in Washington, DC?

01:52:49PM 16    A.    I did.

01:52:50PM 17    Q.    Did he reiterate Microsoft's request for a 30-day

01:52:53PM 18    letter?

01:52:53PM 19    A.    He did.

01:52:53PM 20    Q.    Did you issue one?

01:52:54PM 21    A.    No.

01:52:55PM 22    Q.    Ms. Eakes in her opening referred to Exhibit 126.

01:53:06PM 23    And we just talked about March 24, 2014, where they

01:53:12PM 24    reiterated the request for a 30-day letter.                 Ms. Eakes

01:53:18PM 25    referred to Exhibit 126, which was a March 28th, 2014



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01:53:27PM   1   email, just a few days afterwards, where the folks at the

01:53:36PM   2   IRS are saying we really need to get this temporary

01:53:41PM   3   regulation out by June 1st, 2014.

01:53:47PM   4           Now, my question is simply, did you personally know

01:53:53PM   5   within days of being told by Mr. Bernard that further

01:54:00PM   6   discussions weren't going to work, and that Microsoft

01:54:02PM   7   wanted a 30-day letter, did you know yourself that the IRS

01:54:08PM   8   was putting the hurry-up on this temporary regulation?

01:54:12PM   9   A.    I was not aware of this email or any of these

01:54:16PM 10    comments here.

01:54:17PM 11    Q.    Had you told others in your group, in this timeframe,

01:54:23PM 12    that Microsoft had said further discussions aren't going

01:54:26PM 13    to work and we want the 30-day letter?

01:54:31PM 14    A.    I am sure I made an internal report at some point.

01:54:34PM 15    Q.    Was there anybody in your group who had that

01:54:39PM 16    information, who was dealing with the people who were

01:54:42PM 17    deciding to hurry up the temporary regulation?

01:54:45PM 18    A.    Not to my knowledge.

01:54:45PM 19    Q.    Who in your group would have interfaced with the guys

01:54:50PM 20    working on the temporary regulation?

01:54:54PM 21    A.    I don't know about anyone in my group interfacing

01:54:57PM 22    directly with them until later -- that early June

01:55:02PM 23    timeframe.     So persons in my group who I knew at some

01:55:06PM 24    point -- I don't know when they started to interact with

01:55:10PM 25    the reg, as I mentioned before, were Tom Berger -- I'm



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01:55:13PM   1   sorry, Howard Berger, Tom Ralph, and Sam Maruca.

01:55:21PM   2   Q.    I am putting up a timeline that your counsel had

01:55:24PM   3   prepared for use in the case.            According to your timeline

01:55:30PM   4   here, I will just put a little arrow next to the points I

01:55:39PM   5   am talking about, in November/December 2013 is when the

01:55:51PM   6   IRS contacted Quinn Emanuel, right?

01:55:53PM   7   A.    Correct.

01:55:54PM   8   Q.    Did you do the contacting?

01:55:57PM   9   A.    Not initially, but during that timeframe and

01:56:01PM 10    follow-up conversations, yes.

01:56:02PM 11    Q.    Are there records, memos, phone records, that if we

01:56:08PM 12    got discovery we might be able to look at that would tell

01:56:12PM 13    us what it was you discussed with Quinn Emanuel?

01:56:15PM 14    A.    No.   I think at that point in time there would have

01:56:19PM 15    been phone calls and possibly an NDA.

01:56:23PM 16    Q.    What's an NDA?

01:56:25PM 17    A.    A nondisclosure agreement.

01:56:27PM 18    Q.    And you don't think there is any emails or memos that

01:56:33PM 19    say, "Gee whiz, Eli talked to Quinn Emanuel, and here is

01:56:39PM 20    where we look like we are going"?

01:56:42PM 21    A.    Honestly, at that stage we are just reaching out to

01:56:46PM 22    ascertain whether there is interest in them working for

01:56:49PM 23    the IRS.     As things progress we start to talk about the

01:56:55PM 24    contours of expert engagements.             I honestly don't know

01:57:00PM 25    where in time you would start to see some documents



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01:57:06PM   1   discussing --

01:57:07PM   2   Q.    Somewhere in time you would start to see some

01:57:09PM   3   documents discussing that, which we could look at if we

01:57:13PM   4   got discovery, right?

01:57:14PM   5   A.    I would imagine so, if they weren't privileged.

01:57:17PM   6   Q.    February 25th, you actually met with Quinn Emanuel.

01:57:22PM   7   Where was that meeting?

01:57:23PM   8   A.    It was in Los Angeles.

01:57:24PM   9   Q.    Did you fly out there and attend it?

01:57:27PM 10    A.    I did.

01:57:28PM 11    Q.    How many people from the IRS were there?

01:57:30PM 12    A.    Three.

01:57:31PM 13    Q.    How many people from Quinn Emanuel were there?

01:57:33PM 14    A.    Three or four, that I can recall.

01:57:37PM 15    Q.    Did you generate any documents, you or your

01:57:41PM 16    colleagues, describing what was talked about in this

01:57:43PM 17    meeting with Quinn Emanuel?

01:57:44PM 18    A.    Not describing what was talked about.              I may have

01:57:50PM 19    used some visual aids there.

01:57:53PM 20    Q.    And if we got discovery, we could look at your visual

01:57:57PM 21    aids, assuming that you don't claim some sort of

01:57:59PM 22    privilege, right?

01:58:00PM 23    A.    Of course.

01:58:00PM 24    Q.    Did you say that they didn't even know that Microsoft

01:58:11PM 25    was the company that they would be helping you go against?



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01:58:17PM   1   A.    I did not say that.

01:58:18PM   2   Q.    Okay.     They did know it was Microsoft --

01:58:22PM   3   A.    Once we have executed a nondisclosure agreement.

01:58:26PM   4   That is the first step.           And after we get signed

01:58:28PM   5   nondisclosure agreements, just with respect to the people

01:58:31PM   6   that have executed them, we will inform them of the

01:58:33PM   7   potential taxpayer to eliminate things like conflicts.

01:58:38PM   8   Q.    So when did you get these nondisclosure agreements?

01:58:43PM   9   A.    I don't know exactly.          The first one was probably in

01:58:46PM 10    that November/December timeframe.

01:58:47PM 11    Q.    So way back in November/December they knew right from

01:58:51PM 12    the get-go that they were being asked whether they would

01:58:54PM 13    be interested in helping you go against Microsoft, right?

01:58:58PM 14    A.    At some early point, yes.

01:59:00PM 15    Q.    So then the engagement letter is signed on May 19th,

01:59:06PM 16    2014, right?

01:59:07PM 17    A.    That sounds right.         It was not an engagement letter,

01:59:13PM 18    we had a contract.

01:59:15PM 19    Q.    We will come back to that.            That is another subject

01:59:17PM 20    you are all geared up on for today's testimony, right?

01:59:24PM 21    A.    If you would like to ask me about it, I would be

01:59:28PM 22    happy to answer questions.

01:59:29PM 23    Q.    Oh, I will.       Now, by May 19, 2014, the statute of

01:59:33PM 24    limitations had been extended several times, correct?

01:59:35PM 25    A.    Yes.     Each time agreed to by Microsoft.



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01:59:38PM   1   Q.    Right.     You asked and Microsoft agreed, right?

01:59:40PM   2   A.    Yes.

01:59:40PM   3   Q.    And as of late 2013 --           It was set to expire in June

01:59:47PM   4   of 2014, right?

01:59:48PM   5   A.    That sounds right.

01:59:50PM   6   Q.    And around December of '13, did you ask Microsoft for

01:59:57PM   7   still another extension?

01:59:59PM   8   A.    I don't know exactly when that request was made, but

02:00:03PM   9   sometime in December, January, February, yes.

02:00:06PM 10    Q.    Sometime in December, January, February.                 Did you

02:00:09PM 11    tell them when you asked for this new extension that you

02:00:13PM 12    had contacted Quinn Emanuel and were in discussions with

02:00:21PM 13    Quinn Emanuel about them helping you out and going against

02:00:24PM 14    Microsoft?

02:00:25PM 15    A.    We did not at that point in time inform them of our

02:00:28PM 16    discussions with Quinn Emanuel.

02:00:30PM 17    Q.    And did you tell them that part of Quinn Emanuel's

02:00:35PM 18    role was -- it was contemplated that they would actually

02:00:41PM 19    appear in tax court against Microsoft?                Did you tell them

02:00:45PM 20    that?

02:00:45PM 21    A.    I did not tell them anything at all with respect to

02:00:49PM 22    Quinn Emanuel at that time.

02:00:51PM 23    Q.    You kept all of that secret, right?

02:00:53PM 24    A.    Well, I am not in the habit of discussing potential

02:00:57PM 25    experts with any taxpayer, Microsoft or otherwise, prior



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02:01:00PM   1   to them having a reason to interact with the taxpayer.

02:01:02PM   2   Q.    This is a little different, because you are asking

02:01:05PM   3   somebody to voluntarily extend the statute of limitations,

02:01:08PM   4   and you are concealing from them the fact that for the

02:01:10PM   5   first time ever, in your knowledge, the IRS was hiring an

02:01:14PM   6   outside law firm to help it with the audit, and looking

02:01:19PM   7   forward to representing them in tax court.               You didn't

02:01:22PM   8   tell them that, did you?

02:01:23PM   9   A.    In the last part, if you are asking did I tell them,

02:01:28PM 10    no, I didn't tell them.         The rest of it, I don't think it

02:01:32PM 11    accurately characterizes why we asked for extensions at

02:01:33PM 12    the six-month mark.        We are directed to do that at six

02:01:36PM 13    months under the IRM, the Internal Revenue Manual, it is

02:01:40PM 14    my understanding.       Other people actually handle that,

02:01:42PM 15    people who manage the statutes.            But at the six-month mark

02:01:46PM 16    our instructions say, no later than that, see if you can

02:01:49PM 17    get an extension.       And if we don't, then we have to decide

02:01:52PM 18    what we are going to do to prepare for the statute to

02:01:54PM 19    expire.

02:01:55PM 20    Q.    The meeting in February, where you had like three

02:01:58PM 21    folks from the IRS, three folks from Quinn Emanuel, did

02:02:00PM 22    you discuss with Quinn Emanuel your need to get another

02:02:06PM 23    extension of the statute of limitations if Quinn Emanuel

02:02:11PM 24    was to be able to come onboard?

02:02:13PM 25              MR. WEAVER:      I will object, your Honor, and assert



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02:02:17PM   1   the attorney-client privilege.             Quinn Emanuel ended up

02:02:21PM   2   advising the IRS on legal matters.               Although I don't

02:02:25PM   3   really care about this question, I don't want to open the

02:02:28PM   4   door to some subject matter.

02:02:29PM   5             THE COURT:        The objection will be sustained.

02:02:32PM   6   By Mr. Beck:

02:02:38PM   7   Q.    Was it in February of 2014, the same month that you

02:02:42PM   8   met with Quinn Emanuel, that you finally persuaded

02:02:47PM   9   Microsoft to give you still another extension of the

02:02:51PM 10    statute of limitations?

02:02:53PM 11    A.    I am not sure of when they extended it.

02:02:57PM 12    Q.    Exhibit 148.       You can see here, I think, that this

02:03:07PM 13    extension to the end of the year was granted on

02:03:17PM 14    February 28th, 2014.          Do you see that?

02:03:19PM 15    A.    I do.

02:03:20PM 16    Q.    So that was just a few days after your meeting with

02:03:25PM 17    Quinn Emanuel, correct?

02:03:26PM 18    A.    Yes.

02:03:27PM 19    Q.    Then back to our timeline -- your timeline, rather.

02:03:40PM 20    May 19, 2014, that's where your entry says you executed a

02:03:50PM 21    contract with Quinn Emanuel, right?

02:03:51PM 22    A.    That's when the contracting officer awarded the

02:03:55PM 23    contract.

02:03:57PM 24    Q.    Let's take a look now at Exhibit 71.               This is a

02:04:11PM 25    letter from you to Mr. Bernard, dated August 28th, 2014.



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02:04:20PM   1   Do you see that?

02:04:21PM   2   A.    I do.

02:04:22PM   3   Q.    And you were talking about logistics for upcoming

02:04:25PM   4   interviews that Microsoft had agreed that they would

02:04:30PM   5   provide their people for, right?

02:04:31PM   6   A.    This was our initial request for those interviews

02:04:34PM   7   from the pool of people that Microsoft identified.

02:04:36PM   8   Q.    Well, you had already been in conversations with

02:04:41PM   9   them, and they had already agreed to make the people

02:04:44PM 10    available before you sent this letter, right?

02:04:46PM 11    A.    Not necessarily.       We had asked them to identify

02:04:50PM 12    persons who could speak to various subject matters for

02:04:55PM 13    purposes of scheduling these interviews.               And once they

02:04:58PM 14    identified that pool, we made that request that these are

02:05:02PM 15    the people and the times we would like to speak to them.

02:05:03PM 16    Q.    Look at your letter.        Your letter says, "Thank you

02:05:06PM 17    for agreeing to make available for interview the below

02:05:09PM 18    listed employees."        They had already agreed, right?

02:05:12PM 19    A.    They had suggested them as possible persons.                 So,

02:05:16PM 20    yeah, it is basically feel-good language saying, "Hey,

02:05:19PM 21    thanks for talking to us, thanks for giving us candidates,

02:05:21PM 22    here are the people we are talking to."

02:05:24PM 23    Q.    Actually, you said, "Thank you for agreeing to make

02:05:28PM 24    them available," right?

02:05:29PM 25    A.    I did.    That's what I wrote.



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02:05:29PM   1   Q.    When you asked them to make these folks available,

02:05:32PM   2   did you tell them that, incidentally, we have hired

02:05:36PM   3   outside counsel for the first time in the history of the

02:05:39PM   4   universe and Quinn Emanuel is going to be asking some of

02:05:42PM   5   the questions?

02:05:43PM   6   A.    This is the first letter where I informed them --

02:05:47PM   7   Q.    This is the first time, am I right, that you made any

02:05:51PM   8   reference to Microsoft, after they had already agreed to

02:05:55PM   9   these interviews, that Quinn Emanuel would be involved,

02:06:00PM 10    correct?

02:06:00PM 11    A.    Yes, this is the first time I told them about Quinn

02:06:05PM 12    Emanuel.

02:06:05PM 13    Q.    And it was almost like an aside, Page 3, "Oh, by the

02:06:12PM 14    way, in addition to our economist and industry experts,

02:06:14PM 15    this may include outside counsel from Quinn Emanuel

02:06:16PM 16    retained to assist LB&I in its evaluation and examination

02:06:21PM 17    in this matter"?       That was the entire disclosure, right?

02:06:25PM 18    A.    That's what it says.

02:06:26PM 19    Q.    And, of course, you really couldn't delay telling

02:06:30PM 20    them anymore because the statute of limitations was about

02:06:33PM 21    to expire, right?

02:06:34PM 22    A.    Listen, we didn't have Quinn Emanuel hired and on

02:06:39PM 23    board and cleared to do work until the middle of July.             We

02:06:42PM 24    had started discussions with them, with Microsoft, prior

02:06:45PM 25    to that.     As early as May we actually asked them to



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02:06:48PM   1   identify people.       This was the first time where we

02:06:51PM   2   actually started to receive the names from Microsoft.                 And

02:06:54PM   3   we could say, yeah, we would like to talk to some of the

02:06:57PM   4   people you have identified.

02:06:58PM   5   Q.    Was the statute --

02:06:59PM   6   A.    This was an appropriate time in my mind --

02:07:00PM   7   Q.    Was the statute about to expire?            My question was,

02:07:03PM   8   was the statute of limitations about to expire?

02:07:06PM   9   A.    The statute of limitations was set to expire December

02:07:09PM 10    31st, 2014.

02:07:11PM 11    Q.    And were you concerned that if you showed up with

02:07:13PM 12    Quinn Emanuel completely unannounced before these

02:07:16PM 13    interviews took place, the interviews wouldn't go forward,

02:07:20PM 14    right?

02:07:20PM 15    A.    I told them about a month before we asked for them so

02:07:25PM 16    they had an opportunity to consider them.               Certainly I

02:07:27PM 17    wanted them to know.        And if they had some issues, which

02:07:30PM 18    they did, they were free to raise them, which they did.

02:07:32PM 19    Q.    Let's take a look at how they raised the issues and

02:07:35PM 20    how you responded.        Exhibit 72, this is Mr. Bernard's

02:07:49PM 21    response to you?

02:07:49PM 22    A.    It is.

02:07:50PM 23    Q.    He says we are going to go forward with the

02:07:56PM 24    interviews on a consensual basis, right?

02:08:03PM 25    A.    I suppose so, yes.



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02:08:08PM   1   Q.    Then over on Page 2 he has a discussion of concerns

02:08:13PM   2   about Quinn Emanuel, correct?

02:08:15PM   3   A.    He does.

02:08:18PM   4   Q.    And, again, with time being what it is, I will try to

02:08:22PM   5   summarize.     The one thing he asked you was, are you

02:08:29PM   6   claiming these guys are going to be expert witnesses, or

02:08:36PM   7   are they going to be representing IRS as trial counsel if

02:08:40PM   8   this proceeds to go to litigation, right?

02:08:44PM   9   A.    That is the sentence.

02:08:46PM 10    Q.    And then he says, "We are concerned about their

02:08:49PM 11    involvement.      They have been adverse to us in many

02:08:54PM 12    matters.     They represent our biggest competitors."              Did

02:08:57PM 13    you take any of that into account when you decided that

02:09:00PM 14    Quinn Emanuel is the right firm to go against Microsoft?

02:09:03PM 15    A.    You mean that they have been --

02:09:07PM 16    Q.    That they had 30 open matters adverse to Microsoft,

02:09:12PM 17    did you take that into account?

02:09:13PM 18    A.    I took into account whether they had the expertise

02:09:15PM 19    needed, and whether or not there was a conflict that would

02:09:18PM 20    bar them from representing the IRS or bar them from being

02:09:21PM 21    adverse to Microsoft.

02:09:23PM 22    Q.    Did you take into account they had 30 open matters

02:09:26PM 23    against Microsoft when you decided they are the right

02:09:29PM 24    people to go against Microsoft on their behalf?

02:09:33PM 25               MR. WEAVER:     Objection.      Foundation.



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02:09:34PM   1             THE COURT:      The objection will be sustained.

02:09:35PM   2   By Mr. Beck:

02:09:35PM   3   Q.    Did you make any inquiry as to how many open active

02:09:38PM   4   matters they had against Microsoft?

02:09:42PM   5   A.    I did not ask them the number of matters of which

02:09:45PM   6   they were adverse to Microsoft.

02:09:47PM   7   Q.    Did you later learn that it was 30 or more?                  Yes or

02:09:52PM   8   no, did you later learn that it was 30 or more?

02:09:54PM   9   A.    There is a list on the document that was provided to

02:09:57PM 10    Microsoft.     I don't know if those were current matters or

02:10:00PM 11    historical ones.       I don't know how many at any point in

02:10:02PM 12    time they were adverse.

02:10:03PM 13    Q.    You didn't care, right?

02:10:05PM 14    A.    I didn't see it as an issue.           Their being adverse to

02:10:08PM 15    Microsoft in our case has no bearing, in my mind, whether

02:10:11PM 16    they are adverse in another, particularly when those

02:10:14PM 17    attorneys are not working on those other cases that are

02:10:16PM 18    active.

02:10:16PM 19    Q.    Did you ask whether some of the biggest clients of

02:10:22PM 20    Quinn Emanuel also happened to be the biggest competitors

02:10:24PM 21    of Microsoft?

02:10:26PM 22    A.    I had no reason to.

02:10:27PM 23    Q.    It was of no interest to you that the people that you

02:10:32PM 24    were going to be turning all of our confidential

02:10:34PM 25    information over to were like principal outside counsel



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02:10:39PM    1   for our biggest competitors, Google, Motorola?

02:10:43PM    2             MR. WEAVER:      Objection.      Foundation.

              3   By Mr. Beck:

02:10:48PM    4   Q.    Well, you later learned from us --

02:10:48PM    5             THE COURT:      Just a second.

02:10:52PM    6   By Mr. Beck:

              7   Q.    You later learned from us, did you not --

02:10:53PM    8           I am withdrawing it and asking a different question.

              9             THE COURT:      Thank you.

             10   By Mr. Beck:

02:10:55PM 11     Q.    You later learned when we were complaining that one

02:10:57PM 12     of the reasons we didn't like this was because Quinn

02:11:01PM 13     Emanuel is outside counsel for Google and Motorola, two of

02:11:05PM 14     our biggest competitors, right?

02:11:08PM 15     A.    I don't recall the actual names of the competitors

02:11:11PM 16     that were listed.       I do recall Microsoft raising concerns

02:11:15PM 17     that Quinn Emanuel -- other attorneys, not necessarily the

02:11:18PM 18     ones that we hired, but other attorneys at Quinn Emanuel

02:11:20PM 19     were adverse to them.

02:11:21PM 20     Q.    Did you make any inquiry into whether Quinn Emanuel

02:11:25PM 21     had a rather unfortunate recent history in being

02:11:29PM 22     sanctioned for not maintaining the confidentiality of

02:11:33PM 23     documents that had been entrusted in their care?

02:11:36PM 24               MR. WEAVER:      Objection.      Foundation.

02:11:37PM 25               THE COURT:      The objection is sustained.



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02:11:39PM   1   By Mr. Beck:

02:11:40PM   2   Q.    Did you make inquiry?

02:11:41PM   3               MR. WEAVER:     The same objection.

02:11:43PM   4               THE COURT:     Sustained.

02:11:43PM   5   By Mr. Beck:

02:11:43PM   6   Q.    Did you make any inquiry at all as to whether Quinn

02:11:49PM   7   Emanuel had been sanctioned in recent years concerning

02:11:52PM   8   their handling of confidential information?

02:12:00PM   9   A.    No, not as part of the market survey.               We did a

02:12:03PM 10    background check, we asked questions about the substance,

02:12:06PM 11    we talked to people we wanted to hire.               That was the kind

02:12:10PM 12    of things we focused on, did they have the expertise, did

02:12:13PM 13    they seem like they were professional, did they understand

02:12:15PM 14    the obligations they would have to protect information if

02:12:18PM 15    you're hired as IRS contractors.             That was the focus of

02:12:20PM 16    our inquiry at that stage.

02:12:22PM 17    Q.    Did you know from news reports about their troubles

02:12:24PM 18    in that regard?

02:12:25PM 19    A.    No.

02:12:25PM 20    Q.    Let's look at Exhibit 73, your response to

02:12:33PM 21    Mr. Bernard.      Over on Page 3, I want to focus on a couple

02:12:50PM 22    of the comments.         This second paragraph you say, "Quinn

02:13:00PM 23    Emanuel has been hired to assist LB&I in its ongoing

02:13:04PM 24    evaluation and examination."            That means the audit, right?

02:13:08PM 25    A.    It does.



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02:13:09PM   1   Q.    "As communicated in prior discussions, the IRS has

02:13:12PM   2   not yet made a determination on how to process the agreed

02:13:16PM   3   issues in the fiscal 04/06 cycle, all options remain open,

02:13:24PM   4   and you can anticipate a final decision after the

02:13:26PM   5   interviews scheduled for September and October."                   Did that

02:13:30PM   6   mean at long last we were going to get either an all-clear

02:13:33PM   7   or a 30-day letter once these interviews took place?

02:13:37PM   8   A.    No.     As we discussed with Mr. Sample, and

02:13:41PM   9   Mr. Bernard, and as is referred to in Mr. Bernard's

02:13:44PM 10    outline for the March meeting, the options in play at that

02:13:47PM 11    point in time that we discussed with them were a 30-day

02:13:52PM 12    letter, it was a statutory notice of deficiency, or a

02:13:55PM 13    statutory notice of deficiency combined with a designation

02:13:57PM 14    for litigation.

02:13:59PM 15    Q.    Wrap it up one way or another after the meetings in

02:14:04PM 16    September and October, right?

02:14:05PM 17    A.    The same options that are available in every

02:14:07PM 18    examination, yes.

02:14:08PM 19    Q.    And that's what they could anticipate, you told them,

02:14:11PM 20    in this letter, correct?

02:14:12PM 21    A.    Yeah.     We thought that the September and October

02:14:16PM 22    interviews would finish our factual development at that

02:14:19PM 23    point in time based on what we knew then.

02:14:21PM 24    Q.    And you said that -- you assured them that Quinn

02:14:24PM 25    Emanuel had not been retained for litigation support,



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02:14:26PM   1   right?

02:14:26PM   2   A.    Well, the contract that was awarded was limited to

02:14:30PM   3   examination support.

02:14:32PM   4   Q.    Well, you didn't say in the specific contract that

02:14:35PM   5   has been awarded it is limited to audit support, you said

02:14:41PM   6   Quinn Emanuel has not been retained for litigation

02:14:43PM   7   support, right?

02:14:43PM   8   A.    Well, if you remember the last letter that you showed

02:14:46PM   9   me, it only gave two options.           It was -- I don't remember

02:14:49PM 10    the first one, but it was basically expert witnesses or it

02:14:52PM 11    was trial litigation counsel.           Well, they were retained to

02:14:56PM 12    provide support, consultation, legal advice, and support

02:14:58PM 13    during the examination.         That was the contract that was

02:15:00PM 14    awarded.     As we discussed previously today, we certainly

02:15:04PM 15    knew there was a possibility that if -- that things might

02:15:08PM 16    go to litigation, that they could, and if the IRS chose,

02:15:10PM 17    we could hire them in a new contract, but not this one,

02:15:14PM 18    because it didn't cover it.

02:15:15PM 19    Q.    Well, you didn't tell them that in this letter.              In

02:15:18PM 20    fact, you told them there was no contract?

02:15:20PM 21    A.    I didn't say there was no contract.

02:15:22PM 22    Q.    The next page.      "The IRS does not have an engagement

02:15:27PM 23    letter with Quinn Emanuel."          That's what you told them,

02:15:30PM 24    right?

02:15:30PM 25    A.    I said no engagement letter.           I did refer to the



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02:15:33PM   1   scope of work.

02:15:34PM   2   Q.    Yeah.    But an engagement letter, of course you know

02:15:39PM   3   what that is, when you hire a lawyer it is a contract

02:15:42PM   4   between the client and the lawyer for the provision of

02:15:46PM   5   legal services, right?

02:15:48PM   6   A.    Yeah, it is typically a letter on firm letterhead.

02:15:52PM   7   We don't have that in this case.            We have a contract.

02:15:54PM   8   Now, in hindsight would it have been better to provide a

02:15:57PM   9   contract or make it a little more clear?               Yes.       But

02:16:00PM 10    Microsoft is a sophisticated taxpayer.              And I discussed

02:16:03PM 11    the contracting process.         And I know from past

02:16:04PM 12    conversations with them that they know that we award

02:16:06PM 13    contracts, not engagement letters.             I wasn't ready at this

02:16:09PM 14    point in time to share a document that I was still

02:16:12PM 15    considering whether or not we could share it with them.

02:16:14PM 16    And this bought me some time.

02:16:16PM 17    Q.    You tricked them?

02:16:17PM 18    A.    I don't think I tricked them.           I described the scope

02:16:19PM 19    of work.

02:16:19PM 20    Q.    Let's back up.      They said, "Give us a copy of the

02:16:22PM 21    engagement letter."        And you said, "I don't have an

02:16:25PM 22    engagement letter."        And your explanation is, "They are

02:16:29PM 23    sophisticated.       If they ask for an engagement letter, it

02:16:33PM 24    is fair for me to conceal the fact that I have a contract

02:16:36PM 25    because they didn't use the word 'contract'"?



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02:16:38PM   1   A.    The contract was public record.            It was published on

02:16:41PM   2   the website.      Mr. Bernard has previously looked at the

02:16:45PM   3   website for other contracts and seen when we --

02:16:47PM   4   Q.    Answer my question, will you?

02:16:48PM   5   A.    He asked for an engagement letter; we don't have one.

02:16:51PM   6   Q.    And you didn't tell him you had a contract, did you?

02:16:53PM   7   A.    I told him we had a scope of work.

02:16:58PM   8   Q.    Who else was in on the decision to conceal the fact

02:17:02PM   9   that you had a contract?

02:17:04PM 10               MR. WEAVER:     Objection.      Mischaracterizes the

02:17:06PM 11    testimony.

02:17:06PM 12               THE COURT:     The objection will be sustained.

02:17:08PM 13    By Mr. Beck:

02:17:08PM 14    Q.    Who else did you talk to in the IRS about how when

02:17:12PM 15    responding to the request for the engagement letter, we

02:17:15PM 16    are going to say there is no engagement letter, and we are

02:17:18PM 17    not going to tell them that we have a contract?

02:17:21PM 18    A.    I never discussed with anyone at the IRS not telling

02:17:24PM 19    them we had a contract.         I did discuss with other persons

02:17:28PM 20    whether or not we had -- how we should respond here.               To

02:17:31PM 21    the extent I had those discussions, it would have been

02:17:33PM 22    with IRS counsel.

02:17:35PM 23    Q.    So this letter of yours followed discussions where

02:17:40PM 24    you got legal advice from counsel.             Can you tell us which

02:17:44PM 25    lawyers?     Was it Quinn Emanuel?



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02:17:47PM   1   A.    I discussed the issues with Bob Ratchford, IRS

02:17:51PM   2   counsel.

02:17:52PM   3   Q.    How about anybody from Quinn Emanuel?

02:17:54PM   4   A.    I made Quinn Emanuel aware that we had notified

02:18:00PM   5   Microsoft in this letter as to their being hired to assist

02:18:06PM   6   us in the examination.

02:18:09PM   7   Q.    So then Mr. Bernard responds.           And what he tells

02:18:21PM   8   you -- what you understood from this paragraph was that

02:18:26PM   9   even though you told them there was no engagement letter,

02:18:29PM 10    he had gone to a website where all government agencies are

02:18:34PM 11    required to post the existence of contracts.                And he

02:18:39PM 12    discovered, notwithstanding what you told them, that in

02:18:42PM 13    fact there was a contract.          He actually had the little

02:18:48PM 14    contract number.       So he wrote back to you and said,

02:18:54PM 15    "Whether you want to call it an engagement letter, a

02:18:57PM 16    contract, an undertaking, give us the document," right?

02:19:01PM 17    A.    He said what he said.

02:19:03PM 18    Q.    So we reiterated, Microsoft did, the request for the

02:19:13PM 19    unredacted copy of the contract, right?

02:19:17PM 20    A.    Yeah.    This was the first time they specifically

02:19:22PM 21    asked for a contract, yes.

02:19:23PM 22    Q.    But even you admit that here he used the language

02:19:31PM 23    where -- he said, "I want the contract."               You had a

02:19:34PM 24    contract.     And he asked for an unredacted one, right?

02:19:37PM 25    A.    Yeah, that is what he asked for.



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02:19:38PM   1   Q.     You didn't give him one, though, did you?

02:19:40PM   2   A.     I gave him an unredacted copy of the scope of work,

02:19:44PM   3   which describes all of the substantive work that Quinn

02:19:46PM   4   Emanuel was hired to perform.

02:19:47PM   5   Q.     He asked for the unredacted copy of the contract, and

02:19:50PM   6   you didn't give him an unredacted copy of the contract,

02:19:53PM   7   did you?

02:19:53PM   8   A.     I gave him what I was personally comfortable giving

02:19:56PM   9   him.

02:19:59PM 10    Q.     Is there some reason that you wanted to conceal the

02:20:02PM 11    rest of the contract?

02:20:03PM 12    A.     The reason I gave him the Schedule C was because

02:20:10PM 13    that's what describes the complete scope of work, what we

02:20:13PM 14    had asked them -- or hired them to perform.                The reason I

02:20:14PM 15    didn't give him the rest is that I am not in the habit of

02:20:18PM 16    turning over IRS documents, particularly ones I am not the

02:20:21PM 17    custodian for, in total.         And it is not under my expertise

02:20:25PM 18    what is or is not redacted.

02:20:28PM 19         So normally, my understanding is, when you want -- if

02:20:34PM 20    a taxpayer wants documents, unless someone decides on

02:20:37PM 21    their own to give out some portion of it, and we can

02:20:40PM 22    always make that choice, they go through our disclosures

02:20:43PM 23    office.    They are the ones who know what gets redacted and

02:20:46PM 24    what doesn't.      That is outside of my knowledge.               And I was

02:20:49PM 25    comfortable giving him Schedule C, because that is the



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02:20:53PM   1   meat of it, that is what we asked them to do.                I thought

02:20:55PM   2   that would show them the four corners of what they had

02:20:57PM   3   been hired to do under this contract.

02:20:59PM   4   Q.    Did you consult with counsel again on how you were

02:21:04PM   5   going to respond before you wrote this letter?

02:21:07PM   6   A.    I made the decision on what to release myself.               To

02:21:13PM   7   the extent there was ongoing discussions that required

02:21:18PM   8   legal advice, yes, I would have consulted with counsel.

02:21:22PM   9   Q.    And here you not only said Section C contains the

02:21:25PM 10    full and unredacted performance, work statement, scope of

02:21:31PM 11    work, you said that was for all phases of the contract,

02:21:35PM 12    and the contract has one phase only.             That's what you

02:21:39PM 13    represented to them, didn't you?

02:21:40PM 14    A.    Yeah.    And that's the truth.

02:21:42PM 15    Q.    Let's take a look at that.          In any event, before we

02:21:50PM 16    take a look at the actual contract to see whether that is

02:21:52PM 17    the truth, based on these representations that you made,

02:21:57PM 18    Microsoft agreed to go forward with those interviews,

02:22:01PM 19    right?

02:22:02PM 20    A.    So the first week we didn't have Quinn Emanuel

02:22:06PM 21    present, but the interviews went forward.               The second and

02:22:09PM 22    third weeks there were ongoing discussions about

02:22:14PM 23    procedures.      And I don't think they were resolved at this

02:22:17PM 24    point in time.       I don't think they were resolved until

02:22:20PM 25    maybe the 18th.



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02:22:25PM   1               THE COURT:     You have ten minutes, Mr. Beck.

02:22:27PM   2               MR. BECK:    Thank you, your Honor.

02:22:29PM   3   By Mr. Beck:

02:22:32PM   4   Q.    After the interviews -- you made this representation

02:22:39PM   5   to us, did you later learn that we had filed a FOIA

02:22:44PM   6   request on September 24, 2014, asking for a full

02:22:51PM   7   unredacted copy of the contract?

02:22:53PM   8   A.    I did.

02:22:54PM   9   Q.    Did you have anything to do with whether that FOIA

02:23:01PM 10    request should be responded to?

02:23:03PM 11    A.    No.

02:23:03PM 12    Q.    We eventually got a full unredacted copy of the

02:23:08PM 13    contract.      Did you learn that?

02:23:10PM 14    A.    I know you got a copy.          I think there might be some

02:23:13PM 15    things that were redacted.           I honestly don't know.

02:23:16PM 16    Q.    Exhibit 64, that's a copy of the contract, right?

02:23:22PM 17    A.    It looks like the first page.

02:23:25PM 18    Q.    Did you negotiate this contract with Quinn Emanuel?

02:23:28PM 19    A.    I don't negotiate contracts.            That is a function that

02:23:31PM 20    the procurement officer does.

02:23:34PM 21    Q.    What was your role in terms of the terms of this

02:23:38PM 22    contract?

02:23:39PM 23    A.    I provided some input on the Schedule C that you saw;

02:23:43PM 24    and I also would have provided comments on F-6, which is

02:23:47PM 25    the delivery schedule; and I also would have provided some



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02:23:53PM   1   comments because of the unique character of this with

02:23:55PM   2   respect to -- I think it is H-20.            It is basically where

02:24:00PM   3   we talk about these extra hurdles we have to go through

02:24:03PM   4   because Quinn Emanuel, they were attorneys, they are a law

02:24:07PM   5   firm, and they had to comply with conflicts rules under

02:24:10PM   6   the relevant ethics rules.

02:24:13PM   7   Q.    Let's take a look first over on Page 4.              You gave us

02:24:21PM   8   Schedule C; is that right -- or Section C?

02:24:23PM   9   A.    Yeah.    So it is Section C.        I guess I have been

02:24:27PM 10    talking "schedule."        Originally in my letter I attached

02:24:31PM 11    Section C, yes.

02:24:31PM 12    Q.    That is the only thing you gave us, right, Section C?

02:24:34PM 13    A.    That was the only thing I was personally responsible

02:24:37PM 14    for providing Microsoft, yes.

02:24:38PM 15    Q.    That is the only thing you gave us, right?

02:24:40PM 16    A.    Well, there is descriptions of what they did or

02:24:42PM 17    didn't do, and what their conflicts were, in the letter,

02:24:45PM 18    so it is not the only thing I gave you.

02:24:46PM 19    Q.    So now Section B, something that you didn't give us,

02:24:51PM 20    section B says, "Performance outside of the scope and/or

02:24:55PM 21    above the firm fixed price."           And then it says, "For each

02:25:01PM 22    phase."    Do you see that?"

02:25:02PM 23    A.    I do.    If you look at the schedules there is only one

02:25:04PM 24    phase.

02:25:05PM 25    Q.    You told us there was only one phase, but the



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02:25:07PM   1   contract talks about each phase, right?

02:25:09PM   2   A.    Yeah.     So this is pro forma language.            Oftentimes you

02:25:14PM   3   will see references to each phase or look at the phases.

02:25:17PM   4   But then you have to look at the schedule, which I think

02:25:19PM   5   is either the page before or page after this, and then

02:25:23PM   6   Schedule C -- or Section C to see what the phases are.                    If

02:25:26PM   7   there is only one phase, then this only applies to one

02:25:29PM   8   phase.

02:25:29PM   9   Q.    And there is a fixed price of $2,185,500, right?

02:25:36PM 10    A.    That sounds right, yep.

02:25:38PM 11    Q.    That was for all phases, though, right?

02:25:40PM 12    A.    For the one and only phase that they had awarded the

02:25:45PM 13    contract for, yes.

02:25:45PM 14    Q.    You said before, you anticipated that that work would

02:25:49PM 15    all get wrapped up before the end of 2014, and you were

02:25:55PM 16    paying Quinn Emanuel over $2 million for the work they

02:26:03PM 17    did, giving you a gut check on the audit between July,

02:26:06PM 18    when you claim they started work, and the end of 2014,

02:26:11PM 19    when you said the audit would be over?

02:26:14PM 20    A.    I think that mischaracterizes some things.                   Would you

02:26:19PM 21    like me to explain why?

02:26:21PM 22    Q.    No.     And then it says, "Funding for each of the

02:26:29PM 23    phases is dependent on the litigation schedule of the

02:26:31PM 24    government, the court's scheduling, if required, appeals,

02:26:47PM 25    settlements, and/or final disposition of the taxpayer



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02:26:52PM   1   case."     Is it your sworn testimony that this is all just

02:26:55PM   2   boilerplate, and there was nothing contemplated other than

02:27:00PM   3   that work in Phase I?

02:27:03PM   4   A.    Let me be very clear.        There was only one phase

02:27:06PM   5   awarded.     You have that.      It is limited to examination

02:27:09PM   6   support.     There is a schedule before this that specifies

02:27:12PM   7   hours that -- under this not-to-exceed limit on this page.

02:27:16PM   8   That is only one phase.

02:27:17PM   9        My understanding -- and I am not responsible for the

02:27:20PM 10    final contracting, but my understanding is that

02:27:22PM 11    contracting officers work off of templates.                And they are

02:27:25PM 12    doing a lot of cutting and pasting.             And I know for a fact

02:27:30PM 13    that this contracting officer works with experts at the

02:27:33PM 14    trial stage, and also at the examination stage.

02:27:35PM 15         And, frankly, particularly when comparing this to the

02:27:40PM 16    Boies Schiller contract, this has a lot of sloppy language

02:27:43PM 17    in there that looks like it is artifacts or copy-and-paste

02:27:46PM 18    errors that should not apply here.             Quinn Emanuel was not

02:27:49PM 19    hired to be an expert witness, and that phrase doesn't

02:27:53PM 20    appear in the Boies contract.

02:27:54PM 21    Q.    I have to ask you to stop.          I don't have that much

02:27:57PM 22    time, and you are not responding.

02:27:58PM 23             Over on "period of performance," you say that

02:28:01PM 24    Phase I was going to end at the end of 2014, but the

02:28:05PM 25    contract extended through the end of 2016.               Do you see



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02:28:10PM   1   that?

02:28:10PM   2   A.    I didn't say Phase I was the end.            If you went to F-6

02:28:14PM   3   you will see what I saw as --           First of all, this, while

02:28:17PM   4   we are looking at this, this clearly has typos in it.

02:28:21PM   5   Someone has this period of performance right in the middle

02:28:23PM   6   of this other paragraph, and the sentences don't make

02:28:25PM   7   sense.    So there is clearly something going on in there

02:28:28PM   8   that has got some editing artifacts.             If you go to F-6,

02:28:32PM   9   which on the next page, it actually says the period of

02:28:34PM 10    performance is through December 31st of 2015.                And it

02:28:37PM 11    describes one phase.        And right below this, F-5, it

02:28:40PM 12    actually says 18 months.         And if you add 18 months to when

02:28:44PM 13    the contract was awarded, that actually gets you, roughly

02:28:48PM 14    speaking, to December of 2015, not 2016.               So this

02:28:52PM 15    obviously could have been drafted better.               If you look at

02:28:55PM 16    F-6, that's what I understood the schedule to be, which is

02:28:58PM 17    on the next page of this contract.

02:29:00PM 18    Q.    Time is running short, so I will try to cut to the

02:29:03PM 19    chase here.      The truth is that -- with Quinn Emanuel, the

02:29:11PM 20    deal was that if and when this got to the tax court, Quinn

02:29:21PM 21    Emanuel was committed to being trial counsel in the tax

02:29:25PM 22    court, but the IRS retained the authority to say we don't

02:29:30PM 23    want you after all; isn't that true?

02:29:33PM 24    A.    There is no obligation under this contract for that

02:29:36PM 25    to happen, but the IRS -- as we mentioned, we sort of



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02:29:40PM   1   contemplated that we might get to tax court; and if we

02:29:43PM   2   did, we might want Quinn Emanuel to assist.                If that did

02:29:46PM   3   happen, it would have to be subject to a new contract.

02:29:48PM   4   Those were certainly consistent with the discussions we

02:29:51PM   5   had early on.

02:29:51PM   6   Q.    You are awfully familiar with every page of this

02:29:55PM   7   contract.     Don't you know that this contract says that

02:30:00PM   8   Quinn Emanuel commits that they will act in the capacity

02:30:04PM   9   of special government employee, which is something they

02:30:08PM 10    would have to do to be in the tax court, that they will

02:30:11PM 11    resolve all conflicts in order to be able to get into the

02:30:15PM 12    tax court, and that the contract is non-severable on these

02:30:23PM 13    different stages, and that Quinn Emanuel must agree to act

02:30:29PM 14    in the tax court, but you have the right to say you don't

02:30:31PM 15    want them?

02:30:32PM 16    A.    That is actually not what the contract says.                 It says

02:30:35PM 17    they have to preserve their ability to be special

02:30:37PM 18    government employees.         It doesn't require them to.           You

02:30:39PM 19    can't force someone to be an employee under a contract.

02:30:42PM 20    That would be a future decision for the IRS.                And they

02:30:46PM 21    weren't preserving the ability to do -- just like we want

02:30:48PM 22    any expert we hire, to make sure that they are available

02:30:51PM 23    wherever a case goes, regardless of whether the audit goes

02:30:54PM 24    to trial or to appeals.

02:30:55PM 25    Q.    You do now agree that the contract contemplates not



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02:31:01PM   1   just what you call Phase I, but it contemplates at least

02:31:07PM   2   another phase where Quinn Emanuel would be involved in the

02:31:10PM   3   tax court, right?

02:31:12PM   4             MR. WEAVER:      Objection.      Mischaracterizes

02:31:14PM   5   testimony and the document.

02:31:16PM   6             THE COURT:      Overruled.      Do you agree or not?

02:31:17PM   7             THE WITNESS:      I disagree with that statement.

02:31:20PM   8   By Mr. Beck:

02:31:20PM   9   Q.    And you claim that the contract doesn't address

02:31:23PM 10    whether Quinn Emanuel is going to participate in the tax

02:31:27PM 11    court?

02:31:28PM 12    A.    It does not say whether they will or won't.                  It asks

02:31:32PM 13    them to preserve their ability to become special

02:31:34PM 14    government employees and to preserve -- to avoid conflicts

02:31:40PM 15    that may prevent that.         There is only one phase of this

02:31:43PM 16    contract.     We do not go outside of contracts and perform

02:31:46PM 17    work outside of them.         That would be illegal.         We would

02:31:48PM 18    have to have a new contract for post-examination support

02:31:51PM 19    if we were paying them hourly.           And if we did hire them at

02:31:54PM 20    some point --      Could the IRS say, "We want to hire you as

02:31:57PM 21    special government employees"?           Certainly.

02:32:00PM 22    Q.    Are there written side deals here that you haven't

02:32:03PM 23    told us about with Quinn Emanuel?

02:32:05PM 24    A.    There are no other contracts other than the one you

02:32:07PM 25    have with Quinn Emanuel.



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02:32:08PM   1   Q.    Now, that makes me a little nervous.             I asked for

02:32:11PM   2   "side deals," and you said "contracts."              If we asked for

02:32:16PM   3   an engagement letter, you say that is not the same thing

02:32:19PM   4   as a contract.       Are there any side deals?

02:32:23PM   5   A.    There is no written deals, no.           There is nothing

02:32:24PM   6   binding on the IRS, there is nothing binding on Quinn

02:32:27PM   7   Emanuel.     I am not sure what your characterization of

02:32:30PM   8   "side deal" is.       If you want to give me a definition, I

02:32:33PM   9   will answer your question better.

02:32:34PM 10    Q.    You say there is nothing in writing.             You had

02:32:36PM 11    discussions with Quinn Emanuel, and you said, "Here is the

02:32:39PM 12    deal, John:      We will give you $2 million as a contractor,

02:32:47PM 13    and you will participate in what we are calling Phase I.

02:32:52PM 14    And then later on, when it comes time for the tax court,

02:32:57PM 15    you are going to have to take a big haircut, because when

02:33:00PM 16    you act as an SGE, you don't get paid very much.                   But the

02:33:06PM 17    deal is we will front end load it, give you $2 million for

02:33:09PM 18    Phase I.     Later on we will enter into the agreement for

02:33:13PM 19    the tax court, and you are going to have to take a

02:33:17PM 20    haircut."     You had those conversations with John Quinn,

02:33:19PM 21    didn't you?

02:33:19PM 22    A.    What you just described does not accurately reflect

02:33:22PM 23    any conversations I had with John Quinn.

02:33:23PM 24    Q.    Why don't you tell us about the conversations you had

02:33:27PM 25    with John Quinn where you talked about how you were going



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02:33:31PM   1   to manage the fact that they later on would be in the tax

02:33:35PM   2   court?

02:33:36PM   3   A.    It wasn't "would be," it was a possibility.

02:33:38PM   4   Q.    Tell us what you said, what Quinn said.

02:33:41PM   5   A.    I can't tell you specifically.           But if you are asking

02:33:45PM   6   me about what was the concept, the concept as we

02:33:49PM   7   approached them was, "We would like to get your assistance

02:33:52PM   8   at this examination stage."          As reflected in the contract,

02:33:55PM   9   there was two types of assistance we thought we wanted.

02:33:59PM 10    It was, "Give us a gut check, a sounding board on our

02:34:01PM 11    analysis and the taxpayer's, and to the extent new things

02:34:06PM 12    are identified, continue the case on development and

02:34:09PM 13    support."     We told them that we hoped to engage the

02:34:12PM 14    taxpayer on resolution.         We didn't know if that would be

02:34:14PM 15    successful.      Remember, we are talking to them before

02:34:16PM 16    Microsoft says get lost.

02:34:18PM 17    Q.    And remember, I asked you about a conversation you

02:34:22PM 18    had concerning how you are going to handle how they get

02:34:25PM 19    hired to come into the tax court?

02:34:27PM 20    A.    I am trying to give you the conversation that you

02:34:29PM 21    have asked me about.        Then it was, "Well, what happens if

02:34:33PM 22    you don't?     What if Microsoft doesn't want to resolve,

02:34:35PM 23    what would you do?"        We said, "Well, at that point in time

02:34:38PM 24    the IRS would have to make some decisions.               We have

02:34:40PM 25    different options.        We could do a 30-day letter, we could



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02:34:43PM   1   do a 90-day letter, we could do a 90-day letter and

02:34:46PM   2   designation."

02:34:47PM   3        Potentially --      Certainly --       Could this wind up in

02:34:50PM   4   tax court?     Yeah, just like any examination.             And at that

02:34:52PM   5   point in time the IRS would have to say, "We want you to

02:34:55PM   6   be available.      If we are both happy with each other on the

02:34:58PM   7   front end, maybe we will award another contract for a

02:35:01PM   8   trial phase."

02:35:02PM   9        And initially the concept was that there would be

02:35:04PM 10    another contract ordered with hourly rates.                And it was

02:35:08PM 11    contemplated at some point in time there may be a need for

02:35:11PM 12    them to become special government employees.                But there

02:35:14PM 13    was potentially, as conceived, examination support under

02:35:17PM 14    the contract that was awarded.           That was all that was

02:35:20PM 15    awarded.     A potential for a new contract if this ever left

02:35:25PM 16    examination's jurisdiction and went to Counsel's

02:35:28PM 17    jurisdiction.      Counsel has jurisdiction over tax court

02:35:32PM 18    cases, not the examination side of the IRS.

02:35:34PM 19         And then at some even further future point, if a bunch

02:35:37PM 20    of things fell into place, and the IRS wanted to pursue

02:35:40PM 21    it, there was a possibility the IRS may say, "Hey, you

02:35:43PM 22    will need to become an SGE."           That was what was discussed.

02:35:46PM 23    Q.    And if they came in as SGEs, special government

02:35:49PM 24    employees, they wouldn't be able to charge a thousand

02:35:52PM 25    dollars an hour, or even what their paralegals charge,



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02:35:56PM   1   $300 an hour, right?

02:35:58PM   2   A.    My understanding is that there is caps.              I don't

02:36:01PM   3   think it is an hourly wage, though.             I don't know

02:36:04PM   4   exactly --

02:36:05PM   5   Q.    It is way, way lower.        You know that, don't you, sir?

02:36:08PM   6   A.    I know they are lower.         I am just pointing out I

02:36:11PM   7   don't know how it is calculated.

02:36:14PM   8             MR. BECK:      I guess my time is up, your Honor.

02:36:18PM   9   Just for the record, given the length of his answers and

02:36:20PM 10    things, I feel like I was constrained here and didn't get

02:36:26PM 11    to some of the subjects that I would have like to have

02:36:29PM 12    gotten to.      On the other hand, I appreciate your patience.

02:36:33PM 13              THE COURT:      Thank you, Mr. Beck.

02:36:35PM 14         Mr. Weaver, we will go ahead and take our break for

02:36:38PM 15    our court reporter.        When we come back, you can begin your

02:36:42PM 16    examination at that point.

02:50:11PM 17         (Break.)

02:50:11PM 18              THE COURT:      Mr. Weaver, you may inquire.

02:50:22PM 19              MR. WEAVER:      May I proceed, your Honor?

02:50:23PM 20              THE COURT:      You may begin.

02:50:25PM 21                              CROSS-EXAMINATION

02:50:25PM 22    By Mr. Weaver:

02:50:28PM 23    Q.    Mr. Hoory, could you briefly tell us what the

02:50:31PM 24    transfer pricing operations objectives were for the

02:50:34PM 25    Microsoft examination when you came into the picture in



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02:50:36PM   1   late 2011?

02:50:37PM   2   A.    It was really to take another look at the facts, to

02:50:41PM   3   consider the items like with the taxpayer Veritas, about

02:50:47PM   4   us being arbitrary and capricious, not addressing the

02:50:50PM   5   right facts, and to take a closer look at the residual

02:50:53PM   6   profit split model that Microsoft used in its valuation to

02:50:56PM   7   see whether if the inputs were reasonable or not, to see

02:50:59PM   8   if we could apply it in a more reasonable manner, and also

02:51:03PM   9   recognizing that there was an interaction between the

02:51:05PM 10    technology transfer price that was paid by the United

02:51:09PM 11    States to Puerto Rico and the buy-in that Puerto Rico paid

02:51:13PM 12    to the United States.         We wanted to test the transfer

02:51:16PM 13    price as well.

02:51:17PM 14         So regardless of our methodology for the outbound

02:51:20PM 15    transfer of intangibles, we knew it was impacted by the

02:51:23PM 16    transfer price on the inbound sale of the technology IP by

02:51:27PM 17    Puerto Rico.      We knew that the RPSM model impacted the

02:51:51PM 18    transfer price on the inbound sale by Puerto Rico of

02:51:55PM 19    technology in the United States, and whatever that

02:51:56PM 20    transfer price, also would impact the value it was before

02:52:00PM 21    this transaction, or that is set, when the U.S. sold it to

02:52:05PM 22    Puerto Rico.      So we knew the two were related.                We needed

02:52:08PM 23    to test the methodology.

02:52:09PM 24    Q.    Did you at the outset, when you became involved, seek

02:52:13PM 25    to resolve issues where possible?



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02:52:16PM   1   A.    At the outset we certainly raised questions we had,

02:52:20PM   2   and we let the company know on the front end that we

02:52:23PM   3   always were working towards engaging with them to see if

02:52:26PM   4   there was room for resolution, and that we wanted to talk

02:52:29PM   5   to them before developing a final number, when the ink was

02:52:33PM   6   still wet, was the term that Mr. Maruca used.

02:52:37PM   7   Q.    Let's turn to Exhibit 16, Page 1, please.               Do you

02:52:42PM   8   recognize Exhibit 16?

02:52:43PM   9   A.    I do.

02:52:45PM 10    Q.    And what is it?

02:52:46PM 11    A.    It is the cover letter for the protest that Microsoft

02:52:49PM 12    filed on January 29th (sic).

02:52:51PM 13              MR. WEAVER:      Your Honor, I would move the protest,

02:52:53PM 14    Exhibit 16, into evidence.

02:52:55PM 15              MS. EAKES:      Your Honor, Microsoft does object to

02:52:58PM 16    that.    This is a document that we have been trying to

02:53:00PM 17    resolve issues with respect to redactions.               We would

02:53:04PM 18    object to the wholesale admission of it because of the

02:53:07PM 19    remaining issuing unresolved.           With respect to No. 16, it

02:53:10PM 20    is my understanding that Mr. Weaver agreed we can take

02:53:11PM 21    that up at a later point.          So we would object to its

02:53:14PM 22    admission now.       We don't object to the reference to this

02:53:17PM 23    particular page.

02:53:18PM 24              MR. WEAVER:      Your Honor, what I would propose, and

02:53:20PM 25    I talked with Mr. Beck about this before I got up here, is



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02:53:22PM   1   that we move it into evidence.           I am only going to refer

02:53:26PM   2   to three or four pages.         This is a long document.           And

02:53:28PM   3   that after the document is in evidence, and I want it to

02:53:33PM   4   be in the record, there are four numbers in this document

02:53:36PM   5   that we have agreed to redactions on.              Otherwise, you see

02:53:39PM   6   a ton of redactions that we have agreed to, Microsoft

02:53:41PM   7   wanted to make.       And if the court will allow us, before we

02:53:45PM   8   make the exhibits public, we will agree to the remaining

02:53:48PM   9   four redactions.

02:53:49PM 10               THE COURT:     All right.      With that understanding,

02:53:51PM 11    we will go ahead and admit 16, Madam Clerk.

02:53:57PM 12         (Exhibit No. 16 was admitted.)

02:53:57PM 13    By Mr. Weaver:

02:53:57PM 14    Q.    Mr. Hoory, let's turn to the part of the protest

02:54:00PM 15    addressing the Americas transaction, page 37 of Part 3,

02:54:05PM 16    please.    What you will see referred to here is a reference

02:54:14PM 17    to Veritas in the protest.          Do you recall that Mr. Hoory?

02:54:18PM 18    A.    I do.

02:54:18PM 19    Q.    How did this reference -- and if we were to look

02:54:22PM 20    through pages a repeated reference -- to Veritas impact

02:54:24PM 21    the way that the exam was going to be conducted going

02:54:27PM 22    forward?

02:54:27PM 23    A.    We basically are responding to the concerns I

02:54:31PM 24    discussed with Veritas earlier.            We knew we needed to

02:54:35PM 25    really kick the tires, make sure we developed the facts



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02:54:37PM   1   and circumstances correctly, and respond to some of the

02:54:40PM   2   allegations here about the IRS being arbitrary and

02:54:43PM   3   capricious.      We also knew that we needed to actually look

02:54:46PM   4   at the inputs into the residual profit split model that

02:54:50PM   5   Microsoft had used, and to test them fully.

02:54:52PM   6   Q.    Let's turn to Page 61 of Part 3, please.               Look at the

02:55:03PM   7   heading here, "The Service's buy-in determination is

02:55:06PM   8   arbitrary, capricious and unreasonable."               Did the

             9   characterization of the audit work as arbitrary and

02:55:14PM 10    capricious have an impact on how the audit was going to

02:55:17PM 11    proceed?

02:55:18PM 12    A.    It certainly did.       It meant we really had to look at

02:55:20PM 13    the facts and circumstances and bring in the expertise we

02:55:23PM 14    needed, in this case, software industry expertise.

02:55:26PM 15    Because prior to this, just like we did in Veritas, all we

02:55:30PM 16    had was an economist, with no industry experts.

02:55:33PM 17    Q.    Now, let's turn to Page 45.          And if you could blow up

02:55:39PM 18    Footnote 90, please.        I will start reading from here.          "As

02:55:49PM 19    support, the Service cites internal memoranda summarizing

02:55:53PM 20    non-transcribed interviews of Microsoft employees from the

02:55:56PM 21    2000 to 2003 audit and resulting MITRE expert report

02:56:02PM 22    opining that software had perpetual useful lives if

02:56:07PM 23    'maintenance' R&D were performed.            Such evidence is of

02:56:11PM 24    question utility," et cetera.           Mr. Hoory, did this have

02:56:14PM 25    any impact on how you wanted to proceed?



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02:56:16PM   1   A.    Certainly.     We knew that if we did have to rely on

02:56:19PM   2   statements by Microsoft, that we would have to get them on

02:56:21PM   3   the record if they were important or material, and if they

02:56:25PM   4   were in areas that we were unable to resolve issues with

02:56:28PM   5   the company.

02:56:28PM   6   Q.    Now, let's turn to Page 18 of this part of the

02:56:31PM   7   protest, and look at the top part of the page, please.

02:56:37PM   8   Let's blow up that top paragraph.            It talks about taxpayer

02:56:43PM   9   engaging KPMG to value certain things with respect to the

02:56:49PM 10    buy-in license.       And then if you go on down, it also

02:56:52PM 11    refers to KPMG determining a transfer price.                What was

02:56:59PM 12    your understanding when you read this early in the audit,

02:57:04PM 13    when you were involved, 2011/2012, of the role that KPMG

02:57:08PM 14    was playing in this audit?

02:57:10PM 15    A.    My understanding was that KPMG was responsible for

02:57:13PM 16    preparing the valuation that Microsoft relied on to set

02:57:16PM 17    the arm's length price for both the outbound sale of

02:57:20PM 18    technology rights to Puerto Rico, and then for the inbound

02:57:23PM 19    sale of technology IP to the United States.

02:57:25PM 20    Q.    Now, let's digress very briefly.            If you can put

02:57:29PM 21    Exhibit 18 up, please?         Mr. Hoory, I am referring you to

02:57:40PM 22    Exhibit 18.      Do you recognize the numbers on this diagram?

02:57:42PM 23    A.    I do.    They are my understanding of KPMG's valuation,

02:57:47PM 24    the numbers they arrived at.

02:57:48PM 25    Q.    And you pulled these numbers from where?



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02:57:49PM   1   A.    I pulled them from the KPMG model, including their

02:57:54PM   2   structured rate analysis.

02:57:55PM   3   Q.    And were these numbers, with one correction, in your

02:57:58PM   4   declaration?

02:57:59PM   5   A.    There was.     In my declaration I had transposed the

02:58:02PM   6   15.56 billion for the technology license at the top and

02:58:08PM   7   the 15.35 billion for the R&D funding.

02:58:11PM   8   Q.    Recognizing that our time is limited, could you tell

02:58:14PM   9   me --

02:58:15PM 10            Well, first, I will move this into evidence, your

02:58:18PM 11    Honors, as a demonstrative.

02:58:21PM 12              MR. BECK:      Well, your Honor, demonstratives don't

02:58:22PM 13    get received in evidence, they are just demonstratives.

02:58:26PM 14              THE COURT:      That's fine.

02:58:29PM 15    By Mr. Weaver:

02:58:29PM 16    Q.    Let's take a look at the bottom gray part.                  Can you

02:58:31PM 17    explain the flow of what is going on here in terms of what

02:58:35PM 18    is represented?

02:58:35PM 19    A.    Sure.    So on the left you have Microsoft Corporation,

02:58:38PM 20    that is the U.S. parent and its U.S. affiliates.                   In the

02:58:42PM 21    bottom, the oval, you have the third parties.                That's

02:58:44PM 22    where they collect the money from.             So these are people

02:58:47PM 23    that are not related to Microsoft, other large

02:58:50PM 24    corporations and entities, some resellers, some

02:58:52PM 25    redistributors.       The only person or the only entities that



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02:58:55PM   1   have these third-party contracts, that enter into

02:58:57PM   2   contracts with these third parties, it is Microsoft U.S.

02:59:01PM   3   Before and after this transaction, those third-party

02:59:03PM   4   relationships collecting the money, is through the United

02:59:06PM   5   States affiliates, not Puerto Rico.

02:59:08PM   6   Q.    Very briefly, can you describe the green arrows going

02:59:13PM   7   to and from Microsoft U.S. and Microsoft Puerto Rico?

02:59:16PM   8   A.    Sure.    So in the green you have a technology license

02:59:19PM   9   from the United States of software code rights to

02:59:22PM 10    Puerto Rico.      Puerto Rico agrees to pay the United States

02:59:26PM 11    15.56 billion, not immediately, but in the future, as a

02:59:30PM 12    percentage of future sales.          In the red, in the middle,

02:59:33PM 13    you have Puerto Rico agreeing to pay the R&D associated

02:59:37PM 14    with software code thereafter.           Over the next ten years

02:59:41PM 15    they are expected to pay 15.35 billion.              So those

02:59:45PM 16    numbers -- they are both what they expected to pay the

02:59:47PM 17    U.S. and what they expect in the next ten years.

02:59:50PM 18    Q.    This is what KPMG projected in its model?

02:59:54PM 19    A.    Yes, it is the numbers they based their valuation on.

02:59:57PM 20    Q.    What are the blue lines at the bottom there?

02:59:59PM 21    A.    The bottom in blue you have --           Remember, Microsoft

03:00:04PM 22    U.S., they are the ones that are selling everything to

03:00:06PM 23    third parties.       They are the only ones with the

03:00:09PM 24    third-party licenses and royalties.             So the United States

03:00:11PM 25    agrees to remit to Puerto Rico a percentage of every



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03:00:15PM   1   dollar they collect, about 55¢ on the dollar, roughly.

03:00:20PM   2   And they are basically paying Puerto Rico as the treater

03:00:22PM   3   (sic) of the software code that Puerto Rico just bought.

03:00:25PM   4   So it is a roundtrip.         You have Puerto Rico buying

03:00:28PM   5   software code rights, agreeing to pay for R&D, it adds up

03:00:32PM   6   to about 30 billion.        And over the next ten years --           And

03:00:35PM   7   that is over ten years, too.           And then over the next ten

03:00:38PM   8   years the U.S. plans to turn around and pay Puerto Rico

03:00:41PM   9   about 67.8 billion for the software code that Puerto Rico

03:00:45PM 10    is treated as owning.         The net impact of all this is, over

03:00:48PM 11    ten years, Microsoft expected to report $38 billion less

03:00:54PM 12    in taxable income in the United States.              Instead, that

03:00:57PM 13    income would be sitting in Puerto Rico where it is not

03:00:59PM 14    taxed, at least for domestic tax purposes.

03:01:02PM 15    Q.    Now, with the aid of this diagram can you very

03:01:05PM 16    succinctly describe for the court the primary area of

03:01:07PM 17    information that you are still seeking in this audit to

03:01:11PM 18    get to the right number?

03:01:12PM 19    A.    So we are looking for the revenue, and information

03:01:15PM 20    about the revenue and expense it puts on this, and the

03:01:17PM 21    split between technology intangibles as the software code

03:01:21PM 22    on the one hand, and non-technology intangibles on the

03:01:25PM 23    other.    So we are talking about the customer

03:01:26PM 24    relationships, the trademarks.           The United States has all

03:01:28PM 25    the non-technology intangibles after this deal, and



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03:01:32PM   1   Puerto Rico has purchased the software codes.                So you need

03:01:34PM   2   to know what the relative amounts are.              That impacts --

03:01:36PM   3   Q.    Why do you need to know the relative amounts?

03:01:38PM   4   A.    You need to know the relative amounts because

03:01:41PM   5   Puerto Rico is paying the United States for the value of

03:01:43PM   6   the software code they purchased.            Obviously, depending on

03:01:47PM   7   how important software code is to their business, it could

03:01:50PM   8   be worth more or less than the buy-in.              It is also

03:01:53PM   9   critically important in the bottom under the technology

03:01:55PM 10    transfer price --

03:01:56PM 11    Q.    You are talking about the 67 billion transfer price?

03:01:59PM 12    A.    I am.     That 68 billion, that is supposed to be

03:02:02PM 13    reflective of how valuable the software code is to the

03:02:05PM 14    business.     If marketing intangibles, if customer

03:02:09PM 15    relationships, if all these things that Microsoft does,

03:02:12PM 16    the corporation in the United States, are more important,

03:02:15PM 17    then that 67.8 billion should go down.              So we are looking

03:02:19PM 18    at the inputs, revenues, and expenses that KPMG used to

03:02:23PM 19    model this and the assumptions they made.

03:02:26PM 20    Q.    Back to 2012.      During the first part of 2012, did you

03:02:29PM 21    hire a number of industry experts to take a look at this

03:02:32PM 22    transaction?

03:02:32PM 23    A.    We did.     For the first time we brought on a number of

03:02:35PM 24    software industry experts, a marketing expert, and a

03:02:39PM 25    finance expert.       Previously all we had was an economist.



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03:02:42PM   1   We also had an outside economist expert as well to help us

03:02:45PM   2   with this, look at KPMG's process.

03:02:48PM   3   Q.    Now, we are not going to look at it in any detail,

03:02:51PM   4   but was there another transfer pricing arrangement that

03:02:53PM   5   you were also looking at?

03:02:55PM   6   A.    There was.     They had a deal in the Asia Pacific

03:02:58PM   7   region.     A difference between the Asia Pacific region and

03:03:01PM   8   the United States is the U.S. is a roundtrip.                They sell

03:03:04PM   9   something out of the U.S. and immediately they buy it back

03:03:06PM 10    for more.     In Asia Pacific they sold everything to their

03:03:09PM 11    foreign affiliate.        However, the split between technology

03:03:13PM 12    and non-technology is still at issue there because of some

03:03:17PM 13    positions that Microsoft took.           Basically we need to know

03:03:20PM 14    what the split is there as well, because they took the

03:03:22PM 15    position, which we don't necessarily agree with, that all

03:03:27PM 16    of the -- in fact, I believe, 95 percent of non-technology

03:03:30PM 17    was owned by their foreign affiliate.              So they didn't have

03:03:34PM 18    to pay for that.       We don't think the foreign affiliate

03:03:37PM 19    owned that much, and we also are also questioning the

03:03:40PM 20    split there as well.

03:03:41PM 21    Q.    Now, in early 2012, did TPO withdraw the notice of

03:03:45PM 22    proposed adjustments?

03:03:46PM 23    A.    We did.

03:03:46PM 24    Q.    Did you tell Microsoft, of course?

03:03:48PM 25    A.    We did before doing so, and at the time we did.



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03:03:52PM   1   Q.    And did Microsoft agree to further extensions of the

03:03:55PM   2   statute?

03:03:55PM   3   A.    They did agree to extend the statute.

03:03:57PM   4   Q.    All right.       Let's turn very briefly to Exhibit 15.

03:04:04PM   5   Do you recognize Exhibit 15?

03:04:05PM   6   A.    Yes.     It is a Duff & Phelps report prepared for

03:04:09PM   7   Microsoft.

03:04:09PM   8   Q.    Did you get it as part of the audit?

03:04:11PM   9   A.    We got it after we reopened the audit, effectively.

03:04:15PM 10    It was a December IDR, December of 2012.                 It is one of the

03:04:18PM 11    first questions we asked them when we started to look at

03:04:21PM 12    the facts and circumstances more closely.

03:04:23PM 13    Q.    Did you get the backup for it?

03:04:25PM 14    A.    Not initially.        We asked for all documents, and we

03:04:29PM 15    wound up having to issue a follow-up IDR, because all we

03:04:33PM 16    got was the report, none of the cross-referenced

03:04:35PM 17    attachments.

03:04:35PM 18    Q.    So they didn't give you all you needed the first

03:04:37PM 19    time?

03:04:37PM 20    A.    Not immediately.         We eventually got it.

03:04:41PM 21               MR. WEAVER:       I would move this Exhibit 15 into

03:04:43PM 22    evidence, your Honor.

03:04:45PM 23               MR. BECK:      Your Honor, here our objection is not

03:04:49PM 24    as to specific redactions, it really goes to what

03:04:52PM 25    Ms. Eakes addressed in her opening statement.                  This has



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03:04:58PM   1   nothing to do with the issue before the court, which is

03:05:04PM   2   was Quinn Emanuel -- should these summonses be enforced,

03:05:09PM   3   and can Quinn Emanuel take sworn testimony.                This is in

03:05:12PM   4   fact exactly what the IRS warned would happen if somebody

03:05:17PM   5   dared to oppose them, that they would make a big showing

03:05:23PM   6   and introduce evidence that has nothing to do with the

03:05:27PM   7   subject matter of the hearing, but is calculated to

03:05:30PM   8   inflame by painting us in a bad light.              So that is our

03:05:35PM   9   objection, your Honor.

03:05:36PM 10              THE COURT:      Mr. Weaver, how is this relevant?

03:05:39PM 11              MR. WEAVER:      This is relevant, your Honor, because

03:05:41PM 12    all morning we heard about how Quinn Emanuel has only been

03:05:45PM 13    hired to prepare this case for tax court.               I am leading up

03:05:47PM 14    to how we still need information, with this foundation.

03:05:51PM 15    This is a foundation.

03:05:53PM 16         I am also going to get to in a minute things that have

03:05:55PM 17    come in through the summonses that weren't disclosed to

03:05:58PM 18    the IRS before.       It just goes to the point that this case

03:06:02PM 19    is not being prepared -- the summonses are not to prepare

03:06:05PM 20    the case for tax court, we need legitimate information.

03:06:09PM 21    And I want to build that record.

03:06:11PM 22              MR. BECK:      Your Honor, this is dated 2006, is it?

03:06:19PM 23    And he said --       The last question was, we did get the

03:06:22PM 24    information -- we didn't get it all exactly when we wanted

03:06:25PM 25    it, but then we got it.         And Quinn Emanuel didn't come



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03:06:31PM   1   along until May of 2014.         And there is no linkage

03:06:37PM   2   whatsoever between the contents of this document and the

03:06:43PM   3   circumstances of the Quinn Emanuel hiring.               It is truly

03:06:51PM   4   what was warned about in our opening statement.

03:06:54PM   5             MR. WEAVER:      Your Honor, I am laying the

03:06:55PM   6   foundation as to why the IRS needed assistance in this

03:06:59PM   7   audit.    There are major things that were suspicious.             I am

03:07:03PM   8   about to lay a foundation of why the summonses are

03:07:06PM   9   perfectly legitimate, and why the issuance of those

03:07:08PM 10    summonses had nothing to do with the retention of Quinn

03:07:12PM 11    Emanuel or the regulation.

03:07:13PM 12              THE COURT:      All right.      The objection will be

03:07:15PM 13    overruled.     15 will be admitted, Madam Clerk.

03:07:20PM 14         (Exhibit No. 15 was admitted.)

03:07:20PM 15    By Mr. Weaver:

03:07:21PM 16    Q.    Mr. Hoory, I would now turn your attention very

03:07:23PM 17    briefly to Page 14.        Mr. Hoory, there is a number of

03:07:32PM 18    $30 billion at the bottom there.            Can you explain to me

03:07:35PM 19    how this impacted on the audit and your need for

03:07:39PM 20    expertise?

03:07:39PM 21    A.    Sure.    So this says 30 billion for MACSH, that is

03:07:46PM 22    MOPRs, Puerto Rico's parent.           When we look at the backup

03:07:51PM 23    for this, it was prepared using the exact same profit and

03:07:55PM 24    loss forecast that KPMG relied on.             This was for tax

03:07:58PM 25    purposes.     It used the exact same information, which was



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03:08:01PM   1   effective as of July 1st, because that's what the P&L

03:08:04PM   2   started with, July 1, 2005, notwithstanding this was a few

03:08:06PM   3   months later.        So this was based on a forecast, the same

03:08:18PM   4   forecast KPMG used for the July 1st, 2005 effective

03:08:33PM   5   valuation.       The $30 billion here is based on the same

03:08:36PM   6   information KPMG used, the same forecast.                 And it

03:08:39PM   7   basically says that when Duff & Phelps looked at this and

03:08:44PM   8   asked what the right value was for this for a tax

03:08:46PM   9   transaction that occurred nine months later, they said it

03:08:50PM 10    was $30 billion.         Because that information was the same

03:08:53PM 11    information KPMG relied on as of July 1st, 2005, they are

03:08:58PM 12    effectively saying a company that was worth nothing or a

03:09:02PM 13    nominal amount on June 30th, 2005, was worth 30 billion

03:09:06PM 14    one day later.

03:09:07PM 15    Q.    And did you want to pursue this through additional

03:09:11PM 16    expertise?

03:09:12PM 17    A.    We did.

03:09:12PM 18    Q.    Let's move on to Exhibit 41.             Mr. Hoory, a few

03:09:28PM 19    minutes ago you described your knowledge about KPMG as

03:09:32PM 20    having done valuation work in connection with the Americas

03:09:36PM 21    transaction.       Did there come a time when your view of

03:09:42PM 22    KPMG's role in this transaction that is under audit

03:09:46PM 23    changed?

03:09:46PM 24    A.    Yes.     Through the summonses that were issued to KPMG,

03:09:51PM 25    and one of the IDRs to Microsoft in the fall of 2014, we



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03:09:58PM   1   learned that KPMG had also helped them -- at least

03:10:01PM   2   provided input on structuring the transaction.

03:10:04PM   3   Q.    And you learned this information essentially within

03:10:08PM   4   the last year, even though the audit has been going on for

03:10:12PM   5   a number of years?

03:10:13PM   6   A.    Correct.

03:10:13PM   7   Q.    So we are on Exhibit 41.         And I will just highlight

03:10:22PM   8   this.    We can blow it up.        Quote, "New company won't even

03:10:27PM   9   have a chart of accounts for probably 18 months.                   Shadow

03:10:30PM 10    books necessary."       Did that catch your eye when you read

03:10:34PM 11    this document recently?

03:10:35PM 12    A.    It did.    It seemed to reflect concerns that the

03:10:37PM 13    Puerto Rican entity that was immediately worth $30 billion

03:10:41PM 14    one day later, that when they set this up, it wasn't going

03:10:43PM 15    to be doing much more for 18 months, and didn't have any

03:10:46PM 16    accounts.

03:10:46PM 17    Q.    Let's turn to Page 2.        Blow that paragraph up.           "What

03:10:58PM 18    can we do to make this thing real?             Notify third parties,

03:11:01PM 19    at a minimum."       It goes on about maybe entering into some

03:11:05PM 20    sort of insurance.        What did this mean to you when you

03:11:07PM 21    read it?

03:11:08PM 22    A.    It basically confirmed the bells that had been

03:11:10PM 23    ringing for us, Puerto Rico doesn't have third-party

03:11:14PM 24    contacts, it doesn't make sales, and here they are looking

03:11:18PM 25    at ways they could make -- to make this deal look like it



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03:11:21PM   1   is a real business deal as opposed to something that they

03:11:24PM   2   just did for tax purposes.

03:11:25PM   3   Q.    Let's go back out and go to the top of the first page

03:11:29PM   4   of this exhibit, please.         The first page.        This appears to

03:11:33PM   5   be a Microsoft preplanning meeting, March 31, 2005.                Do

03:11:37PM   6   you recognize the folks listed at the top there?

03:11:39PM   7   A.    I do.     They look like the persons from KPMG that were

03:11:43PM   8   performing the valuation for Microsoft.

03:11:45PM   9   Q.    And this came in through the summons that -- one of

03:11:48PM 10    the summonses at issue, or the one that preceded that; is

03:11:51PM 11    that correct?

03:11:51PM 12    A.    It was.     I think we received this, actually, this

03:11:54PM 13    year, from KPMG.

03:11:56PM 14              MR. WEAVER:      I would move Exhibit 41 into

03:11:58PM 15    evidence.

03:11:58PM 16              MR. BECK:      The same objection, your Honor.           There

03:12:00PM 17    has been no linkage whatsoever.            It is a mudslinging

03:12:03PM 18    campaign, and it is objectionable.

03:12:08PM 19              THE COURT:      Thank you.      That will be overruled.

03:12:10PM 20    41 will be admitted.

03:12:12PM 21         (Exhibit No. 41 was admitted.)

03:12:12PM 22    By Mr. Weaver:

03:12:13PM 23    Q.    One more, Exhibit 40.        Let's turn to Exhibit 40,

03:12:17PM 24    please.     Do you recognize Exhibit 40, Mr. Hoory?

03:12:21PM 25    A.    I do.     It is the second set of notes.           This one has



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03:12:25PM   1   attendees from Microsoft, as well as KPMG.

03:12:29PM   2   Q.    The attendees from Microsoft, are they Microsoft tax

03:12:33PM   3   department folk?

03:12:34PM   4   A.    Yes, including David Guenther and Glen Cogswell, two

03:12:38PM   5   of the persons identified at Microsoft as having

03:12:41PM   6   participated in structuring this deal.

03:12:43PM   7   Q.    I want to refer you to Page 2 of this document,

03:12:48PM   8   please.

03:12:48PM   9             MR. BECK:      Your Honor, before we go on, could I

03:12:51PM 10    just make a foundational objection?             I would at least like

03:12:54PM 11    to know when they first received this document.

03:12:57PM 12              THE COURT:      Can you answer that, Mr. Hoory?

03:13:00PM 13    By Mr. Weaver:

03:13:00PM 14    Q.    Mr. Hoory, do you know when you received this

03:13:02PM 15    document?

03:13:02PM 16    A.    This was received in response to the KPMG summons

03:13:06PM 17    that we issued.       We had a September summons, and then

03:13:09PM 18    repeated in November.         I don't know exactly when this

03:13:15PM 19    Bates number was received.          It would have been sometime in

03:13:18PM 20    the fall of 2014, or early -- I'm sorry, fall of 2014 or

03:13:22PM 21    early 2015.

03:13:24PM 22              MR. BECK:      That is sufficient for my purposes,

03:13:25PM 23    your Honor.      I object.     He promised that all of this had

03:13:29PM 24    to do with why they needed to hire Quinn Emanuel.                  Quinn

03:13:33PM 25    Emanuel was hired long before they even get this document.



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03:13:37PM   1              MR. WEAVER:     What I said, your Honor, was this has

03:13:39PM   2   to do with the purpose for the summons.              It has nothing to

03:13:43PM   3   do with trying to get the tax work.

03:13:45PM   4              THE COURT:     All right.

03:13:46PM   5   By Mr. Weaver:

03:13:47PM   6   Q.    If we could blow up the paragraph that has to do with

03:13:49PM   7   May '99.     Mr. Hoory, can you explain what this paragraph

03:13:59PM   8   means to you?

03:14:00PM   9   A.    So here they are talking about technology intangibles

03:14:04PM 10    versus non-technology, which they refer to as marketing

03:14:07PM 11    splits.

03:14:07PM 12               MR. BECK:     Your Honor, I have a slightly different

03:14:10PM 13    objection.     That is, he now says it has to do with why we

03:14:15PM 14    issued the summons.        They got the document after they

03:14:18PM 15    issued the summons.        This document came in after Quinn

03:14:24PM 16    Emanuel is hired, after the summons was already issued.

03:14:27PM 17    But they think it makes us look bad.             It has nothing to do

03:14:32PM 18    with either of those issues.

03:14:34PM 19               MR. WEAVER:     Your Honor, it does --

03:14:34PM 20               THE COURT:     It hasn't been moved into evidence

03:14:37PM 21    yet, counsel.      Let Mr. Weaver lay his foundation for his

03:14:40PM 22    questions.     If he moves it into evidence, then we can

03:14:44PM 23    discuss it at that point in time.

03:14:45PM 24               MR. WEAVER:     Thank you, your Honor.

03:14:47PM 25    By Mr. Weaver:



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03:14:47PM   1   Q.    Mr. Hoory, what was your understanding when you

03:14:49PM   2   received this document, about this paragraph?

03:14:50PM   3   A.    So my understanding was that the persons at this

03:14:54PM   4   meeting were concerned because they had different splits

03:14:58PM   5   between technology and non-technology in the prior cost

03:15:02PM   6   sharing arrangements that they performed for Europe, the

03:15:05PM   7   Middle East, and Africa, two of those, and the one in

03:15:08PM   8   Asia, versus what they were looking to do in the Americas.

03:15:12PM   9   There were inconsistencies in their technology and

03:15:14PM 10    non-technology splits, the same split that we wanted

03:15:18PM 11    information to more reliably determine.

03:15:20PM 12    Q.    What is the split that you understand KPMG to have

03:15:24PM 13    used in the Americas transaction?

03:15:25PM 14    A.    So in the Americas transaction, if you look at the

03:15:28PM 15    entire timeframe, it is approximately 78 percent towards

03:15:32PM 16    technology, and, using the terminology the taxpayer used

03:15:35PM 17    here, about 22 percent towards marketing.

03:15:38PM 18    Q.    And is that inconsistent with what you are looking at

03:15:41PM 19    here in this 2005 meeting document?

03:15:44PM 20    A.    It is.    Here they have much more -- at least some of

03:15:47PM 21    them are much more favorable towards non-technology, for

03:15:52PM 22    instance, 55 percent tech versus 45 non-tech.

03:15:57PM 23    Q.    Is trying to get down to the bottom of how much to

03:16:00PM 24    allocate to technology versus non-technology at the core

03:16:04PM 25    of most of the pending summonses requests --



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03:16:07PM   1   A.    Absolutely.      It is central to the outbound sale of

03:16:10PM   2   software code, and to the inbound payments from -- I'm

03:16:16PM   3   sorry, not inbound.        The outbound sale and inbound

03:16:20PM   4   payments by Puerto Rico, and then the transfer price that

03:16:23PM   5   the United States pays Puerto Rico, that 68 billion.                       If

03:16:27PM   6   technology is too high, the U.S. is paying Puerto Rico too

03:16:31PM   7   much, and there is too little income reported in the

03:16:33PM   8   United States.

03:16:34PM   9             MR. WEAVER:      Your Honor, I will move on.              First,

03:16:36PM 10    let me move for this exhibit's admission into the record.

03:16:39PM 11              MR. BECK:      We object, your Honor.         Quinn Emanuel

03:16:42PM 12    was hired in May of 2014, the designated summons issued, I

03:16:52PM 13    believe, October 30, 2014.          This witness said that this

03:16:59PM 14    document was received in November or December.                    That's

03:17:02PM 15    after Quinn Emanuel is hired.           It had nothing to do with

03:17:05PM 16    that.    It was after the designated summons issued.                  It had

03:17:11PM 17    nothing to do with that.         It is totally irrelevant, and it

03:17:16PM 18    is part of what looks pretty clearly like a calculated

03:17:19PM 19    effort to disclose confidential information they think

03:17:24PM 20    will make us look bad in retaliation for us daring to

03:17:28PM 21    oppose the IRS.

03:17:30PM 22              MR. WEAVER:      Your Honor, if I may?          We agreed to

03:17:33PM 23    the redactions Microsoft wanted to make in this exhibit.

03:17:37PM 24    What this goes to is, we are trying to get this same kind

03:17:41PM 25    of information through all of the summons requests that



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03:17:45PM   1   have to do with the Americas transaction.               And there are

03:17:48PM   2   things that are just now coming out in 2014 and 2015 that

03:17:52PM   3   completely justify why the requests are pending.                   That's

03:17:55PM   4   what this goes to.

03:17:56PM   5              THE COURT:     All right.      41 will be admitted.

03:18:00PM   6        (Exhibit No. 41 was admitted.)

03:18:00PM   7   By Mr. Weaver:

03:18:01PM   8   Q.    Mr. Hoory, let me take you back in time now.                 You

03:18:05PM   9   went through three timelines earlier today.                So can you

03:18:10PM 10    very briefly just tell me why, if you started getting

03:18:17PM 11    experts in 2012, it took all the way until, let's say, the

03:18:23PM 12    fall of 2013 before you were even thinking about being

03:18:27PM 13    ready to talk with Microsoft in that third timeline?

03:18:31PM 14    A.    So we needed to learn enough to raise intelligent

03:18:35PM 15    questions and see what we agreed with them on and what we

03:18:39PM 16    didn't.    We needed to have our industry expertise, that

03:18:42PM 17    is, our software industry experts, and our financial

03:18:44PM 18    experts, and in particular our software code expert,

03:18:47PM 19    complete their analysis so that they could provide that to

03:18:49PM 20    our economist, and our economist in turn can do the

03:18:53PM 21    modeling, because each of these people play a different

03:18:56PM 22    role, and the economist's work depends on those other

03:18:58PM 23    experts.

03:18:58PM 24         In particular, with respect to the software code

03:19:00PM 25    expert, it took a while for that to be completed.                   For



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03:19:05PM   1   about the first six months or so we were getting new

03:19:08PM   2   reports, new reports that we had not previously gotten

03:19:11PM   3   from the company, on their internal code churn or code

03:19:16PM   4   reuse analyses.       So our experts had to talk to the person

03:19:19PM   5   who authored those reports, ask questions, make sure we

03:19:23PM   6   understood them.

03:19:24PM   7        By November of 2012, so about six months in, our

03:19:27PM   8   experts knew enough to begin to request what source code

03:19:30PM   9   they wanted to look at to measure reuse.               So code reuse

03:19:35PM 10    was something that KPMG cited in their evaluation as one

03:19:39PM 11    of their rationales for their short useful life there,

03:19:43PM 12    which impacts the valuation.           Our expert needed to look at

03:19:46PM 13    software code.

03:19:47PM 14         And then from November, for several months, there were

03:19:50PM 15    delays where we went back and forth with the company about

03:19:52PM 16    where and under what conditions our software code experts

03:19:56PM 17    would be allowed to look at the software code.                    Eventually

03:19:59PM 18    those were resolved.        Our expert was not able to complete

03:20:01PM 19    their analysis until the end of August in 2013.

03:20:05PM 20    Q.    Let me stop you there.         The software code expert,

03:20:08PM 21    upon which other experts were going to use as input, was

03:20:13PM 22    done in the fall of 2013?

03:20:15PM 23    A.    Yeah.    They completed looking at the code in, I

03:20:17PM 24    think, August, and then they had to have some time to

03:20:20PM 25    prepare their analysis so we could give it to the



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03:20:22PM   1   economist.

03:20:22PM   2   Q.    Now, was it your intention to try to then present the

03:20:26PM   3   findings of these experts to Microsoft to resolve issues,

03:20:29PM   4   or at least narrow them?

03:20:30PM   5   A.    Absolutely.       That was the meeting that is reflected

03:20:33PM   6   on all of the timelines.

03:20:34PM   7   Q.    And because I am not sure it is in the record yet,

03:20:37PM   8   did you also want to retain an outside commercial

03:20:39PM   9   litigator to help evaluate the case before you made that

03:20:43PM 10    presentation?

03:20:43PM 11    A.    That was the initial attempt for Boies Schiller.              By

03:20:48PM 12    the time we got looking at Quinn Emanuel, that was

03:20:52PM 13    impractical.       Initially we wanted that input before we

03:20:54PM 14    went to Microsoft so that we could have an independent

03:20:57PM 15    analysis and gut check.

03:21:00PM 16    Q.    And can you recall when the Boies Schiller contract

03:21:05PM 17    that never got worked on was entered into, roughly?

03:21:08PM 18    A.    I think it was awarded sometime towards the end of

03:21:13PM 19    fiscal year 2011.

03:21:15PM 20    Q.    You mean 2013?

03:21:17PM 21    A.    Yes.     I'm sorry, 2013.        I don't remember the exact

03:21:20PM 22    month.    On or about like June 2013, thereabouts.

03:21:23PM 23    Q.    Well, for non-governmental people, end of fiscal

03:21:28PM 24    year --

03:21:28PM 25    A.    September.       The end of the fiscal year is September.



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03:21:31PM   1   So sometime between June and September that contract was

03:21:33PM   2   awarded.

03:21:34PM   3   Q.    And just in a sentence or two, why was no work done

03:21:40PM   4   on that contract?

03:21:40PM   5   A.    No work was done because we were unable to clear a

03:21:43PM   6   conflicts of interest issue.

03:21:45PM   7   Q.    Now, did -- after the government shutdown that you

03:21:49PM   8   mentioned earlier today, did you in fact meet with

03:21:52PM   9   Microsoft and try to resolve outstanding issues?

03:21:55PM 10    A.    We did.     We met with them, presented our preliminary

03:21:58PM 11    analysis for them on January 14th, and suggested a number

03:22:01PM 12    of areas where we had open questions, and thought we

03:22:04PM 13    needed more information, and wanted to engage with them.

03:22:07PM 14    Q.    If I could have Exhibit 14 up, please.              Do you

03:22:18PM 15    recognize Exhibit 14?

03:22:19PM 16    A.    I do.     It is the presentation I delivered on

03:22:22PM 17    January 14th, 2014.

03:22:25PM 18               MS. EAKES:     Your Honor, if I may.         We do have

03:22:27PM 19    continuing issues with respect to 14, as well, as it

03:22:31PM 20    relates to redactions.         So if Mr. Weaver is in agreement

03:22:35PM 21    with respect to 16 --         We would like to make sure that is

03:22:38PM 22    what the agreement is before they go into this document.

03:22:40PM 23               MR. WEAVER:     Yes, your Honor.        It is not my plan,

03:22:43PM 24    hopefully, to refer to the page that is not agreed.

03:22:46PM 25               THE COURT:     All right.



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03:22:47PM   1   By Mr. Weaver:

03:22:47PM   2   Q.    Mr. Hoory, I think you said you did recognize this.

03:22:50PM   3   This was part of the presentation?

03:22:51PM   4   A.    Absolutely.

03:22:52PM   5   Q.    Let's turn to Page 22.         So with the benefit of this

03:23:01PM   6   page, can you in very short order tell me where the areas

03:23:07PM   7   of discussion were with respect to revenues?

03:23:11PM   8   A.    So on revenues --       These are financial inputs in the

03:23:14PM   9   valuation model.       Microsoft assumed very low growth rates

03:23:18PM 10    for tax purposes, about four percent, for example, in

03:23:21PM 11    2006.    In their SEC reporting they were saying ten to

03:23:25PM 12    twelve percent, approximately.           That was a large

03:23:27PM 13    difference.      Also, in this CAGR, or compounded annual

03:23:31PM 14    growth calculation error -- they had math errors.

03:23:35PM 15    Q.    How much was the math error over time?

03:23:37PM 16    A.    Over time it understated -- if you believe everything

03:23:40PM 17    else, it understated revenues by approximately

03:23:43PM 18    $15 billion.

03:23:44PM 19    Q.    Can you briefly tell me, very briefly, about where

03:23:51PM 20    the areas were for expenses that you wanted to discuss?

03:23:57PM 21    A.    For expenses, we had to allocate worldwide expenses

03:24:00PM 22    to the region and to the retail channel, what was

03:24:03PM 23    applicable for this deal.          We found some math errors

03:24:07PM 24    there, some distortions.         There was also open questions

03:24:10PM 25    about how to identify geographic revenues and expenses



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03:24:14PM   1   that we hoped to engage with them on.

03:24:16PM   2   Q.    Last, what did you mean by writing, "Deal of the

03:24:20PM   3   century return on investment"?

03:24:23PM   4   A.    This is what our financial expert who worked on Wall

03:24:26PM   5   Street said.      He looked at the return that MOPR,

03:24:29PM   6   Puerto Rico that is, was expected, and it was over

03:24:33PM   7   200 percent per year.         He said that's unheard of.           Maybe

03:24:38PM   8   not for a start-up company, but certainly for an

03:24:41PM   9   established company with an established business as a new

03:24:43PM 10    investor.

03:24:47PM 11    Q.    Now, during the meeting, who was there for Microsoft?

03:24:51PM 12    A.    So they had, I believe, four attorneys from Baker

03:24:54PM 13    McKenzie, which was Jim O'Brien, Salim Rahim, Paul Schick,

03:25:01PM 14    and John Peterson.        There was Bill Sample, and Mike

03:25:05PM 15    Bernard, as well as, I believe, Molly Vlahovich, and David

03:25:08PM 16    Guenther, and Tracy Neighbors from Microsoft.

03:25:11PM 17    Q.    Who ended up asking most of the questions at your

03:25:14PM 18    resolution meeting?

03:25:15PM 19    A.    Most of the questions were posed by Baker & McKenzie

03:25:19PM 20    attorneys.

03:25:19PM 21    Q.    What happened after this meeting?

03:25:21PM 22    A.    After this meeting, we initially broke (sic) with

03:25:23PM 23    them, shook hands.        They said they had to think a little.

03:25:27PM 24    They promised us feedback within 30 to 60 days, at least

03:25:29PM 25    on the mechanical issues.          Eventually, after going back



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03:25:32PM   1   and forth a little, in mid to late February, Mr. Sample

03:25:36PM   2   said he wasn't sure that we could meet; he didn't think we

03:25:39PM   3   could do global resolution, but they were still committed

03:25:42PM   4   to giving us 60-day feedback.           Through March, April and

03:25:46PM   5   May, it was sort of a hot/cold message from the company.

03:25:49PM   6   Sometimes it was, "We can't talk to you on anything."                At

03:25:51PM   7   other times, "Oh, we will still talk to you on these

03:25:54PM   8   things."     For example, in May we were still talking about

03:25:56PM   9   engaging on the revenue and expense systems that input the

03:26:02PM 10    dollars and cents for these valuation models.                We shared

03:26:06PM 11    an outline with them.         And they said, "We are still

03:26:10PM 12    looking at your stuff, we are still looking at the

03:26:12PM 13    materials you gave us in January, we need more time."                I

03:26:15PM 14    told Mr. Bernard and Molly Vlahovich, "Well, we are going

03:26:20PM 15    to have to do interviews.          We can't wait a couple more

03:26:22PM 16    months."

03:26:22PM 17    Q.    When did you tell them they were going to have to do

03:26:26PM 18    interviews?

03:26:26PM 19    A.    Repeatedly.      This was specifically focused on May.             I

03:26:29PM 20    believe it was the May 1st meeting where we talked about

03:26:32PM 21    that.    The next week we issued IDRs actually seeking the

03:26:36PM 22    identity of the persons who were responsible for managing

03:26:39PM 23    their accounting systems, the accounting systems that were

03:26:41PM 24    used to input revenues and expenses.             Because if we

03:26:46PM 25    couldn't talk to the tax department in a collaborative



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03:26:49PM   1   manner, we needed to talk to the people who held the, I

03:26:52PM   2   guess, keys to the actual systems, the businesspeople.

03:26:54PM   3   Q.    Now, let me just back up for a second.                You testified

03:26:58PM   4   earlier today that you had an initial meeting with Quinn

03:27:02PM   5   Emanuel for the purposes of seeing if you wanted to retain

03:27:04PM   6   them; is that correct?

03:27:05PM   7   A.    That's correct.

03:27:06PM   8   Q.    From that point forward, all the way through July 15,

03:27:10PM   9   when you sent information to them, did you have any

03:27:12PM 10    substantive conversations or did you get any advice from

03:27:16PM 11    Quinn Emanuel?

03:27:16PM 12    A.    No.    The conversations were purely limited to

03:27:20PM 13    procedural issues, logistics, about the contracting

03:27:23PM 14    process.

03:27:24PM 15    Q.    Now, I think it is in one of Microsoft's

03:27:28PM 16    declarations, they talk about your issuing five, quote,

03:27:32PM 17    wrap-up IDRs in the first few months of 2014.                  Did you

03:27:37PM 18    consider those to be wrap-up IDRs?

03:27:40PM 19    A.    I considered them to be IDRs on open issues.

03:27:43PM 20    Q.    And did there come a time when you thought that there

03:27:48PM 21    needed to be follow-up with additional IDRs?

03:27:51PM 22    A.    Yes.     Basically we focused initially --             I think only

03:27:56PM 23    four of those five were focused on pure transfer pricing

03:28:01PM 24    issues, one or two on Asia Pacific, and the other two were

03:28:04PM 25    seeking the identities of these people, these managers of



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03:28:07PM   1   accounting systems, so we could talk to them.                And then,

03:28:09PM   2   you know, in July, after Mr. Sample said, "We are not

03:28:13PM   3   going to talk to you on anything at all; just finish your

03:28:15PM   4   audit," then we went back and we issued -- well, actually

03:28:21PM   5   July -- before and after he said that, we were preparing

03:28:25PM   6   IDRs on all the topics that we thought were necessary to

03:28:28PM   7   get to the right split, to get to the right number between

03:28:32PM   8   technology and non-technology.           And those were the July

03:28:35PM   9   IDRs.

03:28:35PM 10    Q.    I want to focus on the July IDRs.            Did you start

03:28:40PM 11    preparing those in May and June, before you had any

03:28:41PM 12    conversations with Quinn Emanuel?

03:28:42PM 13    A.    Yes, before I had any substantive conversations with

03:28:44PM 14    Quinn Emanuel.

03:28:45PM 15    Q.    Did Quinn Emanuel have any input whatsoever in the

03:28:48PM 16    July IDRs that were issued to Microsoft?

03:28:50PM 17    A.    They had absolutely no input whatsoever on the July

03:28:54PM 18    11th IDRs or on the July 18th IDR.

03:28:57PM 19    Q.    Did those IDRs essentially ask for some of the same

03:29:00PM 20    information that are being asked for in the pending

03:29:03PM 21    summonses?

03:29:04PM 22    A.    They do.     They are split up by subject matter.            They

03:29:07PM 23    are on subject matters we thought would help us with the

03:29:09PM 24    revenue and expense inputs, or with subject areas that

03:29:14PM 25    would be potentially informative as to the split between



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03:29:17PM   1   tech and non-tech.

03:29:18PM   2   Q.    And did one of those IDRs ask questions about who

03:29:22PM   3   outside of Microsoft helped plan and draft the Americas

03:29:24PM   4   agreements?

03:29:25PM   5   A.    It did.    IDR IE-2209 asked about background

03:29:30PM   6   information about the Americas planning.

03:29:32PM   7   Q.    And did you get a sufficient response prior to the

03:29:36PM   8   summonses?

03:29:36PM   9   A.    We did not receive any documents in response to that

03:29:40PM 10    IDR until, I believe, October 2nd, although the cover

03:29:45PM 11    letter is dated September 30th.            And we received

03:29:51PM 12    significant and material new information, that had not

03:29:54PM 13    been previously provided, in response to the summonses.

03:29:57PM 14    We are still seeking additional information.

03:29:59PM 15    Q.    Now, the regulation has been referred to here today.

03:30:07PM 16    I just want to ask a follow-up question.               You mentioned

03:30:10PM 17    something about Tom Ralph having handled another case that

03:30:17PM 18    you learned about in 2013.          Did there come a time in 2014

03:30:22PM 19    when Mr. Ralph and you had some discussion about this

03:30:26PM 20    regulation?

03:30:27PM 21    A.    There did.     When the regulation was finally

03:30:31PM 22    promulgated and final, Tom took credit for it, and

03:30:35PM 23    jokingly referred to it as, "It shall be known in the

03:30:39PM 24    future as the Ralph Rule."          That was the joke between

03:30:41PM 25    those of us in Transfer Pricing Operations.



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03:30:44PM   1   Q.    Let me turn to the designated summons very quickly.

03:30:59PM   2   That would be Exhibit 13.          Do you recognize Exhibit 13?

03:31:08PM   3   A.    I do.    It is a designated summons issued on

03:31:12PM   4   October 30th.

03:31:13PM   5             MR. WEAVER:      Your Honor, I would move that into

03:31:16PM   6   evidence.

03:31:18PM   7             THE COURT:      Any objection to 13, counsel?

03:31:21PM   8             MR. BECK:      No objection.

03:31:22PM   9             THE COURT:      Thank you.      Madam Clerk, 13 will be

03:31:25PM 10    admitted.

03:31:28PM 11         (Exhibit No. 13 was admitted.)

03:31:28PM 12    By Mr. Weaver:

03:31:29PM 13    Q.    Let me refer you, if I could, Mr. Hoory, to several

03:31:33PM 14    of these requests, several pages in.             I think they are on

03:31:36PM 15    Page 8.     I will refer you to the requests 14 through 17.

03:31:46PM 16    Can you briefly summarize the kind of information that you

03:31:49PM 17    are seeking in the designated summons in 14 through 17?

03:31:53PM 18    A.    So all of these requests focus on forecast or forward

03:31:57PM 19    looking expectations that the company had internally.

03:32:00PM 20    Some of them focus on forecasts or expectations that were

03:32:05PM 21    used for business planning.          And 17 specifically focuses

03:32:08PM 22    on the forecasts that we were aware of, that the company

03:32:10PM 23    had previously given us, as having been prepared in

03:32:12PM 24    connection with their tax deal.

03:32:13PM 25    Q.    Let's flip very quickly now to Exhibit 28.                  Do you



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03:32:26PM   1   recognize Exhibit 28?

03:32:27PM   2   A.    I do.    It is an IDR issued back in 2008, seeking

03:32:31PM   3   forecast information relevant to the business groups in

03:32:35PM   4   the Americas that were the subject of the Americas

03:32:38PM   5   cost-sharing arrangement.

03:32:40PM   6   Q.    And what is the response from Microsoft here?

03:32:43PM   7   A.    The response refers back to an earlier IDR response.

03:32:48PM   8   Basically they are saying, "Go look at the forecast that

03:32:51PM   9   KPMG used," without providing any additional information.

03:32:52PM 10              MR. WEAVER:      I would move this exhibit into

03:32:54PM 11    evidence, your Honor.

03:32:59PM 12              THE COURT:      Any objection to 28?

03:33:02PM 13    By Mr. Weaver:

03:33:03PM 14    Q.    Let's turn to Exhibit 29.

03:33:04PM 15              MR. BECK:      No objection.

03:33:05PM 16              THE COURT:      28 will be admitted, Madam Clerk.

03:33:07PM 17         (Exhibit No. 28 was admitted.)

03:33:07PM 18    By Mr. Weaver:

03:33:07PM 19    Q.    What is Exhibit 29?

03:33:08PM 20    A.    This is a follow-up IDR that I was involved with in

03:33:11PM 21    2013.    We were seeking information about the forecast that

03:33:19PM 22    they referred to.       That is that 2026 IDR forecast.            We

03:33:24PM 23    basically wanted to know, "Hey, did you look at anything

03:33:27PM 24    else for tax purposes?         If so, give us a copy of it."            And

03:33:30PM 25    we asked if they had any supporting documentation for that



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03:33:33PM   1   forecast to explain these low growth rates that they used.

03:33:37PM   2   We also asked who was responsible for preparing that

03:33:39PM   3   forecast for the tax-driven valuation.

03:33:42PM   4   Q.    Let's flip to the third page.           Did they identify

03:33:50PM   5   someone?

03:33:50PM   6   A.    Yes, they basically said that Chris Suh, who was one

03:33:54PM   7   of the people we interviewed in October, prepared it at

03:33:58PM   8   the request of Glen Cogswell, who is also one of the

03:34:01PM   9   people we have issued a summons for, seeking testimony.

03:34:04PM 10    Q.    Did they refer you to a particular document here?

03:34:09PM 11    A.    They referred to the same document that was provided

03:34:11PM 12    in response to IDR IE-2026.          That is the

03:34:21PM 13    2005_0926_MSFT_PL.xls.         In response to our request for any

03:34:25PM 14    backup documentation describing anything -- any of the

03:34:27PM 15    assumptions therein, you know, detail on that forecast,

03:34:30PM 16    they say they couldn't find anything -- or that they would

03:34:32PM 17    look.

03:34:32PM 18    Q.    Let's go to Exhibit --

03:34:35PM 19               MR. WEAVER:     I would move that exhibit into

03:34:37PM 20    evidence, your Honor, 29.

03:34:39PM 21               MR. BECK:     No objection.

03:34:40PM 22               THE COURT:     Madam Clerk, 29 is admitted.

03:34:43PM 23         (Exhibit No. 29 was admitted.)

03:34:43PM 24    By Mr. Weaver:

03:34:44PM 25    Q.    Exhibit 30, please.        What is Exhibit 30?



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03:34:52PM   1   A.    Exhibit 30 was issued at the same time as the

03:34:54PM   2   previous one.

03:34:55PM   3   Q.    What does it ask for?

03:34:56PM   4   A.    It asks for a forecast, except this time we are

03:34:59PM   5   focusing on business forecasts, the same thing they used

03:35:02PM   6   for their business planning, as well as any tax forecast

03:35:05PM   7   that they prepared, other than the one relied on by KPMG.

03:35:08PM   8   Q.    And what is the response?

03:35:10PM   9   A.    They say they couldn't find a single forecast of the

03:35:13PM 10    type we described prepared during the entire calendar year

03:35:17PM 11    of 2005.

03:35:18PM 12    Q.    All right.     Let's move to Exhibit 8.

03:35:22PM 13               MR. WEAVER:     First, I would move Exhibit 30 into

03:35:25PM 14    evidence.

03:35:25PM 15               MR. BECK:     No objection.

03:35:26PM 16               THE COURT:     30 will be admitted.

03:35:28PM 17         (Exhibit No. 30 was admitted.)

03:35:28PM 18    By Mr. Weaver:

03:35:29PM 19    Q.    Let's go to Exhibit 8.         What is Exhibit 8?

03:35:31PM 20    A.    Exhibit 8 is the interview transcript for our

03:35:33PM 21    interview of Chris Suh, the same person who was identified

03:35:37PM 22    as having prepared the forecast at the behest of the tax

03:35:41PM 23    department.      So he is an internal person at Microsoft in

03:35:44PM 24    their -- I think it is their financial planning

03:35:46PM 25    department.



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03:35:46PM   1   Q.    And who led that interview?

03:35:50PM   2   A.    I did.

03:35:50PM   3   Q.    And let's turn to Page 99.          Can you tell me what is

03:36:01PM   4   going on in this part of the interview, please?

03:36:02PM   5   A.    In Lines 5 through 7, and clarified in 10 through 12,

03:36:06PM   6   I am saying, "Hey, has anyone asked you or contacted you

03:36:10PM   7   with respect to this tax project that you did for Glen

03:36:13PM   8   Cogswell, the project that he did to prepare forecasts

03:36:16PM   9   that KPMG could use?"         And he says, "No, no one has

03:36:20PM 10    contacted me within the last six months."

03:36:24PM 11    Q.    And did you follow up through a summons request for

03:36:27PM 12    this information, the summons request we just looked at a

03:36:30PM 13    few moments ago?

03:36:31PM 14    A.    We did.    17 specifically focuses on the forecast that

03:36:36PM 15    Chris Suh prepared.        He also says in here, not just the

03:36:39PM 16    last six months, but he can't recall any time in the last

03:36:42PM 17    several years, which would encompass those IDRs we looked

03:36:45PM 18    at, when someone at the tax department reached out to him

03:36:48PM 19    and said, "Hey, do you have any materials related to this

03:36:51PM 20    project?"

03:36:51PM 21    Q.    Exhibit 31, please.

03:36:52PM 22            I am only going to refer to the first page here.

03:36:55PM 23    The same deal as the other two things that were not agreed

03:36:58PM 24    to?

03:36:58PM 25              MS. EAKES:      You are only going to refer to the



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03:37:01PM   1   first page of Page 31?         You are not going to move for its

03:37:03PM   2   admission?

03:37:05PM   3             MR. WEAVER:      I will move for its admission, but I

03:37:07PM   4   will agree --

03:37:08PM   5             MS. EAKES:      To the other redactions --

03:37:09PM   6             MR. WEAVER:      That you proposed.

03:37:09PM   7             THE COURT:      Hang on.     I want to make sure I

03:37:12PM   8   understand.      This is the same as No. 16?

03:37:14PM   9             MR. WEAVER:      Yes.

03:37:15PM 10              THE COURT:      The parties have not fully agreed on

03:37:17PM 11    the redactions, but before it is released, it will be in

03:37:19PM 12    fact -- the agreement will be reached?

03:37:22PM 13              MR. WEAVER:      Yes, your Honor, that is correct.

03:37:24PM 14              MR. BECK:      We agreed to the first one based on the

03:37:29PM 15    representation that he agrees to the redactions that we

03:37:32PM 16    proposed that they had previously resisted.

03:37:35PM 17              MR. WEAVER:      We are agreeing.

03:37:36PM 18              THE COURT:      Thank you.

03:37:37PM 19              MR. BECK:      So all of our proposed redactions that

03:37:40PM 20    are still in doubt get made?

03:37:42PM 21              MR. WEAVER:      As of the last round, yes.

03:37:46PM 22              MR. BECK:      Good.

03:37:47PM 23              THE COURT:      All right.

03:37:50PM 24         MR. WEAVER:     Before I forget, I would move the Suh

03:37:54PM 25    transcript, Exhibit 8, into evidence.



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03:37:56PM   1             MR. BECK:      We object to that, your Honor.            We have

03:37:57PM   2   one page that may be relevant, but it is 100 pages or so

03:38:02PM   3   of a transcript.       I can't sit here and tell you what's in

03:38:06PM   4   there and what is not in there.            I don't think that

03:38:08PM   5   transcripts typically would get moved into evidence

03:38:11PM   6   anyway.    But I don't think there is a need for an entire

03:38:14PM   7   transcript to come in when the subject matter was four or

03:38:19PM   8   five lines of testimony from a particular page.

03:38:22PM   9             MR. WEAVER:      Your Honor, there is another reason

03:38:23PM 10    for that transcript going in.           And if I have time, which I

03:38:27PM 11    may not, there are other transcripts in some of the

03:38:30PM 12    declarations submitted by Microsoft where they

03:38:33PM 13    cherry-picked a few pages in which John Gordon or another

03:38:37PM 14    Quinn Emanuel attorney asked some follow-up questions.

03:38:39PM 15    But if you look at the whole transcript, some of the

03:38:42PM 16    objecting attorneys for Microsoft are speaking more than

03:38:44PM 17    John Gordon spoke in those interviews.              So I do want the

03:38:49PM 18    interviews in the record.          And they have been redacted by

03:38:52PM 19    Microsoft.     We have agreed to the redactions, to redact

03:38:56PM 20    confidential information.          But it shows the volume of

03:38:59PM 21    questions that were asked by Quinn Emanuel as opposed to

03:39:03PM 22    the questions that were asked by IRS.

03:39:05PM 23              MR. BECK:      So it is for an entirely different

03:39:07PM 24    purpose than what it was used for in court; we now find

03:39:10PM 25    why he introduces it.         And, your Honor, the redactions



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03:39:13PM   1   just have to do with information that is confidential

03:39:17PM   2   business information that shouldn't be aired in court.             It

03:39:21PM   3   doesn't mean that unredacted material magically becomes

03:39:24PM   4   relevant.     And so we've got a large transcript, and I

03:39:30PM   5   don't know all that is in it.           If he wants to make a

03:39:33PM   6   rhetorical point about how many people made objections and

03:39:36PM   7   how many people said other things, he can do that in a

03:39:40PM   8   post-hearing submission.         But I don't think that an entire

03:39:43PM   9   transcript ought to come into the public record based on

03:39:47PM 10    his representations.

03:39:48PM 11              THE COURT:      That's my concern as well, Mr. Weaver.

03:39:51PM 12    I understand your point.         I also know that you focused on

03:39:55PM 13    the initial page, and I understood Mr. Hoory's testimony,

03:40:00PM 14    so we are not going to admit anything.

03:40:02PM 15              MR. WEAVER:      Fair enough, your Honor.

03:40:04PM 16    By Mr. Weaver:

03:40:05PM 17    Q.    Let's move on to Exhibit 31.           Mr. Hoory, Exhibit 31,

03:40:09PM 18    do you recognize this document?

03:40:10PM 19    A.    I do.    It is an email that was produced to us by

03:40:13PM 20    Microsoft, I believe at the end of December, but it has

03:40:17PM 21    Chris Suh on it, Fabien Mousseau.            Fabien Mousseau, I

03:40:23PM 22    understand from our interview with Mr. Suh, is someone

03:40:24PM 23    that worked with him and helped him with the forecast and

03:40:27PM 24    the exercise with respect to the Americas.

03:40:28PM 25    Q.    December of 2014?



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03:40:29PM   1   A.    That's when we received this.           I think the 31st of

03:40:32PM   2   December, if I recall correctly.

03:40:33PM   3   Q.    I am not going to turn to Page 2, but what did you

03:40:38PM   4   learn by receiving this that is relevant to your summons

03:40:41PM   5   requests?

03:40:42PM   6   A.    Well, three things:        First, there is a note that

03:40:46PM   7   refers to the forecasting exercise prepared for Glen

03:40:49PM   8   Cogswell.     And it attaches a fairly robust PowerPoint

03:40:53PM   9   presentation showing a lot of the inputs and assumptions

03:40:56PM 10    that were used in that forecast.            I think it is about 30

03:40:58PM 11    pages.    So that is all the detail that we were seeking in

03:41:01PM 12    2184 that they said they couldn't find.              And even though

03:41:04PM 13    Mr. Suh had this email, he didn't recall having been asked

03:41:08PM 14    for it under his transcript.           And now we got it, but only

03:41:12PM 15    after we issued a summons.

03:41:13PM 16         Number two, there is a reference there to conservative

03:41:16PM 17    forecasts.     And someone is dressing down another Microsoft

03:41:20PM 18    employee who assumed zero growth.            And that is something

03:41:24PM 19    that Microsoft did in the Asia Pacific deal.                We were also

03:41:27PM 20    trying to get forecast information.             Here, I think it was

03:41:31PM 21    Fabien or Chris Suh, or one of their colleagues says,

03:41:35PM 22    "Zero growth isn't the conservative case, it is the

03:41:38PM 23    abysmal case," is what he says.

03:41:41PM 24         And then, finally, we see that there is actually three

03:41:43PM 25    types of forecasts that they performed:              A conservative



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03:41:45PM   1   one, which is the lowest one that they performed.                  And

03:41:48PM   2   that's what they used in their tax valuation.                There is an

03:41:51PM   3   intermediate one, which is supposed to track market

03:41:54PM   4   expectations.      And then they have a BPR forecast, which is

03:41:58PM   5   the highest one.       And that's expectations if they executes

03:42:02PM   6   all of their strategies successfully.

03:42:03PM   7        What we know from this is no growth is an abysmal

03:42:07PM   8   case, not a conservative case; that the conservative case,

03:42:10PM   9   which is something I tried to get information from Mr. Suh

03:42:13PM 10    on but he couldn't recall, is the lowest forecast.                  And

03:42:15PM 11    they actually had a lot of backup to the forecast exercise

03:42:20PM 12    they performed for the tax department, yet we didn't

03:42:23PM 13    receive it until after we issued a summons.

03:42:24PM 14    Q.    And you had been asking for this information for

03:42:26PM 15    years?

03:42:26PM 16    A.    Since 2008, effectively.

03:42:28PM 17    Q.    Now, we are not going to look at all the exhibits.                  I

03:42:32PM 18    would like to, but can you tell me what you learned by

03:42:34PM 19    interviewing someone in the fall by the name of Bosco

03:42:37PM 20    Chau?

03:42:38PM 21    A.    Mr. Chau was offered by Microsoft as someone who knew

03:42:42PM 22    about their business investment funds, or BIF, B-I-F,

03:42:47PM 23    program.     And he characterized BIF investments as a sales

03:42:51PM 24    expense.

03:42:51PM 25         Previously in IDRs we had asked about why KPMG and



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03:42:55PM   1   Microsoft classified this BIF expense as routine, as

03:42:59PM   2   expenses that they did not treat as creating any

03:43:01PM   3   intangible value.       Leaving those expenses and other costs

03:43:04PM   4   out of those that they would count towards non-technology

03:43:07PM   5   would have had the result of undervaluing the non-tech,

03:43:11PM   6   basically influencing that split.            Microsoft's response to

03:43:16PM   7   our IDR said, "We treated those as routine, including

03:43:19PM   8   business investment funds expenses, as routine, because

03:43:22PM   9   they have no benefit beyond one year."

03:43:24PM 10         When we asked Mr. Chau about them, he said, "Actually,

03:43:27PM 11    BIF funds, they are used to recruit new clients, new

03:43:31PM 12    enterprise clients, clients that are relevant to the Asia

03:43:34PM 13    Pacific and the Americas transactions."

03:43:37PM 14         And when we asked him, "If you successfully deployed

03:43:42PM 15    BIF investments, these business investment fund -- proof

03:43:45PM 16    on concept investments, to get a new client, how long do

03:43:47PM 17    you expect them to last?"          And his answer was, "Three

03:43:49PM 18    years, because they typically award three-year contracts

03:43:52PM 19    to enterprise partners."         That belies the responses in the

03:43:56PM 20    IDRs that said business investment funds have no benefit

03:44:00PM 21    beyond one year.

03:44:00PM 22    Q.    And do the summonses at issue seek more information

03:44:03PM 23    about those kinds of sales and marketing programs?

03:44:06PM 24    A.    They do.     They seek a wide variety of information

03:44:09PM 25    with respect to sales and marketing programs.



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03:44:12PM   1   Q.    What did you learn by interviewing somebody by the

03:44:15PM   2   name of Hanson?

03:44:15PM   3   A.    Robert Hanson, as I recall, he was in charge of their

03:44:19PM   4   market research program.         And he had identified three

03:44:21PM   5   classes of market research that he considered large or

03:44:25PM   6   high-profile annual or more often research.                It was

03:44:29PM   7   basically customer satisfaction or CPE surveys, brand

03:44:35PM   8   tracking or image-tracking surveys, and then some

03:44:38PM   9   advertising research.

03:44:40PM 10         We had previously sought information about brands, I

03:44:44PM 11    believe it was in IDR IE-2145, initially.               And we had a

03:44:50PM 12    follow-up to that because we saw some high-level brand

03:44:52PM 13    studies up through 2000, but none between 2000 and 2009.

03:44:56PM 14    So we asked for those in IDR IE-2168, if I recall

03:45:07PM 15    correctly.

03:45:10PM 16         The response we received from Microsoft was they

03:45:12PM 17    couldn't find them; they thought they were discontinued.

03:45:14PM 18    When we asked Mr. Hanson about them, he said that they

03:45:17PM 19    were performed annually.         And we were asking about the

03:45:20PM 20    timeframe between 2000 and 2006.            So he described those

03:45:24PM 21    brand -- high-level brand studies as the types of things

03:45:28PM 22    that he remembers being performed regularly, annually or

03:45:31PM 23    more often.      Yet we didn't receive any after 2000.

03:45:35PM 24    Q.    And the summonses are seeking that kind of

03:45:36PM 25    information?



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03:45:37PM   1   A.    We are seeking that, and we are also seeking the CPE,

03:45:40PM   2   customer and partner experience surveys, that Mr. Hanson

03:45:43PM   3   mentioned, and that several other persons mentioned as

03:45:46PM   4   having been used to evaluate persons' performance, whether

03:45:50PM   5   they were successfully deploying sales and marketing

03:45:54PM   6   functions on behalf of Microsoft.

03:45:57PM   7   Q.    Without telling me any specific advice that you may

03:46:00PM   8   have received from Quinn Emanuel, how would you

03:46:03PM   9   characterize overall, at a high level, Quinn Emanuel's

03:46:07PM 10    impact on the designated summons?

03:46:09PM 11    A.    Very, very limited.

03:46:12PM 12    Q.    And let's turn to Exhibit 23.           Do you recognize

03:46:21PM 13    Exhibit 23?

03:46:22PM 14    A.    I do.

03:46:23PM 15    Q.    What is it?

03:46:26PM 16    A.    It is the summons we issued to KPMG on November 17th

03:46:29PM 17    for information relating to their assistance with

03:46:33PM 18    Microsoft's Americas valuation plan.

03:46:37PM 19    Q.    Did Quinn Emanuel have any impact on what was

03:46:40PM 20    requested here?

03:46:41PM 21    A.    I don't recall them providing any input on this

03:46:43PM 22    summons.

03:46:45PM 23               MR. WEAVER:     I would move this into evidence, your

03:46:47PM 24    Honor.

03:46:47PM 25               MR. BECK:     No objection, your Honor.



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03:46:48PM   1              THE COURT:     Madam Clerk, 23 will be admitted.

03:46:51PM   2        (Exhibit No. 23 was admitted.)

03:46:51PM   3   By Mr. Weaver:

03:46:52PM   4   Q.    Exhibit 22, please.        What is Exhibit 22, Mr. Hoory?

03:46:58PM   5   A.    A summons issued to E&Y, Ernst & Young, on

03:47:02PM   6   November 17th.       It is focused on Ernst & Young's role with

03:47:05PM   7   respect to the Asia Pacific transaction.

03:47:07PM   8   Q.    And do you recall Quinn Emanuel's input on this

03:47:10PM   9   summons?

03:47:10PM 10    A.    Absolutely none whatsoever.

03:47:13PM 11    Q.    Let's turn to Exhibit 21.

03:47:19PM 12               MR. WEAVER:     I would move Exhibit 22 into

03:47:21PM 13    evidence.

03:47:21PM 14               THE COURT:     Any objection to 22, Mr. Beck?

03:47:24PM 15               MR. BECK:     No objection.

03:47:25PM 16               THE COURT:     Thank you.      22 is admitted.

03:47:29PM 17         (Exhibit No. 22 was admitted.)

03:47:29PM 18    By Mr. Weaver:

03:47:30PM 19    Q.    Exhibit 21, please.        What is Exhibit 21?

03:47:35PM 20    A.    A November 20th summons, a related summons.                  It is

03:47:38PM 21    following up on the designated summons issued to Microsoft

03:47:41PM 22    Corporation.

03:47:41PM 23    Q.    And do you recall the input of Quinn Emanuel on this

03:47:44PM 24    document and the request therein?

03:47:47PM 25    A.    I believe this primarily focused on the Asia Pacific



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03:47:50PM   1   and some broad categories.           And I do not believe Quinn

03:47:53PM   2   Emanuel had any input whatsoever on this summons.

03:47:56PM   3               MR. WEAVER:     All right.      I will offer this into

03:48:04PM   4   evidence as well.

03:48:04PM   5               MR. BECK:     No objection.

03:48:05PM   6               THE COURT:     Thank you, counsel.         Exhibit 21 will

03:48:09PM   7   be admitted.

03:48:10PM   8        (Exhibit No. 21 was admitted.)

03:48:10PM   9   By Mr. Weaver:

03:48:10PM 10    Q.    Exhibit 20, please.         What is this?

03:48:15PM 11    A.    This is a November 19th summons that we issued to

03:48:19PM 12    Microsoft, a related summons.            Its subject matter focused

03:48:23PM 13    in large part on the Asia Pacific, but it had some cleanup

03:48:27PM 14    items with respect to the Americas as well.

03:48:30PM 15    Q.    And without revealing any advice that you may have

03:48:34PM 16    received from Quinn Emanuel, did Quinn Emanuel have any

03:48:37PM 17    significant role in the questions asked in this summons?

03:48:40PM 18    A.    No.    The only input I recall getting from them were

03:48:44PM 19    the typo corrections on this one.

03:48:46PM 20    Q.    Now, you have also issued summonses for interviews.

03:48:51PM 21    And I think eight are being enforced here through these

03:48:55PM 22    related actions.         Generally, why are you seeking testimony

03:48:59PM 23    of these individuals?

03:49:00PM 24    A.    So we are seeking testimony on the same subject areas

03:49:03PM 25    that were identified, effectively.              We are seeking



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03:49:07PM   1   information originally on -- in July.               A number of those

03:49:11PM   2   persons we requested interviews in September and October,

03:49:14PM   3   but then weren't scheduled by Microsoft.

03:49:18PM   4   Q.    And where did these names come from?

03:49:19PM   5   A.    They came from two sources.           They were either already

03:49:22PM   6   identified by Microsoft.          And previously requested

03:49:27PM   7   examples of those would be James Allchin, Jeffrey Raikes,

03:49:31PM   8   Craig Mundie, David Guenther.            We hadn't requested Glen

03:49:36PM   9   Cogswell, because we didn't then know how much he had to

03:49:39PM 10    do with the deal.        After we saw some of the correspondence

03:49:43PM 11    that was produced in documents, probably in October, we

03:49:47PM 12    knew he had a much greater role.             So then we asked for him

03:49:51PM 13    as well, another Microsoft employee.

03:49:54PM 14         The remainder were either mentioned in transcripts or

03:49:57PM 15    we already knew about them and confirmed -- that is, the

03:50:01PM 16    IRS already knew about them based on our pre-July

03:50:04PM 17    research, and we decided that we needed to cover some

03:50:07PM 18    topics that were not sufficiently addressed at the

03:50:10PM 19    September and October interviews.

03:50:13PM 20    Q.    Earlier today you were accused of asking for this

03:50:18PM 21    information in these summonses to essentially prepare for

03:50:21PM 22    tax court litigation.         Is that why these summonses were

03:50:24PM 23    prepared and the information sought?

03:50:27PM 24    A.    No.   We certainly know there is a possibility that

03:50:31PM 25    this will wind up in tax court.             And, obviously, given the



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03:50:34PM   1   state of the exam, that likelihood is obviously higher

03:50:37PM   2   than it might be in another case.

03:50:39PM   3        However, the summons is, just like in any examination,

03:50:42PM   4   they are supposed to help us get to the right number.                   And

03:50:44PM   5   regardless of the status of an examination, that is always

03:50:47PM   6   our goal at the IRS, and it is here as well, we want to

03:50:50PM   7   get to the right number, something that we can put on a

03:50:53PM   8   stat notice in this case, because we are obviously not

03:50:56PM   9   going the appeals route at this point.              At least it

03:50:59PM 10    doesn't look like it is in the cards.

03:51:00PM 11    Q.    Why is that?

03:51:01PM 12    A.    It is because the number -- we think that the

03:51:04PM 13    valuation relied on by Microsoft was very weak.                   There is

03:51:08PM 14    no time left on the statute, so we are actually required

03:51:10PM 15    to issue a stat notice.

03:51:15PM 16         Let me be clear.       This case has not been designated

03:51:18PM 17    for litigation yet.        We are still seeking information to

03:51:20PM 18    get to the right number.         But just from my own

03:51:23PM 19    perspective, we think that there are -- it is such a huge

03:51:31PM 20    divergence in numbers, we think it is a very aggressive --

03:51:37PM 21    this roundtrip, particularly in the Americas, the evidence

03:51:41PM 22    of KPMG and/or Microsoft potentially cherry-picking some

03:51:45PM 23    inputs.    And we have put a lot of energy into it.

03:51:49PM 24         Just like I told Mr. Bernard leading up --               I think we

03:51:52PM 25    had this conversation in March.            I said, "Given the size



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03:51:55PM   1   here, we need to think long and hard, and designation is a

03:52:01PM   2   possibility."      I think it continues to be, although that

03:52:04PM   3   is a future decision.

03:52:05PM   4   Q.    Mr. Hoory, one last question.           When you first started

03:52:10PM   5   seeking to retain Quinn Emanuel in late 2013, were you

03:52:13PM   6   committed to trying to resolve this case with Microsoft?

03:52:16PM   7   A.    Absolutely.      That was the whole point of meeting with

03:52:18PM   8   them on January 14th.

03:52:22PM   9              MR. WEAVER:     Your Honor, at this point I don't

03:52:23PM 10    have any more questions, but I do want to now introduce

03:52:27PM 11    the administrative record into evidence, after Mr. Hoory

03:52:34PM 12    steps down.

03:52:42PM 13               THE COURT:     All right.      Anything else other than

03:52:44PM 14    the administrative record?

03:52:45PM 15               MR. WEAVER:     No, your Honor.        That is the balance

03:52:48PM 16    of our case.      I did want to refer your Honor to a few

03:52:52PM 17    pages, though.

03:52:55PM 18               THE COURT:     Please.

03:53:01PM 19               MR. WEAVER:     Your Honor, I would refer you to

03:53:03PM 20    Exhibit 1, the first and second pages.              This is a

03:53:18PM 21    certified administrative record.            And I would offer it

03:53:20PM 22    into admission under Federal Rules of Evidence 803(8),

03:53:25PM 23    902(11).

03:53:34PM 24               THE COURT:     All right.      That will be admitted.

03:53:37PM 25         (Exhibit No. 1 was admitted.)



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03:53:37PM   1             MR. WEAVER:      Let me refer your Honor to a few

03:53:39PM   2   pages, just so they are in the record in case I don't get

03:53:42PM   3   to them with the limited amount of time we would have for

03:53:45PM   4   summations.      Let me refer your Honor, maybe for later

03:53:51PM   5   reference in the record, to Page 126, part one.                   Can you

03:54:02PM   6   put that up on the screen, please?             Page 126, please.        The

03:54:22PM   7   reason I am going to refer you to that page is that, you

03:54:26PM   8   can see, is redacted.           6103.   It is redacted because it

03:54:31PM   9   refers to another taxpayer there.            We will be referring to

03:54:34PM 10    that either in closing summation or in further briefing as

03:54:38PM 11    evidence that this reg project did not start with

03:54:42PM 12    Microsoft.

03:54:44PM 13         Let me refer your Honor to a few other pages in the

03:54:47PM 14    few minutes I have left.

03:54:49PM 15              THE COURT:      Hang on.      Mr. Beck, do you want to

03:54:53PM 16    make a comment on that?

03:54:54PM 17              MR. BECK:      Yes.     This has nothing to do with the

03:54:56PM 18    examination of Mr. Hoory.           Mr. Weaver just referred to,

03:55:05PM 19    "We can explain this in follow-on briefing."                Given the

03:55:11PM 20    constraints we had today, in terms of timing, I don't

03:55:14PM 21    think that either one of us is going to have time to say,

03:55:17PM 22    "Here is the evidence that we couldn't present through

03:55:20PM 23    Mr. Hoory, but we, nevertheless, want your Honor to

03:55:22PM 24    consider."     We certainly wouldn't have time to do that,

03:55:26PM 25    even if your Honor was going to entertain it.



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03:55:29PM   1        What we would suggest, your Honor, and what we

03:55:32PM   2   contemplated was that we were going to be lucky if we were

03:55:35PM   3   to get done with Mr. Hoory today, but that the matter be

03:55:41PM   4   continued so that both parties can make written

03:55:43PM   5   submissions, where they submit the documents that they

03:55:47PM   6   believe the court should consider, as well as argument.

03:55:52PM   7   Your Honor indicated you didn't want to listen to me

03:55:57PM   8   present argument through Mr. Hoory.

03:55:59PM   9        That, or I suppose we could come back another day and

03:56:02PM 10    make our non-live testimony evidentiary presentations.

03:56:07PM 11    Although, I think both of us could probably do a better

03:56:09PM 12    job in writing than we would standing up here referring to

03:56:13PM 13    documents.

03:56:15PM 14              MR. WEAVER:      Your Honor, if I may respond?           My

03:56:18PM 15    intent here is to walk through this in five to ten

03:56:21PM 16    minutes, just so it is in the record.              As far as we are

03:56:25PM 17    concerned, this should be it.           Almost every single

03:56:29PM 18    innuendo and allegation that Microsoft made doesn't bear

03:56:32PM 19    out after you heard Mr. Hoory.           So in terms of whether

03:56:37PM 20    they get discovery, I think that should be wrapped up.

03:56:41PM 21    But I agree on the issues of the reg, it is complicated,

03:56:46PM 22    and we are happy to have post-hearing briefing.

03:56:49PM 23              THE COURT:      Counsel, I think that is the best way

03:56:51PM 24    of handling it.       The administrative record is in the

03:56:54PM 25    record.    It has been admitted, Mr. Weaver.             It has been a



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03:56:56PM   1   long day.     Mr. Hoory talks a mile a minute, and it was

03:57:00PM   2   hard to follow up on all of that.            Working for the IRS is

03:57:06PM   3   a good job for you.        I think that Mr. Beck's suggestion

03:57:12PM   4   makes the most sense.           It makes the most sense to me.

03:57:15PM   5        I may very well have some very specific questions for

03:57:18PM   6   both sides, in terms of what I want you to brief.                  So what

03:57:22PM   7   I propose is this:        Let me think about what we heard today

03:57:26PM   8   in view of the material you have already submitted.                  Let

03:57:29PM   9   me see about what I want in terms of very specific

03:57:32PM 10    post-hearing briefing.          We will notify the parties.          Then

03:57:37PM 11    you can do the written submissions, respond to that, and

03:57:40PM 12    if the court feels it is necessary, we can bring you back

03:57:42PM 13    in and do oral argument as well.            Does that make sense?

03:57:45PM 14              MR. WEAVER:      Yes, your Honor.

03:57:47PM 15              MR. BECK:      Yes.     There are subjects that were just

03:57:50PM 16    inappropriate or ruled inappropriate to do with Mr. Hoory,

03:57:59PM 17    such as the circumstances surrounding the adoption of the

03:58:01PM 18    regulation.      Whether you ask questions about that or not,

03:58:05PM 19    that is an important thing that we will want to explain,

03:58:07PM 20    the evidence that we do have on that and what the

03:58:09PM 21    implication of that is.

03:58:10PM 22              THE COURT:      Absolutely.      Some of those issues are

03:58:12PM 23    a matter of law.       They have nothing to do with the facts

03:58:15PM 24    that were presented at the hearing today.

03:58:17PM 25              MR. WEAVER:      Your Honor, if I could just clarify?



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03:58:19PM   1   I am happy to brief, but I would ask that your Honor limit

03:58:22PM   2   the presentation of evidence to what got put in the record

03:58:25PM   3   today, so that the evidentiary hearing happens today, and

03:58:32PM   4   then we can brief the meaning of it --

03:58:32PM   5              MR. BECK:     All we had time for today was one

03:58:34PM   6   witness.     I had entire topics, such as all of the IRS

03:58:39PM   7   internal documents concerning the adoption of the

03:58:42PM   8   regulation.      And this witness disclaimed any knowledge on

03:58:47PM   9   that.    We are not able to present through this witness

03:58:54PM 10    documents that your Honor said he is not in a position to

03:58:59PM 11    testify about.       So in order for us to make the evidentiary

03:59:02PM 12    showing on the other documents, we either have to do it in

03:59:06PM 13    writing, which I think makes the most sense, or we have to

03:59:09PM 14    come back another day and we can put on a document show.

03:59:12PM 15               MR. WEAVER:     Your Honor, just let me respond to

03:59:15PM 16    that if I might.       In terms of your order, if you go back

03:59:17PM 17    and look at the questions that deal with the regulation --

03:59:20PM 18    I think there were basically three.             One was whether

03:59:23PM 19    notice and comment provisions had been complied with.

03:59:26PM 20    That is largely a legal issue.           One was --

03:59:28PM 21               MR. BECK:     Largely, but I've got a whole bunch of

03:59:32PM 22    exhibits, internal emails, that we want to present and

03:59:36PM 23    then argue from.

03:59:37PM 24               MR. WEAVER:     Your Honor, that's what today was

03:59:39PM 25    about.



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03:59:40PM   1              MR. BECK:     Except I couldn't do it with the

03:59:42PM   2   witness.

03:59:42PM   3              THE COURT:     Hang on a second.

03:59:45PM   4              MR. WEAVER:     Second, there was an issue about

03:59:47PM   5   whether there was a reasoned analysis.              Typically, your

03:59:49PM   6   Honor, unless there has been a showing -- a substantial

03:59:51PM   7   showing of bad faith, then you are supposed to decide

03:59:55PM   8   whether a reg is valid on the administrative record.               And

03:59:58PM   9   in terms of whether there is a reasoned analysis, let's

04:00:02PM 10    argue that on the administrative record.

04:00:04PM 11         In terms of the timing of this reg, you heard from

04:00:07PM 12    Mr. Hoory.     There is nothing but coincidence in terms of

04:00:10PM 13    the hiring of Quinn Emanuel and the reg.

04:00:13PM 14               THE COURT:     Let me do this:       Let me take some time

04:00:19PM 15    to absorb today in view of the documents already

04:00:24PM 16    presented, in view of the exhibits that I have not looked

04:00:28PM 17    at, and I will get back to you fairly quickly about

04:00:33PM 18    whether -- specifically what I want in terms of

04:00:36PM 19    post-hearing briefing.         If the court feels there is

04:00:39PM 20    anything else that may be necessary, we will ask for that

04:00:43PM 21    as well.     There are some issues that I believe are purely

04:00:49PM 22    matters of law.        And that can be argued, as Mr. Beck

04:00:52PM 23    indicates, simply on the record that we already have.                 I

04:00:55PM 24    understand that not all of the testimony that Microsoft

04:01:00PM 25    may have wanted may have come in through this particular



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04:01:02PM    1   witness.     We will see where we stand once I take a breath

04:01:05PM    2   and take a look at all of this.

04:01:06PM    3        All right?     We are done today.        Thank you all very

04:01:12PM    4   much.

              5                         (Proceedings adjourned.)

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 1                           C E R T I F I C A T E

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 3

 4        I, Barry Fanning, Official Court Reporter for the

 5   United States District Court, Western District of

 6   Washington, certify that the foregoing is a true and

 7   correct transcript from the record of proceedings in the

 8   above-entitled matter.

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12   _________________
     /s/ Barry Fanning
13   Barry Fanning, Court Reporter

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